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                    Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 12 of 126 Page ID
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     JURISDICTION:(Check One Only)

                ❑MUNICIPAL COURT
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                ❑UNITES STATES SUPREME COURT
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      Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 16 of 126 Page ID
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  =: TLR~ T50737~            LAC-15-0425          corm 22

 On De:;emb~r 2"L, 20i5, you submitted your appeal fo i},e Thi;e Level of Revievd. ft arias rejected o^ April Q1, 20':5, for rr;issing
docume:,tatier~; specifically, your 11 ~-P,^H, ~v~erta! f iealth Assessment, 721 ~ and ccmplete &37, Incident Package. On April 22,
2U16, you resu~rni;ted your appeal io th,e Thi~~' Level of Revie:v and it v:~as rejected on rune 2, 20io; for failure to incfud~ the
cemp!eie 837, inciueni Pacr..age; speci`icGlly, page one end t:vo.

Tnis is your frt'~ Form 2?_ inquiry regarding your appeal. On April 27, 2016, you ~.~rere advised, "Your appeal has been received
8rp lyjll J2 L~frcessed   in data erd=r. Gn ~~~1a}' 9, 201u, ~ou ,;ere advised, "Yeu f~ave submitted loose documents t~ an appeal
that t~:as r~~er:e~ on 4-1-io. Your appeal v.-as rErE'iVE~ again on 4-22-16 and is in the screening process. 'he attached
docu:r.ents are bc;ing returned as the appeal needs to be sent in ant packet." Gn ~v~.ay 25. 2016, you were advise~J, "Fer Title
   . 5LCI10(; ;~~~ .~ ~C1~ !~}: ~~If1R18I25 0~ ~7c:1"O~:;B$ Sfl3!~ SUb^l~t fie:; ~Ypic^.~ uOi.U;li ~i;S u, v Si~yIE i~aiii y 8ii~ ~i'~vii iiG~ iilVlu~
[tl~if ~~p ~~ uOC,!Ill~^15 ;ilf0 S2~,cf~tc' lT13iIIt;GS." ,f'. cG~~~l i0i1, ~OUf aitacr~+rents to the ~UC(?1 Z~ 8~2 [l0? 1h@ f2yuested docu^181115
(a co;~y r~i tl~~ second Level Response, L4G-15-04254 and LP,C Operational Procedure X514) from your Rejection D:1emo
 d~~ted, April ~, X016 Your appzal tivas missing the following documen,s: CDCR f~^H-11~, CDCR 7219 and the camp(ete CGCR
c3;. `r'ou ~~ave resubmitted your appeal, separate irom iris Form 22, and :~~ere told via a Form 22 dated. 519/2016, your sppe2i
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 vas in the screening process. Your appea'. is stil l ~ti~,~ ,nin the screening process. You ~::i!I have 30 dGys from tf~e date o. the
 Screzn out P;izmo, to follow any given nevi instructions. Failure to follow instructions can lead to the cancellation of your appeal.
 Your attached documents are being returned. Do not send them again, or they will be confiscated." You appeal leas
 subsequently re erted yin J~rne 2, 2 10, for farltrre fo incltrde necessary si~pporfiny documentation; specifk•a11~, tine complete
 337 lnciden! Rep~~~t, page one and hvu. 1'eu submit?ed another Form 22 to our office v~~hir_n was received on July 20, 2016:
 stating, that yuu v~ere "again, ~ririting to you requesting my 3rd level 2upeal..." 1'ou go on to state; you had received your appeal
 back with "confusing nar,~,ive v:/o the most important part of the G02 appeal The 3rd Level, CUA Review." You vrere instruc'.ed
 on July 25, 2G1f, "Ypu ere adv~S?d :C rlldke yourself ~amittar with the rules acid r2gul~tions of tine appeals process found in the
 Titi2 15. You r~,~y also request assistance from yo~_,r Correc!ional Co~_ins~lor or the App~a!s Coordinator at your institution if the
 narrativF .s confusing."

7o clarify, your zp~eal did not have a Third Level Gacisior because your appeal ~,r~as rejected for missing page one a..d hvo o
the 337, Incident Packet You had 30 days from the date of the rejection letter to resi.ibmit your appeal tivith the entire o~7.
 I ncident Packet. To this date, IATS does nc: reflect having received Vour appeoi back for reconsideration. At this time, barrinC
any e~~tenuating circumstances, yogi are pest time constraints. To reiterate, your appeal is not exhausted and the Third Level
does not have yo;ir appeal zs ii was rejected on June 2, 2016. In fact, it is evident that you did receive your rejected appear
 beck, 2s you state you had received it back r~ithaut the "most important part of the 602 Appeal The 3rd Level COA Reviet~.-"
,And ~vhilz, it is ur,cfear, exactly. v.nat the "CO,~, Review" is, it is assumed, you ae speaking of ire Third Level Decision. Again,
 ii you ere having trouble unders:2nding t;ie rejection letters, the A.ppe2ls Process or this Form 22, you may seek assistance
from your Corrzctional Counselor or Hppeals Coordinator.




 E. P2rino
 SSf~~ll, ~hice of Appeals




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         Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 17 of 126 Page ID
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STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILIT
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OFFICE OF APPEALS
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May 25, 2016



BAKER, TIMOTHY, K62174
California State Prison, Sacramento
P.O. Box 29
Represa, CA 95671



gE: TL~~ 1507376           LAC-15-04254   Form 22


Per Title 15, Section 3084.2 (b) (2): "Inmates or parolees shall
                                                                   submit their appeal documents in a single mailing
and shall not divide their appeal documents into separate mailings."
                                                                         In addition, your attachments to the Form 22
are not the requested documents (a copy of the Second Level Respons
                                                                              e, LAC-15-04254 and LAC Operational
Procedure #514) from your Rejection Memo datea, April 1, 2016.
                                                                             Your appeal was missing the following
documents; CDCR MH-115, CDCR 7219 and the complete CDCR
                                                                           837. You have resubmitted your appeal,
separate from this Form 22, and were told via a Form 22 dated,
                                                                         5/9/2016, your appeal was in the screening
process. Your appeal is still within the screening process. You will
                                                                       have 30 days from the date of the Screen out
Memo, to follow any given new instructions. Failure to follow instruct
                                                                       ions can lead to the cancellation of your appeal.
Your attached documents are being returned. Do not send them again, or
                                                                             they will be confiscated.
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E. Parino
SSMII, Office of Appeals




                           ""'~xpERMAIVENT APPEAL ATTACHMENT - DO NOT REMOVEFx"'~
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BAKE,TIMOTHY, K62174                                   „~.,. ---
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'.O. BOX Z9                                                          ~ '~-;-,r'^ '~          "-'-.
Represa, CA 95071                              _~~J'' ~ , L~,'=                  ~.



Rte: TLR~ 150%376          L4C-15-04254     DISCIPLINARY


The Orice o. Appeais, California D2pa:~mer,t of Corrections ar:d Rehabilitation (CDCR) acts
                                                                                                as the third ievel o.
review as established in Cali`ornia Code o; Regulations (CCR) Title 15, Ar~icle 8. TFe Ofi~ice or
                                                                                                  Appeals exam n2s
and responds to inmate and parolee appeals, aver the ins;itutior, or parole region has responded
                                                                                                      2t t' he Second
Level o.Appeal.




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 and shall not divide their appeal documents into separate mailings." in addition, your attachments
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 are not the requested docu~rents (a copy or tie Second Level Response, LAC-15-04254
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 Procedure x514) prom your Rejzction Memo da?2d, April 1, 20.6. Your appe2l was missirg
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 docur-~ents; CDCR MH-115, CDCR 7219 and the complete CDCR 837. You have resubmitt
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 separate from this Form 22, and were told via a Form 22 dated, 5/9/2016, your appeal was
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 process. Your appeal is still within the screening process. You will have 30 days from the
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 PJlemo, to follow any given new instructiors. Failure to follow instructions can lead to the cancellati
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 Your a«ached documents are berg returned. Do rot send them acain, or they will be confiscate
                                                                                                     d.




 M. VOONG. Chief
 Ofice of Appeals




 Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary
                                                                                                           and resubmit
 the 2ppea! within the timeTram~s specified in CCR 308~.6(a) and CCR 3084.8(b}. Pursuant to CCR 3084.5(e),
                                                                                                                    once
 an appeal has been cance~ied, that appeal mzy not be resubmitted. Horn;ever, a separate appeal can be filed on
                                                                                                                     the
 cancellation decisicn. The original appeal may only be resubr,~itted if the appeal on the cancellation is granted.

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     Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 19 of 126 Page ID
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OFFICE OF NNPEALS                                                                                                                          ^~~.
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       Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 20 of 126 Page ID
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STATE OF CALIFORNIA —DEPART)AENT OF CORRECTIONS AND REHABILITATION                      EDMUND G. BROWN JR., GOVERNOR

OFFICE OF APPEALS                                                                                           4`DRpEtTIONs~


1515 S Street, Sacramento, CA 95814                                                                    F
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P.O. Box 942883                                                                                                                 -
Sacramento, CA 94283-0001                                                                              do     ~                   i


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May 25, 2016


BAKER, TIMOTHY, K62174
California State Prison, Sacramento
P.O. Box 29
Repress, CA 95671



RE: TLR# 1507376         LAC-15-0425      Form 22


Per Title 15, Section 3084.2 (b) (2): "Inmates or parolees shall submit their appeal documents in a single mailing
and shall not divide their appeal documents into separate mailings." In addition, your attachments to the Form 22
are not the requested documents (a copy of the Second Level Response, LAC-15-04254 and LAC Operational
Procedure #514) from your Rejection Memo dated, April 1, 2016. Your appeal was missing the following
documents; CDCR MH-115, CDCR 7219 and the complete CDCR 837. You have resubmitted your appeal,
separate from this Form 22, and were told via a Form 22 dated, 5/9/2016, your appeal was in the screening
process. Your appeal is still within the screening process. You will have 30 days from the date of the Screen out
Memo, to follow any given new instructions. Failure to follow instructions can lead to the cancellation of your appeal.
Your attached documents are being returned. Do not send them again, or they will be confiscated.

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 E. Parino
 SSMII, Office of Appeals




                          ***xPERMAIVENT APPEAL ATTACHMENT - DO NOT REMOVE****
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OFFICE OF APPEALS                                                                                                     ~~,~~m~,4
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an~a responds to ~nm;,te and ~~aroft2 appeals, after the institution or parole region has responded at the Second
Level of A~pe.al




f~tr Tine ~5 S~c'e~ 3084:' ih ~? 'l~ir;ates or ~a!olees shall subn;~t their appeal decum~;nts ~n a single ma~lmg
a~~.:i sn2L' not d v~!;e :'~~c;~ ~;,r ~_~~;i c:;c~r7ienis into se~:arate ma~l~ngs." In addition, your attachments to the Form 22
are not the requested ~icc~;m~nts (a copy of the Second Level Response, LAC-15-04254 and LAC Operational
F'rncedure t~514~ Irony yo;;r Refection Mono dated, April 1, 2016. Your appeal was missing the following
riucurr.ents CDCR ~.~1V 1-1 ;5 C~CR i~ 19 and the complete CDCR 837 You have resubmitted your appeal.
separate from tn~s f~~rm 27 :y7d were told via a Form 22 dated, 51912016, your appeal was in the screernng
process. Your acpeal ~s sU~ ~ .vit!~~n the srreening process. You will have 30 days from the date of the Screen out
Memo to follow any y~ven row instructions Failure to follow instructions can lead to the cancellation of your appeal.
Yo~~~ a~tac~~ed docu~z~ents ~-e t -ing re,urned De not send them again, or they will be confiscated.




 M VOONG. Chief
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   Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 22 of 126 Page ID
                                     #:1383
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION                       EDMUND G. BROWN JR., GOVERNOR

OFFICE OF APPEALS                                                                                         `oPaE~TioNs,~
1515 S Street, Sacramento, CA 95814               ~       ~    /                /~                      ~°~`   ~~~ ~~4,~   '~^_
P.O. Box 942883                                       ~C~( Il~U        ~l`V ~ ~ U~                     a~                     y
Sacramento, CA 94283-0001                              cr


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June 2, 2016                                  ~!U ~5rcl Lever t ~e.:s~Gl1S~
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California State Prison, Sacramento         '~~dLE4 ~~~ rG~~           /
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P.O. Box 29                                              .~')QOM ~7 ~ ~T~ {.~~1 C!1SW~'r~c~.
Repress, CA 95671                          .i~~ ~ ~ ZO~~



RE: TLR# 1507376         LAC-15-04254    DISCIPLINARY


The Office of Appeals, California Department of Corrections and Rehabilitation (CDCR) acts as the third level of
review as established in California Code of Regulations (CCR) Title 15, Article 8. The Office of Appeals examines
and responds to inmate and parolee appeals, after the institution or parole region has responded at the Second
Level of Appeal.




Per Title 15, Section 3084.2 (b) (2): "Inmates or parolees shall submit their appeal documents in a single mailing
and shall not divide their appeal documents into separate mailings." In addition, your attachments to the Form 22
are not the requested documents (a copy of the Second Level Response, LAC-15-04254 and LAC Operational
Procedure #514) from your Rejection Memo dated, April 1, 2016. Your appeal was missing the following
documents; CDCR MH-115, CDCR 7219 and the complete CDCR 837. You have resubmitted your appeal,
separate from this Form 22, and were told via a Form 22 dated, 5/9/2016, your appeal was in the screening
process. Your appeal is still within the screening process. You will have 30 days from the date of the Screen out
Memo, to follow any given new instructions. Failure to follow instructions can lead to the cancellation of your appeal.
Your attached documents are being returned. Do not send them again, or they will be confiscated.



              ~—___.
    ~ ;NUS~              .')

M. VOONG, Chief
Office of Appeals




Be advised that you cannot appeal a rejected appeal, but should take the corrective action necessary and resubmit
the appeal within the timeframes specified in CCR 3084.6(a) and CCR 3084.8(b). Pursuant to CCR 3084.6(e), once
an appeal has been cancelled, that appeal may not be resubmitted. However, a separate appeal can be filed on the
cancellation decision. The original appeal may only be resubmitted if the appeal on the cancellation is granted.

                       '~***PERMANENT APPEAL ATTACHMENT - DO NOT REMOVE*~**
               Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 23 of 126 Page ID
                                                 #:1384

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          Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 24 of 126 Page ID
                                            #:1385

STATE OF= CALIFORNIA                                                                                                              D~FAR ~ MENl OF i:hRHFCT10N5 ~I~D RFHAC~IUTATIp,'~
INMATEJPAROLEE APPEAL
CDCR 602(REV.03112)                                                                 ,~                                                                                                               5idc

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       Second Level Responder. Complete a Second L~tvei response. If an i~tervlow at tt~ Sectsnd Lnvel is necessary. inclutle interviewers name and snlr•,
       interview date and location. and ann~liete tt►0 section helow_
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      R              P.a. /Baz 942883, S~ame~tc~, CA 942~3-00~37. 11 you Head m     /ac space. use Section F of the COCR 602 A
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  ❑ Accepted at the Thfrd Level 01 Review. Your appeal Issue is ❑Granted ❑Granted in Park ❑ Oanie~i                                                 [~ Other
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      H. Regaest to Witfidraw Appeal: I request Shat this ap~x~al be withdrawn from further review because. State reason. (;1 withdrawal is condif;vnai !.s'
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                  ------.---'—_~ ~---_ ~ Inmate/Paroles Signature. .__--         ----•--_ __ _                                                                                   Date:_._._ -- _.
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              Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 25 of 126 Page ID
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      SECTION D:
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                  Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 26 of 126 Page ID
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STATE OF CALIrORNiA
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     SECTION D: SU~ERVISOk~'S ft~VIEW
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   Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 27 of 126 Page ID
                                     #:1388

Stale of California
                                                                       Department of Corrections and Rehabilitation


Memorandum
Date:        December 10, 2015

                                                                       F;cC~i~'~~J
To:          Inmate Baker, CDCR #K62174                             ~~° - L~' ~~~~~'~T'~
             Housing Unit D5-121                                       ~ J;I;~L;~-:F
                                                                    RECGKL;; t~~FlCF
             California State Prison-Los Angeles County

Subject: SECOND BEVEL APPEAL RESPONSE LOG NUMBER LAC-S-15-Q4254

             ISSUE:
             The appellant is submitting this appeal relative to CDC Form 115, Rules Violation
             Report(RVR), Log #XXX-XX-XXXX, dated August 11, 2015, for "Aggravated Battery on
             a Peace Officer with a Caustic Substance."

            Appellant claims there was insufficient evidence to support the Senior Hearing
            Officers (SHO} guilty finding. Appellant claims the RVR was fabricated to conceal
            staff's unprovoked beating of him which resulted in excessive force.

            Appellant requests to dismiss RVR Lag # XXX-XX-XXXX. Appellant requests to be
            monetarily compensated. Appellant requests to be allowed to file an ADA abuse
            complaint. Appellant requests to be taken to an emergency classification committee
            and be placed up for transfer. Appellant requests that an investigation be initiated by
            ISU into his allegations of staff misconduct. Appellant requests to be made Non-
            Disciplinary Status(NDS) in Administrative Segregation Housing (ADSEG).

            REGULATIONS: The rules governing this issue are:

                      CCR 3005   Conduct
                      CCR 3315   Serious Rule Violations
                      CCR 3320   Hearing Procedures and Time Limitations

            SUMMARY OF tNQUlRY:


            M. Fordham, Corrections! Counselor !I, (CCII) Appeals Coordinator was assigned to
            review this appeal at the Second Level of Review. The First Level of Review was by-
            passed per CCR 3084.7(b). All submitted documentation and supporting arguments
           have been considered. Additionally, a thorough examination has been conducted
            regarding the claim presented by the appellant and evaluated in accordance with
           Califamia-St~te-Pris'c5rr=t'~~A            jT(LA~Cjaperaio   a race ures 4P};tfi~e '~'-
           California Code of Regulations (CCR); and the Departmental Operations Manual
           (DOM).
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     INMATE Baker, CDCR # K62174
     LAC-S-7 5-04254
     PAGE 2 OF 4




     The assigned Appeals Coordinator reviewed the appeal, the RVR, the Central File,
     and the issues contained therein. The appellant was interviewed on November 7,
     2015, by M. Fordham, Correctional Counselor II, and given the opportunity to present
     additional information. The appellant provided no new or additional information
     during the interview.

     A review of the RVR indicates that appellant was charged with CCR, Title 15, Section
     3005 (d)(1), for the specific act of "Aggravated Battery on a Peace officer with a
     Caustic Substance. The charge was classified as a Division "A-1" offense. The
     discovery date of the RVR was August 11, 2015. Appellant received his copy of the
     RVR on August 17, 2015, which was within fifteen (15) days of the date the RVR was
     issued.

    The appellant is a participant in the Mental Health Services Delivery System
    (MHSDS) at the Enhanced Outpatient (EOP) Level of Care. A Mental .Health
    Assessment Request (CDCR 115MH} was submitted to Mental Health Services on
    August 21, 2015. On August 25, 2015, R. Girod conducted anon-confidenkia(
     interview with the appellant and formed the opinion the appellants mental disorder
    did no# appear to be a contributing factor in the actions that ied to the RVR. R. Girod
     noted there are no mental health factors the SHO should consider in assessing a
     penaity, if the appellant was found guilty of the charge.

     When the appellant was served a copy of the RVR, it was determined that additional
     assistance would be required in order to achieve effective communication throughout
     the disciplinary process. Effective communication with the appellant was achieved
     through the SHO using simple English, which was spoken slowly and clearly and
     repeated several times to ensure foil undersEanding by the appellant. The SHO
     queried the appellant to determine whether or not effective communication had been
     achieved with him throughout the disciplinary process. The appellant reiterated in his
     own words what had been explained to him and provided appropriate, substantive
     responses to questions asked during the hearing. The SHE was satisfied that
     effective communication was achieved with the appellant throughout the disciplinary
     process.

     The RVR reflects that he attended the Disciplinary Hearing held on
     September 18, 2015, at approximately 1545 hours, and pled not guilty to the charge.
     The hearing was not held within thirty (30) days from the date the appellant received
     his initial copies.
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    INMATE Baker, CDCR # K62174
    LAC-S-15-04254
    PAGE 3 OF 4




    A Staff Assistant was assigned by the SHO in accordance with CCR, Title 7 5, Section
    3315 (d} (2} (A). Officer J. Williams was assigned as a Staff Assistant (SA) for the
    appe(iant. The SA was present at the hearing and confirmed that the hearing
    procedures, disciplinary charges, the evidence supporting these charges, and .the
    right to request confidentiality had been explained to the appellant at least 24 hours
    prior to the hearing. The SA remained at the hearing to assist the appellant. The
    appellant acknowledged to the SHO he understood all evidence to be used and
    understood these proceedings. After the hearing concluded, the SA reviewed the
    disciplinary process and the action taken with the appel{ant to ensure he understood
    these proceedings and the outcome.

    The appellant waived the assignment of an investigative Employee as evidenced by
    his signature on the CDC 115A. The SHO finds that available information is sufficient
    and no further investigation is necessary.

     Appellant did not request any witnesses to be present during the hearing on the
     CDCR 115-A. Appellant was given an opportunity to request witnesses when he
     received a copy of the CDC-115A and at the hearing when the SHO advised
     appellant of his rights to request witnesses.

     This matter was referred to the Los Angeles County District Attorney's Office for
     possible felony prosecution. On August 17, 2015, the appellant acknowledged in
     writing he was not requesting the postponement of his. hearing pending the outcome
     of the DA referral.

     The Senior Hearing Officer determined the appellant was guilty of "Battery with a
     Caustic Substance", Division A-1 offense, and assessed 0 days loss of credit
     forfeiture due to the time constraint violation. This finding was based upon a
     preponderance of the evidence which included the reporting employee's repot and
     Supplemental Reports authored by Sergeant Villalobos and Officer Castro.

     Appellant claims there was insufficient evidence to support the Senior Hearing
     Officers ~SHO) guilty finding. The SHO notes that his findings were based on a
     preponderance of the evidence which included the reporting employee's report and
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     were consistent in reflecting           of
                                   the events the incident.
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    INMATE Saker, CDCR # K62174
    LAC-S-15-04254
    PAGE40F4




    Appellant claims the RVR was fabricated to conceal staff's unprovoked beating of him
    which resulted in excessive force. This is a general allegation for which the appellant
    provided no evidence to support his claim or refute the legitimacy of the reporting
    employee's report ar the supplemental reports. A videotaped interview was
    conducted with the appellant based on his allegations of excessive farce. The
    videotape and Report of Findings were reviewed by the Institutional Executive
    R~evie~v Committee (IERC) on September 16, 2015. The IERC committee closed the
    case and determined that no administrative action would be taken. The appellant's
    appeal was forwarded to the Hiring Authority (HA) on October 28, 2015 and the HA
    determined the appeal does not meet the criteria for assignment as a staff complaint.

     Appellant requests to dismiss RVR Log # XXX-XX-XXXX. The appellant's request to
     dismiss the RVR is denied. Appellant requests to be monetarily compensated, to be
     made Non-Disciplinary Status in ADSEG and to be taken to an emergency committee
     and put up for transfer. These ~equesis are denied due to being beyond the scope of
     the appeals process. Appellant requests to be allowed to fife an ADA abuse
     complaint and an investigation be initiated by ISU into his allegations of staff
     misconduct. The IERC committee closed the appellant's case concerning is
     allegations of staff misconduct and determined that no administrative action would be
     taken.

     DECISION: The appeal is denied.

     The assessed penalties and credit forfeiture are consistent with the CCR.

     The appellant is advised that this issue may be submitted for a Director's Level of
     Review if desired.




      ~~
     0. ULSTAD
     Chief Deputy Warden (A)
     California State Prison-Los Angeles County
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      EXHIBIT: ~ --         ~ nCiG J~~
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 On Tuesday August 11, 207 5 at approximately 1745 hours, I heard via the instituticnal radio requesting a code 1 response on tfie roadway on
 the north yard and the yard alarm was scunded Upon arrival to the iro~i of Facility B {FB) Gym Inmate Baker K62174 stood yelling and
 pointing towa{ds B Yard Gunner 'Fuck you, you racist ass mother fucker" I ordered Baker to tam around and summit to handcuff, which he
 faded to comply. To effeC, custody t immediately took hold o` Bakers right wrist ptaang my handcuff on it and pulling it towarCs his back,
 Baker yelled "You dumb bitct~~, I'm mobility impaired I need waist chains" I immediately stopped pulling his arm towards his back. At this time
 Sergeant ~. Villalobos arrived ;o the incident area, instructed responding staff and me to escoA Baker to FB Program OffKe to be paced in a
 h olding cell I maintained control of Bakers right wrist which had my handcuff and right bicep and Officer R. Pabon maintained control o. his
 left bi;ep, Baker willingly waked under his 6vrn will, stopping multiple times to incite to ether inmates "Everybody look at these mother
 hackers, take nvles and names, I'm taking it to court and you all are my wifiesses'_ Baker then turned to me and yelled 'Fuck you bitch let go
 of my west or I got something (or you when we go inside program you cunt. Prior to entering the Program Once, R. Paton released Bakers
 left bicep, so Baker and t could entered the program door Officer A. Castro still had control of Baker right aRn along v+ilh the handcuffs still on
 baker right +vast. Upon enlenrg the doorway I ordered Baker to taco to the right while R. PabonApeaed the holding cell room. Baker
 ~onbnued.vellina_Yvu-luckino racist CA's"_.due~.Bakers violent demeanorBok        to eh ld   of hi"s ~a~Rreh~Iriv~~iAP►inn'Raka~"r.tn!-almirn"~af)

 +io trig-rr~y wmposure I ordered Baker to stop sp~thng" an 'calm down"_ Sgt Vilfalobos then
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 B Paton, Correctional Off'cer ~/                                                                                   /~       ~~          B-Sec-Pa! #3
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          Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 33 of 126 Page ID
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~!'fATE OF CALIFORNIA
                                                                                     DEPARTMENT OF CORRECTIONS AND REHABILITATION
RULES VIOLATION REPORT -PART C
                                                                                                                       PAGE 2      OF 2
CDC NUMBER              INMATE'S NAME                            LOG NUMBER                  INSTITUTION                    TODAY'S DATE
 K62174                 BAKER                                     B15-08-0066                    CSP-LAC                     08/11115
     SUPPLEMENTAL. ~ CONTINUATIQN OF:~ COC 115 CIRCUMSTANCES ❑NEARING                       ❑ I.E. REPORT     ❑      OTHER:

 pushed Bakers head towards the glass ordering him to "quit spitting' Baker then began kicking his right foot back while twisting
 his body from left to right. I immediately pushed my body weight against him in attempt to overcome resistance, effect custody
 and gain compliance. Due to Bakers continued violence against staff, SgE Viltalobos instructed responding staff and me to take
 Baker down the floor to keep him from harming himself and others. I took hold of Bakers left side state issued blue shirt pulling
 him toward the left causing him and me to fall to the floor. Once on the floor Baker swung his ieft elbow back hitting me
 underneath my right eyebrow. I then utilized my institutional radio calling far !eg irons and waist chains. Sgt Villalobos instructed
 me to go to the Triage and Treatment Area {TTA} for a medical evaluation. On completion of my med+cal evaluation Security
 Squad O~cer C. Smith took photos of my injuries. I was transported to Proactive Medical Center for further evaluation. Upon
 returning to the institution Sgt Villalobos instructed me to submit my Green Jumpsuit to evidence, which was submitted to A and
 B Sub-Evidence Eocker number 25 at 2105 hours.



 Inmate BAKER is aware of this report.
 Inmate BAKER is a participant in the Menta3 Health Services Delivery System at CCCMS Leve4 ~f Care.




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                                                      SIGNATU     OF WRITcR                                            GATE IG      D
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STATE OF CALIFORNIA
                                                                                    OEPAR~MENT OF CORRECTIONS AND RE1iAB1LITATION
RULES ViOIATl4N REPORT -PART C
                                                                                                                     PAGE ~      OF 2
CDC NUMBER            INMATE'S NAME                              LOG NUMBER                    INSTITUTION            TODAY'S DATE
 K62174               BAKER                                       B}5-d8-0066                  CSP-LAC                   08I11/i3
    SUPPLEMENTAL ❑CONTINUATION OF:❑CDC f 15 CIRCUMSTANCES ~ HEARING
                                                                                           ~ t.E. REPORT ~ OTHER:

On Tuesday, August Z1, 2015 at approximately 1746 hours while assigned to Facility "8" as the Program
                                                                                                                  Sergeant, I was
completing paperwork inside the Sergeants office. I heard over the lnst;tutiona3 radio a request
                                                                                                 fora "Cade 1" response by khe
 medical clinic from the Yard Observation O~cer J. Archambo. f exited the program office area
                                                                                                and observed all the inmates on
the North yard as wel! as the South yard, dov✓n on sitting positions. ! turned my attention towards the
                                                                                                             roadway by the "B"
 medical clinic and observed inmate Baker K-61724, FBB1-129L standing in front of the canteen roadway
                                                                                                            screaming "Fuck you
all bitches. no one is t2king me nowhere". I began walking towards inmate Baker and Officers B. Pabon,
                                                                                                             R. Pabon, A. Castro
and J. Ramsey approached Baker as well. Officer R. Pabon and B. Pabon attempted to place inmate
                                                                                                          Saker in handcuffs and
he began resisting by pulling his arms away from the O~cer's grasp to avoid being placed in handcuffs. Baker
                                                                                                                 then stated "You
can't place me in handcuffs; I have a waist chain Chronol" !approached O~cers R. Pabon and B. Pabon
                                                                                                                  and gave them
ins#ructions to escort inmate Baker to one of the program holding cells without restraints. I asked inmate
                                                                                                             Baker what was the
problem and he stated "You all bitches are only trying to Fuck with me, that bitch ass white boy in observation
                                                                                                                   is trying to fuck
with me". f advised Baker that we were going to escort him. to one of the holding cells so that we could
                                                                                                                continue with the
evening meal. Baker began walking as Officer B. Pabon held Baker's right bicep area as R. Pabon held Baker by
                                                                                                                       his left bicep
area. As we came by the intake medical clinic, inmate Saker stopped walking and stated "Fuck you all idiots I will do
                                                                                                                         whatever 1
want". O~cer R. Pabon told Baker to calm dflwn and that we were just going to escort him to the holding ce11
                                                                                                                        area. Baker
started to walSc again and upon arrival to the program door, Officer R. Pabon relinquished custody of Baker to Officer
                                                                                                                          Castro as
he was opening the holding cell room door. We walked inside the Office hallway and I instructed Baker to face
                                                                                                                   the Counselors
door as R. Pabon opened the door. Inmate Baker then attempted to break the Officers grasp by turning iris body to the
                                                                                                                             left in a
sudden move and pulling his arms away from the Officers. I immediately gave orders to Baker to stop resisting and Baker
                                                                                                                                   did
not comply as he continued to turn his body from side to side as well as is arms. To gain compliance of a lawful
                                                                                                                       order and to
overcome Bakers resistance, I stepped #onward and began pushing Baker against the wall by placing both of my hands on
Baker upper back_ Officer B. Pabon held on to Baker's left arm as Officer Castro held the right arm. Offrcer J. Ramsey
                                                                                                                            stepped
to my right and using his hand he pushed on Bakers upper body in an attempt to immobilize him. Inmate Baker suddenly
                                                                                                                              turned
his face to the left and spat right on O~cer S. Pabon's face. To gain compliance of a lawful order and to overcome
                                                                                                                             Bakers
resistance I ordered Baker to stop spiting with negative results_ Baker began coughing up saliva and I piaced my right hand on
Baker's head. My hand was placed around Bakes left eartaw area to force him to face away from all the Officers. I
                                                                                                                         kept giving
Baker orders to stop spiting and to stop resisting with negative results. Baker continued thrashing his body and was spitting at
the glass where his face was held by me. Enmate Baker then began swinging his right leg back attempting to kick me or O~cer
Ramsey. To overcome resistance and to be able to effect custody of inmate Baker, I instructed Officers Ramsey, B. Pabon and
A. Castro to "Take the inmate down". I grabbed Bakers shirt around his left shoulder with my left hand. With my right hand
grabbed Baker's shirt around his right shoulder and using my strength and body weight, I turned Baker to the
                                                                                                                 right as I pushed
him on adownward-forward motion forcing him to the floor. Inmate Baker landed an his stomach, Officer Castro landed on
Baker's right side as he was holding on to Baker's right arm. Officer S. Pabon was on Baker's right side as she was hoEding
Bakes right arm. i tanded on 8aker's right side next to OfScer B. Pabon. I took control of Baker's left arm holding it with both of
my hands and instructed O~cer B. Pabon to step away from the incident. Officer J. Ramsey sat on Baker's legs to stop him
from kicking. I requested for a set of waist chains and some leg restraints to be able to secure Baker. I ordered Baker to place
his hands behind his back to which he refused. To be able to effect custody I pushed on Bakers left arm to place it on the
middle of his back as O~cer Castro moved Bakers right arm to the center of his back. l grabbed the handcuffs which were
already placed on Baker's right hand and secured the left hand as well. Once in handcuffs I grabbed Baker's left arrn by the
bicep area as O~cer Castro held Baker's left arm and we both assisted him to his feet as he stood under his own power. We
placed Baker facing the window of tt~e counselors office and I instructed Officer Ramsey to open one. of the holding cells
                                                                                                                                    to
place Baker inside. Ramsey opened the holding cell and Officer Castro relinquished custody of Baker to C. Smith who had
arrived to the scene of the incident. I relinquished custody of Baker to Ramsey. I then instructed O~cers B. Paban and A.
Castro to report to the triage treatment area to be medically evaluated and for treated for their injuries. Officer Smith and
Ramsey escorted Baker inside the holding cell followed by me. As soon as Baker was placed +n the holding cell, he began to
                                             (CONTINUED ON SUPPLEMENTAL PART C)
                                                     SIGNATURE O        ITER~       ~                               DATE   GN
                                                     F v►~tALo                 io"'Yr al Ser       t                5g     ~ r
                                                     GIVEN BY: (Staffs Signature)                      DATE IGNEO   TIM S NED
        COPY OF CDC 115-C GIVEN TO INMATE
       ~.                                                                                              ~ /7 ~S


CDC 115-0 (5195)

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                                                                                                                 AGO 003
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                                           #:1396


STATE OF CALIFORNIA                                                                      DEPARTMENT OF CORRECTIONS AND RENABlLITAT(ON
RULES V10LAT{ON REPORT -PART C                                                                                        PAGE 2     OF 2
CDC NUMBER            INMATE'S NAME                              LOG NUMBER                       INSTITUTION           TODAY'S GATE
 K62174               BAKER                                       B 15-08-0066                    CSP-LAC                08111/15
    SUPPLEMENTAL ~ CONTINUATION OF: ❑CDC 115 CIRCUMSTANCES ❑HEARING                           ❑ I.E. REPORT ~ OTHER:

 resist again by thrashing his body from side to side in an attempt to break from our grasp. O~cer Smith and Ramsey pushed
 Baker against the back of the holding cell to be able to immobilize him. Inmate Baker began cough+ng up saliva as if he was
 getting ready to spit again. I grabbed a spit mask out of my pocket and placed it over Bakers face. As soon as the mask was
 placed inmate Baker began screaming stating "I can't breathe, I can't breathe". I requested for an Officer to bring a wheel chair
 via institutional radio. A few seconds later, Officer Tillman arrived with a wheel chair. O~cer Tillman and Smith assisted inmate
 Baker onto the wheel chair and escorted him to the "B" Facility medical clinic for a medical evaluation. Once in the medical
 clinic, inmate Baker was medically evaluated by Licensed Vocational Nurse C. Adeduro who cleared him for Administrative
 Segregation placement. During the medical evaluation, Baker was placed in waist chains and he was subsequently placed in
 the intake clinic holding cell pending Administrative Segregation placement. While in the holding tank in the intake clinic,
 inmate Baker began kicking the holding cell door as he yelled profaniEies and racial slurs to any person around him. At
 approximately 1815 hours I received a call from Officer Godina via institutional radio requesting for me to come to the intake
 clinic. Upon arrival to the intake clinic I observed inmate Baker hitt+ng his head against the protection grill which is located on
 the intake holding cell windows. As soon as baker saw me he stopped hitting his head and began yelling at me stating "Hey
 you bean burrito eating mother fucker you are going to lose your jab for this". "You fucking dirty pig you are in your way out
 and you don't even know iY'. "Fuck you fucking spit wet back mother fucked'. "Yau will be kicking cans on the street by the time
 I'm done with you fucking wet back, dirty cop mother fucked'. Inmate Baker then stated "You know I have the right to kill you
 right?" "It is my Islamic right to kill you". Baker then gesture with his right hand as if he was slicing the throat as he stated "You
 are done". Inmate Baker again started to hit his head against the window cover. I ofdered to stop and he complied. I walked out
 of the intake clinic and returned to the Sergeants office. At approximately 1830 hours, I received a call from Officer H. Tillman
 via Institutional Radio requesting forme to go to the intake clinic. Upon arrival, Officer Tillman informed me that inmate Baker
  had removed the waist chains from his waist leaving them in fron#. Baker then began striking the protection grill in an attempt fo
  break the windows in the holding cell with the chain and lock. I walked to the door and ordered Baker to go to one the bench
 and to sit down to which he complied. I opened the Folding cell door and ordered Baker to waEk backwards toward me to which
 he complies}. Officer Tillman and I removed the waist chains and put them back mound the waist of inmate Baker. I then
 advised inmate Baker that if he was to remove the waist chains again, I wouEd place him in hand cuffs. Inmate Baker sat down
 and did not respond. Inmate Baker made allegations of misconduct by staff and was interviewed by Lieutenant B. Legier and
 Sergeant K. Marshall. During the interview, inmate Baker expressed suit+dal ideations to Lieutenant B. Legier and he contacted
  me to inform me of the situation. After medical staff was informed, they requested that inmate Baker be escorted to the T7A for
 a mental health evaluation. Inmate Balser was escorted to the TTA for a mental health evaluation and he was placed in "Suicide
  Watch" in Ad-Seg FAB4-123. At approximately 2045 hours Officers B. Pabon, R. Pabon and A. Castro returned from an outside
  hospital. Both Officers were instructed to be off work for approximately 7 days as a result of the injuries sustained during the
 incident. This concludes my involvement in this incident.
 Inmate BAKER is aware of this report.
 Inmate BAKER is a participant in the Mental Health Services Delivery System.




                                                                                              n     1
                                                      SIGNATURE OF       ITER                                         DATE IG     0
                                                      F. VILtALO       S Co          ~   al Ser                       ~ n f5
                                                      GIVEN BY:(Staff's Signature)                      DATE SIGNED   TIM SI NED
               COPY OF CDC 115-C GIVEN TO INMATE                                                        ~/7/~          ~~~,J
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 CDC 115-C (5195)
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                                               #:1397
STA7G OF CALIFORNIA
                                                                                                                                     DEPARTMENT OF CORRECTIONS ANO REHABIL{TATION
SERIOUS RULES VIOLATION
REPORT
CDC NU\IBER                  N\,




~~I REQUEST my hwring be postponcd pending oulcomc of                             ~~y~sj3E"s stcu:~rURF~/.d/                                                            p,~
  refcrtaf for prosecution.                                                         R,~                    ~~U
D.~TE vOTICE OF OUTCOSfE RECEIVED                            bISAOSii i[l~




         RE~'OKF, my request for postponcmcnt




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ItvvESTfGATIVE EMPLQYE~                                                      "ItiA, iE`5•SI(i' i'~iRE —             — ~                                                 D,~TE
      R EQUESTED     1VAIVED BY IN~,lATF                                            ~                                         .'~~~~~~a~^~/~                              /~//~/~




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w fT~ESSES REQUESTED AT HEARING pF ~;OT PRF.SFN7. FXPL~t` i~! FrvDLVGS]"^—
                                                                         '~-
     REPORTfNG EMPLOYEE                 ❑ STAr'F ASSIST:\`T                    ~ INVES'flG~~l'IVE EV1i'LOYEL-                        OTH
~V!'PNE$$EJ'(G1VE NA\1E AVQTITLF.OR CDC NU1f8ER1                                              rvui     I \v I I Ni:5S1:S fGIYE \,1AfE ANDTI fLE OR CDC NUt~(BER)
                                                                      GR,t VTGD         GRANTED                                                                            GR.4~ITED     GR.~NFE~
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                 •           ~      ~ THE OFFICER ISSUING THE F1NAL CQPY TO THE INMATE SHALL COMPLETE THIS SECTIOtV-                                                                       '._= M
 Asslaiance PmvldeC 7o Ensure EHocelve Commun{catlon:                                                                                                                         ~
 ❑     Use o~ Test Rtagnifier                            ❑   Read Dowmcrns ~o'S'                                                 ❑ 4p ReaCin9                                 ~
 ❑     Faragn Lan6u0ge hrerpretcr                        ❑   Sqn Language Intrprc:w                                              Q Writfm Napes(see txtad~f0 noted)           -~
       Simple Enghsh                                     O   S' was wcarc~g tus hcanng aiC(s~                                    Q S.A Assigned
 Q    "5" stated ho did not need any assistance }o~ etfectivo communicaGan                                                                                                    r„t         .

 MethaO Uscd To Delertnine Communlcailon Ylas ENective:                                                                                                                       ~
~g~S'reltcateC in his own worts what was e~cp:ained                                       ~          .~~S' askeG appropria to 4~estions regcdmg ;he information picvidetl
 Q 'S'provided appropria~e subsan:;ve responses to questions asketl                                   ❑ 'S- Citl not aAPear ~a ~nyeretand the cammunicalion, ergo thov~ Iha primary method of
 ❑  O;tier                                                                                              communication was used.

 SIGNATURE~PL YEE WHO COMPLETED THIS SECTION                                                                                         EE                                                         J

 X                                                                        __                         nr~~;
                                                                                                             INVESTIGATOR'S SIG~F7URE                                    DA7F



                                                     131' IST:t FF SIGN:t I'URlil                                                                  TI~IF                 DA'Z'E
     COPY OF CQC 115-A GNEN INMATE                   ~                                                                                              ~
                                                                                                                                                    C/`.'v                 C~/T


coo >>s-A c»sa~                                  —           ditiona!space is required use supplemental
                                                                                                                                                                   n ~~           nnc
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  STATE OF CALIFORNIA                                                              DEPARTMENT OF CORRECTIONS AND REHABILITATION
 RULES VIOLATION REPORT -PART C                                                                                   PAGE    1    OF     3

  CDC NUMBER           INMATE'S NAME                             LOG NUMBER                   IiVSTITUTiON               TODAY'S DATE
  K-621.74             BAKER                                     B15-08-OOfi6                 CSP-LAC                    09-18-13
    SUPPLEMENTAL       ~X CONTINUATION OF:     CDC 115 CIRCUMSTANCES      ~X HEARING         ~ I.E. REPORT ~ OTHER

                         RLEA: Not Guilty                                          FINDING: Guilty
HEARING CONVENED: On d9-18-15 at approximately 1545 hours, inmate BAKER made a personal appearance
                                                                                                              before
Correctional Lieutenant G. Marshall, Senior Hearing O~cer (SHO), for the purpose of adjudicating this Rules Violation
Report. BAKER stated he was in good health and ready to proceed with this hearing.

 DOCEJMENT ISSUANCE: BAKER acknowledged that he had received copies of the following documents at least twenty-€our
(24} hours prior to this hearing:
FORM NO.        DESCRIPTION                                                                              DATE ISSUED
CDC-4 T 5       Rules Violation Report                                                                   08-17-15
CDC-115A        Serious Rules Violation Report                                                           08-17-15
CDC-'f 15       Summary of Disciplinary Procedures(Back Page)                                            08-17-15
CDC-115A        Summary o€ Disciplinary Procedures and (nmafe Rights (Back Page)                         08-17-15
CDC-837         Crimellncrdent Report W/Supps & 7219's(Log #LAC-BPG-15-08-0473)                          08-17-15
CDC-115MN       Rules Violation Report: Mental Health Assessment                                         09-01-15
These reports were reviewed with BAKER in the hearing. BAKER is charged with Aggravated Battery on a Peace Officer
                                                                                                                           {with
Caustic Substance), a Division 'A-1' Offense. BAKER was advised that the charged offense is a violation of CCR
                                                                                                                          §3005
Conduct, subparagraph {d)(1) Force or Violence. CCR §3005(4)(1) states, "Inmates shall not willfully commit or assist another
person in the commission of an assGult or battery to any person or persons, nor attempt or threaten the use of force
                                                                                                                     of violence
upon another person.° BAKER acknowledged understanding the charge and the evidence being presented.

DISTRICT ATTORNEY: On 08-17-15, BAKER acknowledged in writing that he was not requesting the postponement of
                                                                                                                this
hearing pending the outcome of referral for prosecution (CDC-115A). BAKER acknowledged that any statements or other
evidence presented at this hearing could be used against him in future court proceedings.

TIME COfVSTRAINTS: Time constraints have not been met which shall preclude denial or forfeiture of credits in the event of
                                                                                                                                 a
g uilty finding. Specifically, this disciplinary hearing is~ not being held within 3d days from the date a copy of the CDC-115
                                                                                                                               was
issued to BAKER(CCR 3320(b}).

CONFIDENTIAL INFORMATIOfV: There was no confidential information to be considered.

PNOTOGRAPHNIDEOTAPE EVIDENCE: On 08-17-15, BAKER was given an opportunity to view the photographs entered
into evidence (see CDC-1286). There was no videotape evidence to be considered.

M ENTAL HEALTH INFORMATION: On 08-21-15, a Mental Health Assessment Request (CDC-115MH} was submitted
                                                                                                                           to
Mental Health Services because BAKER is a participant in the Mental Health Services Delivery System {MHSDS} at the
Enhanced-Out-Patient {EOP) level of care. On 08-25-15, R. Girod, PsyQ conducted anon-confidential interview with BAKER
and formed the opinion that BAKER'S mental disorder did not appear to be a contributing factor in the actions that led to the
RVR. R. Girod, PsyD noted that there are no mental health factors the SHO should consider in assessing a penalty if the
inmate is_found_guiltyof_the_charge.                 _     _.                                              __
EFFECTIVE COMMUNICATION: Effective communication means providing the inmate, to the extent possible, the means to
understand and participate in the disciplinary process to the best of their ability(CCR 3000}. When BAKER Nias served a copy
of this RVR, it was deterrr+ined that additional assistance would be required in order to achieve effective communicatson with
BAKER throughout the disciplinary process. Effective Communication with BAKER was achieved through the SHO using
simple English, which was spoken slowly and clearly and repeated several times to ensu~ul~~erstanding by the inmate.
                                                     SIGNATt1RE OF WRITER iJ             _        _          ,~      DATE.SIG?IED
                                                     G. Marshall, Corrections
                                                     GIVEN BY:(Sts    Signature)                      DATE SIGNED    TIME SI NEd
               COPY OF CDC 115-0 GIVEN TO INMATE



 CDC 715-C (4109}(AK-JG/Rev 9-01-2011)                                                                                    J.P. OSP 99 ELE25~82


                                                                                                             n ~n nnc
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      STATE OF CALIFORNIA                                                               DEPARTMENT OF CORRECTIpNS AND REHABILITATION
      RULES VIOLATION REPORT - PART C                                                                           PAGe 2      of 3

      CDC NUMBER           INMATE'S NAME                             LOG NUMBER                 INSTITUTION           FODAY'S DATE
      K-62174              BAKER                                     B15-08-0066                CSP-LAC              09-18-75
      ❑ SUPPLEMENTAL       Q CONTINUATION OF: ~ CDC 1 i 5 CIRCUMSTANCES       QX HEARING      ~ l.E. REPORT   ❑OTHER:
    The SHO queried BAKER to determine whether or not effective communication had been achieved with hirn throughout the
    disciplinary process. BAKER reiterated in his awn words what had been explained to him and provided appropriate,
    substantive responses to questions asked during the hearing, The SHO is satisfied that effective communication was achieved
    with BAKER throughout the disciplinary process.

    STAFF ASSISTANT: On Q9-18-15, Correctional Officer J. Williams was assigned as a Staff Assistant (SA) far BAKER
    because BAKER is a participant in the Mental Health Services Delivery System (lv1HSDS) at the Enhanced-Out-Patient {EOP)
    level of care. Corrections! Officer J. Williams was present at fhe hearing and confirmed that the hearing procedures,
    disciplinary charges, the evidence supporting these charges, and the right to request confidentiality had been explained to
    BAKER at least 24 hours prior to tf~e hearing. Correctional O~cer J. Williams remained at the hearing to assist BAKER.
    Speaking slowly and using simple English, Correctional Officer J. Williams reviewed the disciplinary process with BAKER in the
    presence of the SNO. The SHO then read each report to BAKER and explained his appeal rights. BAKER acknowledged to
    the SHE that he understood all evidence to be used and understood these proceedings. After the hearing concluded,
    Correctional Officer J. Williams reviewed the disciplinary process and the action taken with BAKER to ensure he understood
    these proceedings and the outcome.

    INVEST1GATtVE EMPLOYEE: On 08-21-~ 5, BAKER waived the assignment of an Investigative Employee as evidenced by his
    signature on the CDC-715A. The SHO finds th2t available information is sufficient and no further investigation is necessary.

    PLEA AND STATEME[VT: BAKER entered a plea of Not Guilty and declined to make a staternenf.

---- .WITNESSES:. Neither BAKER .nor. the SHO .called witnesses _at the hearing. BAKER was given an opportunity to request
      witnesses when he received a copy of the CDC-1'[5A and at the hearing when the SHO advised BAKER of his right to request
      witnesses.


    FINpING: Guilty of the Qivision `A-1' Offense BATTERY WITH A CAUSTIC SUBSTANCE(CCR §3323(b}{4)). BATTERY is
    the deliberate use of force or violence on the person of another. Deliberate means it is not accidental. Force is power,
    violence, compulsion, or constraint, exerted upon or against a person. Violence is unjust or unwarranted exercise of force,
    usually with the accompaniment of vehemence, outrage or fury; the exertion of any physics! force so as to injure, damage; or
    abuse. This includes every type of physical contact from unlawful touching or simple battery, through battery urith enough force
    to result in serious injury or death. CAUSTIC SUBSTANCE is any substance that is capable of burning or destroying organic
    tissue by chemical action. This finding is based upon a preponderance of the following evidence:
    1) The Supplemental Report(CpC 175-C) authored by Corrections! Sergeant F. Villalobos.


    2} The Supplemental Report (CDC 837-C) authored by Correctional Officer A. Castro, indicating that Inmate BAKER
       spat in his face.




                                                                                                    .»7
                                                         SIGNATURE OF WRITER                                        DAT SIG ED

                                                         G. Marshall, Correction I ieu e ant        ~               ~8 ~
                                                         GIVEN BY;(Staff's Signature)                 DATE SIGNED   TI ,E IG ED
                   COPY OF CDC 71 S-C GIVEN TO IAIMATE    `1                                                           g



     CDC 11 S-C (4/U9)(AK-JG/Rev 9-01-2011)                                                                             J.P. OSP 99 ELE25692


                                                                                                              or=n nn~
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       STATE OF CALIFORNIA
                                                                                    DEPARTMENT OF CORRECTIONS AND REHABi
       R ULES VIOLATION REPORT - PART C                                                                                     LfTATION
                                                                                                               pa~E 3    of     3
       CDC NUMBER          INMATE'S NAME                           LOG NUMBER                INSTITUTION
       K-fi2174                                                                                                    TODAY'S DATE
                           BAKER                                  XXX-XX-XXXX                CSP-SAC               09-18-15
         SUPPLEMENTAL     ~X CONTlNUATIOtV OF: ~]CDC 715 CIRCUMSTANCES
                                                                            QX HEARING      ❑ I.E. REPORT   ❑OTHER:
   DISPOSITION: In accordance with CCR 3315{f}, the foEfo
                                                          wing penalties have been assessed:
   • No Forfeiture of Credit was assessed due to the
                                                      time constraint violation noted at the commencement
                                                                                                          of this hearing.
   rt Assessed 70 consecutive days loss of yard privil
                                                         eges to be imposed within 90 days 8~ completed
      15.                                                                                               nQ later than 12-17-
   +   Assessed 90 days loss of dayroom privileges comme
                                                         ncing the date of this hearing through 12-17-15.
      Assessed 90 days loss of telephone privileges comme
                                                          ncing the dafe of this hearing through 12-17-
                                                                                                        15.
   = Assessed 90 days loss of a!I vendor package privil
                                                        eges commencing the date of this hearing throug
                                                                                                         h 12-17-15.
   ENEMY CONCERN: No enemy concern has result
                                                 ed from this incident.
  APPEAL RIGHTS: BAKER was advisee! of the finding in
                                                            this matter. BAKER was also advised that he would
  this completed report upon final review by the GDO.                                                          receive a copy of
                                                           BAKER was advised that he may appeal any portio
  finding, or disposition and that to do so, he must attach                                                    n of the hearing,
                                                            the final copy of the CDC-175 to his inmate appeal
  referred to CCR 3084.1 for further information.                                                              #arm. BAKER is

  CREDIT RESTORATION: BAKER was advised that
                                                       per CCR 3327(x){1) No credit shall be restor for
  of#ense punishable by a credit loss of more than 90                                              ed    any serious disciplinary
                                                         c}ays. These offenses include Divisions A-1, A-2,
  referred to CCR Sections 3327 8~ 3328 for further                                                        8 and C. BAKER is
                                                    information.
- BAKER was advised thaf the- results of this hearin
                                                       g would not become final until reviewed-and
  disciplinary ofFcer(CDO)and that after review he would                                               approved by -the chief
                                                         receive the final copy of the completed CDC-115.




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                                                                                    .   ~     /l A /J
                                                     SIGNATURE OF WRtTER
                                                                                                                DATE SlG ED
                                                     G. Marsha!!. Correctional ieutenant}
          ~--~/~                                                                                                ~~ Z
                                                     GIVEN BY:(Staff's Signature)                DATE SIGNED
        ~ /~ COPY OF CDC'i15-C G1VEN TO INMATE                                                                  TI E GNED
        } J
        !                                                                                       ~ ~~/S          ~C/may p
                                                                                                 ~~               d
                                                           II
  CDC 115-C (4109}(AK-JG/Rev 9-07-2Q~ 1)
                                                                                                                  J.P. OSA 99 ELE250n2


                                                                                                           nr,n nnR
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                                       #:1401

SATE CF CAL:FOftNIA                                                                                DEPAR7'v1~NT CF CORrZECT10NS AND RcHABI~_iTATION
 CRIME /INCIDENT REPORT                                                                                                                       nv-,.s a
 PART A -COVER SHEET                                                               INCICEW-LOG VUhiBEN             INCIUENTDATE      ~NCIDEN~ TIbSE
 CDCR 837-A (REV. 10106)                            Page 1 of 11                   LAC-8PG-15-08-C473                08/11/2015 17:46
 I NST,TU' OV FJ,CI~IIY               FaCIUTY LEVEL        INCIDENT SITE                IOCAfION                     PROGfL1M      AD~SEG     USF Jf
                 6PG - ~enerai               ~ ❑ ~~ ~ P~       FACILfTY B                F~~CILITY B FROGF~,M                      'r:,RD     Fc~::;_.
   LAC             Pooula;'on              ill w!'~`~        PROGRAM GF=ICE                      OFFICE                 GP         N!A         Yes
 aP ~I ~ 1, 1. P.7 ! I 'c,l t. ~                                                             ~/J CCR    PC      N!A NUMEER i SUBSECTION
 Force or Violence -Aggravated Battery on a P=ace Officer                                   3005-d1 Force or Violance


         A. REFERR.?L =L~G18LE                 CRISIS RESPONSE TEr.M ACTIVATED                                                       -- -
                                                                                                     MUTI;AL AIG                   ?IO-FU1 fvGTIFlED
         .~ Yes     ~ ~ No                            ~ Yes [No                                    []Yes    d' No                 L! Yes     ~/' Nc
                                             R FI JTF(1 ING(1GMATI(lIJ If`u C!`~! Al t TueT noon v no urea

                 DEATH ANO CAUSE OF DEATH                               ASSAULT! BATTERY                   TYPE OF ASSAULT I BATTERY

                                                                        1. STAFF                   1. SPITTING;SPITTLE GN STAFF




                                                                                                   Gther Desc:
 SERIOUS INJURY                     INMATE WEAPONS                                          TYPE OF WEAPON 1 SHOTS FIRED 1 FORCE

  d N!A              Cr NrA                                                   _ NIA
                     L Bodily Fluid Saliva -                                   1. ?HYSICAL FORCE -
                                                                               #Warning: 0 #Effect: 0 nChemical: 0




     ESCAPES

     NSA




   CONTROLLED SUBSTANCE                   WEIGHT! In Grams        PROGRAM STATUS                            EXCEPTIONAL ACTNITY
[
~ NIA                                                           ~ N~A                       ;~ N!A




                                                                                            EXTRACTION:
                                                                                             ~/ N/A

 on~cr   uco•„rur i ivry yr uv~.wci~ i    (UIVt IJ hC I VV V JtIV I tNGtJ)

 On Tuesday August 11, 2015 at approximately 1746 hours, Inmate BAKER, K-62174, F662-129L was being escorted ~o
 the FaciGr~ B Progrzm Office when he committed the act of "Aggravated Battery on a Peace Officer" by resis±ing and
 spitting on the facial areas of two officers.

 Inmate BAKER is a participant in the MHDS at the CCCMS level of care.

 COP~1PLcTE SYNOPSIS / SUM('~AARY ON PART A'

 NAtr~ OF REPORTING S':Ar=F (?RINTiTY'~)                        TITLE                                        IOk                    BADGE 0
           LUGO                                                 CORRECTIONAL LIEUTENANT
 S;GW+TURE OF F~,EpgRTI     STAFF                                                               PHONE EXT. INCIDENT SITE        DATe
                ~-                                                                                                                     BJ11/2 5
 NAME OF WARDEN / A0~(               ~.                                                         TITLE                           QATE
 J SOTO                                                                                         wnRDEN                                 ~ Z~' (,S
                                                                                                                                A~;~ n~
         Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 41 of 126 Page ID
                                           #:1402
                                                                                  DEPARTh7ENT CP CORFcCTiOhS AND REHABILfTAT10N
  Sir~7 OF C,riL~FQA.fdltl                                                                                              D V-1 5.a
  CRIME /(NCfDENT REPORT                                                                     INClDEN' LOG NUr~,e~R
  PART Al -SUPPLEMENT                                                                     LAC-BPG-15-08-0~73
  CDCR 637-A1 (REV. 10!06}
                                                                   Page 2 of 11
                                                                      INCIDENT Cr~`E             INCICEN7 TIA'.E
  INST;TL'T~ON               FACILITY

   LAC                       BPG -GENERAL POPULr1TION                 68/11;2015                 17 40
'YPE O~ IN~ORh1ATION
    ~ SY~OPSIS~SUh1ti1~RY OF INCIDENT       ~ SUPPLEi~AENTAL .N=ORMATION   ~ gR1ENCED INFORb1ATION         I CLQSURE REPORT


    SYNOPSIS:
    On Tuesday August 11, 2615 at approximate; 1745 Fours Correctional Officer J. R. Archambo was conducting his
    duties as the Facifty B Yard Observat~o~ Officer and was monitoring the inmates coming and going from the dinirg
    hall when he observed Inmate T. R. Baker, Ko2174, FBB2-129L starding in front of ;he Facility B Medical Intake Clinic
    talking to other inmates.

    Officer Ar~hambo ordered Inmate Baker to peep moving and to go back to his assigred housing unit. Inmate Baker
    then approached the base of the Observation Tower and began to yell profanities at Officer Ar~hambo. Officer
    Arcramba continued to order Inmate Baker to go back to his assigned cell with negative results as Inmate Baker
    refused to obey O~cer Archambo's lav~ful orders by continuing to yell profanities at Officer Archamoo.

    Officer Archambo then activated ,he Yard Alarm and requested aCode-1 Response to the area. Responding officers
    arrived and attempted to place Inmate Baker in handcuffs, but Inmate Baker refused by yelling °You can't handcuff
    me, get waist restraints" over and over again.

    The Facility B Program Sergeant, Carrec'.ional Sergeant F. Villalobos responded to the area and instructed the
    escorting officers to escort Inmate Baker to the Facili~y B Program Office without handcuffs due to Sgt Vllalobos
    being aware that Inmate Baker has a "Waist Restrain;" Chronc. As officers were escorting Inmate Baker he began to
    resist the escorting officers by attemp6ne to break free from their hold by twisting and jerking his body around after
    entering the Facility 6 Program Office. Officers then had to utilize Physical Force to safely gain compliance with the
    oficons IaN,fcl orders, overcome resistance, ar.d affect custody of Inmate Baker at which time Inmate Baker began to
    purposely spit toward the officers, striking Correctional Officers B. Pabon and A. Castro on their facial areas with his
    saliva as he continued to attempt tc break free from the officers hold at which time the officers forced inmate Baker to
    the floor.

    Inmate Eake~ was subsequen;fy placed in handcuffs and a Spit Mask was placed on him to prevent him from spitting
    cn any other staff member. Officers den escorted Inmate Baker in a wheelchair to the Facility 8 Medical Clinic where
    medical staff medically evaluated Inmate Baker. After medical staff cleared Inmate Baker, he was escorted to the
    Facility B Medical Intake Holding Cell.

    Officers Pabon and Castro were instructed to go to the Triage Treatment Area (TTA)for medical treatment and
    evaluation. Both o~cers were later transported to Proactive Medical Clinic for further medical treatment and
    evaluation. Sgt. Villa!obos was medcally evaluated at the TTA and was cleared to return to duty.

    Since Inmate Baker was making allegations of unnessasary and excessive force Lt Lugo requested the assistance of
    the Third Watch, Watch Commander Correc,ior,al Lieutenant B. Legier in conducing a video recorded interview of
    Inmate 6ake~ before he was re-housed in Administrative Segregation to properly document his statements and injuries.

    It sho~~ld also be noted on this report that Investigative Services Officer, Correctional Officer C. Smith responded to the
    scene and began to assist Facility B officers it restraining and escorting Inmate Baker. Officer Smith also recorded
    5cme of Inmate Baker's verbal attack on staff with his sate issued audio recording devise.

     After Sgt. Marshall and Lt. Legier completed the video recorded interview of Inmate Baker, Inmate Baker was
     rehoused in Ad-Seg where he was placed on Suicide Watch without further incident due to Inmate Baker stating that
     he was `soling suicidal during the video recorded interview.

     ALARMS
     Correctional Officer J. R. Archambo announced the incident over the institutional radio and activated the Facility B
     Yard Alarm.
  ,~ CHECK IF NARRATIVE IS CONTINUED ON ADDITIONAL At
   tiAME OF R[PCRTING STAFF (PRINTlTYPE)              TITLE'                               ID#                     BADGe tl
     A           LUGO                                 CORRECTIONAL LIEUTENANT                                      _
   SIr,NATURE OF RE          NG   AFF                                           PHONE EXT INCIDENT SITE            DATE
                                                                                  -                                 8/11/2015
   Ni+M~ OF WARDEN! O         RINT~     )                                       TfTLE                              DAT
    i cnTn                    i~1 ,     U                                       WARDEN                             ~          ~~
    Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 42 of 126 Page ID
                                      #:1403
$TATc OF CALIFOP.NIn                                                            DEPARTi~1ENT OF COP,RECTIONS ANO REMABWTi+TION
CRIME /INCIDENT REPORT                                                                                                    o'r-,.s.a
PART Al -SUPPLEMENT                                                                        wc~oENr ~cc v~+.,eEfi
CDCR 837-A1 {REV. 10106)                                         Page 3 of 11           LAC-BPG-15-D8-04i3
 N~TITUTION            FA.CILIT'Y                                   !hCIDCNT CAT[              INCIDEYT TIhAE

LAC                    BPG -GENERAL POPULATION                      08/11;2015                 17:40
      OF WFCRP.'lATION:
;
~ SYNOi'SIS/SUF.AI'~AARY OF INCICENT   ~ SUPPL~idENTAL INFGFc1:1AT10N    i`) AMENDED INFORMATION        ~ CLOSURE RE?ORT


 SUSPECT(S)'
 •Inmate T. R. Baker, K62174, FBB2-~29L, Black, CCCy1S.

 USE OF FORCE:
 •Correctional Qfficer B. Pabon utilized Physical Force during this incident.
 •Correctional Off;cer R. Pabon utliized Physical Force during this incident.
  Correctional Officer C. Smith utilized Physics! Force during this incident.
 •Correctional Officer A. Castro utilized Physical Force during this incident.
 •Correctional Officer J Ramsey utilized Physical Force during tfiis incident.
 •Correctional Sergeant F. Villalobos utilized Physical Force during this incident

 EVIDENCE:
  Correctional Sergeant K. Marshall placed she camera used to conduct the video recorded intenriew in AIB Evidence
 Locker #23.
 •Correctional Officer C. Smith logged and secured the camera used to document the officers and Inmate Baker's
 injuries into the Main Evidence Locker #1.
  Correctional O~cerA. Castro logged and secured his uniform shirt contaminated with Inmate Bakers saliva in A/E
 Evidence Locker # 24.
 •Correctional Officer B. Pabon logged and secured her uniform jumpsuii contaminated with Inmate Bakers saliva in
 AFB EviCence Locker#2S.

 ESCORTS:
 •Correctional Offices B. Pabon, R. Pabon, J. Ramsey and Correctional Sergeant F. Villalobos escorted Inmate Ba;cer
 `rcm tt;e road~Nay in front of the Facilirj B Gym to the Facility B Program Office.
  Correctional Officer C. Smith and H. Tillman escorted Inmate Baker from the Facility B Program Office to the Facility
 B Medical Clinic and then to the Facility B Medical IntaKe.

  HOLDING CELL:
  Correctional Officer H. Tillman placed Inmate Baker ir, the Facility B Medical Intake Holding Cell and initiated a
  Holing Cell Log.

  DECONTAMINATION:
  N!A

 MEDICAL:
 Registered Nurse J. Sisson conducted a medical evaluation on Officer Pabor, and completed aCDC-721 ~ Unusual
 Occurrence Medical Evaluation form which noted the follovring;
 •Swollen and Reddened area on right eye.
 •Spit in mouth.
 •Pain on .eft elbow area.

  Registered Nurse J. Sisson conducted a medical evaluation on ~ifiicer Castro, and completed aCDC-7219 Unusual
  Occurrence Medical Evaluation form which noted the following;
  •Pain on right shoulder.
   Spit on his left cheek area.

 Registered Nurse I. Ibarra conducted a medical evaluation on Sergeant Villalobos, and completed aCDC-7219
 Unusual Occurrence Medical Evaluation form which noted the following;
 •Pain on left wrist

 / CHECK IF NARRATIVE IS CONTINUED ON ADDI?ZONAL Al
,i
N~F,',E OF REPORTING STAFF ;PRINT/TYPE)        TITLE:                            IOIF                           BADGE ~
             LUGO                               CORRECTIONi,L LIEUTENANT
SIvNATURE OF REP R G AFF                                               PHONc ems. INCIDENT SfTE                 DATE
                                                                        -                                        8!11/2015
NA41E CF Wl,R~EN ~ AO. (          N)                                   TITLE                                    DAT      I
 J. SOTO                          `~                                   WARDcN                                     ~ 2Sl~ ~S
    Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 43 of 126 Page ID
                                      #:1404
S7i~T= OF C.~LIFORNW                                                             QEPART'~7EN? OF CORRECTIONS AND RE~iABILITATIGN
                                                                                                                             DV-'.S.A
CRIME 1 INCIDENT REPORT
                                                                                            ,N~ICEN~ LOG NUh'[iER
PART Al -SUPPLEMENT
CDCR 837-A1 (REV. 10(06)                                          Paye 4 of 11           LAC-BPG-15-08-0473
INST~I UTiON                FACILI~'                                 h'CIDENT C.:TE             INGJ"chT TIME

 WC                    ~ BPG -GENERAL POPULATION                     08,'i 112015               17:46
YPE GF WFORI~TION,
 ;~ SYNOPSIS/SI;~~A~viARY CF ;NCIDENT   ~ SUPPLEhtEN7~":L INFORM":rlTtON   ~ Afv1EN~ED INFORhtATION      J'. CL05URc REPORT

 •Reddened area on left elbow.
 •A.brasion/Scratch and Reddened area on right elbow.
 •Pain on lower back.

  Licensed Vocational Nurse C Adeduro conducted a medical evaluation on Irmate BaRer, and completed aCDC-'219
  Unusual Occurrence Medical Evaluation form which noted the following;
   Scratch on stomach area.

  VIDEO RECORDED !NTERVIEW(5):
  Cor~ec*zonal L eu,enart B. Legier conducted a video recorded interview with Inmate Baker.

  NOTIFICATION:
  AOD, Correctional Easiness Manager L. Raupe, D. Shapiro with OIG, Headquarters AOD Correctional Captain T.
  Tyler, and CCPOA Representative, Correctional Officer R. Paton were ail notified of this incider~.

  CONCLUSION:
  Inmate Baker will be issued a CDCR-115 Rules Violation Report Lcg #B1 ~-08-OG66 for Violation of California Code of
  Regulations ;OCR), Title 15, Section 3005 (dj(1), for the specific act of "Aggravated Battery on a Peace Officer'.

  There were injuries tc staff, nc serious irjunes to Inm2te BGker and no destn:c on to 2ny state property during or after
  this incident You will be appr sed c`any further developments in this mater as they occur, via supplemental reports.




r CHECK 1F NARRATIVE IS CONTINUED QN ADDfT10M1lAL Al
 NFME OF RE?^
            vRTWG STAFF (PRINTr~YPE)                7T'LE.                                10~                   oa,DGE p
   P_ LUGO                                          CORRECTIONALL!EU7ENANT
 SIGtUITURE OF REP     TI     S AFF                                            PHONE EXT INCICENT SfTE          DATE
                                                                                -                                8/11/2015
j hAME C~ VJARDEN I AOD            v                                           TITLE                            DATE
 J. 50T0                                                                       WARDEN                               Q ZS ~ `~
                                                                                                            AGQ ~~8
   Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 44 of 126 Page ID
                                     #:1405

STATE OF CALIFORNIA                                                                          DEPARTMENT OF CORRECTIONS AND REHABILITATION
CRIME /INCIDENT REPORT                                                                                                            DV-? .5 A

PART B1 -INMATE
CDCR 837-81 (REV. 10!06)                                                                                     Page 5 of 11
INSTIUiTION              FACILITY                                                         INCID=NT LOG NUMBER
LAC                      BPG -GENERAL POPULATION                                          LAC-BPG-15-08-0473
                                                        INMATE (ENTIRE SHEET)
NAME: LAST                            FIRST                  CAI     CDC #         SEX     ETHNICITY     FBI #:                CII it
BAKER                              TIMOTHY                   R       K-62174        M      BLA            234287MA1            AXXXXXXXX
  PARTICIPANT          CL4SS   PVRTC    DATE R.EC'0    DATE rtEC'D      ANTICIPATED      RELEASE     EXTrZr~CTICN     DCB           HOUSING
                       SCORE              BY CCC        BY IPiS'       RELF~SE DATA      Date Type
SUSPECT
                       65            NO   08/27/1997 09/18/2014   02/23/2082              MEPD
                                                                                         NO                        12/28/1960 FBB2-129L
CURRENT INMATE LcVEL ❑NIA           LJ CCCMS ~ EOP ~ DMH COMiv117MENT OFFENSE                                     COUNTY OF COMMITMENT
         ~V           ❑ MHCB        ❑ ODP     ❑DPP             SODOMY W/FORCE, ATT MURDER 1ST1                    SACRAMENTO
U N~'~        DESCRIPTION OF INJURIES, LOCATIONS AND CAUSE
SCRATCH ON STOMACH AREA.(INJURY LOCATIONS: 1. STOMACH CAUSE: STAFF -PHYSICAL FORCE)




J N/A        ~/ TRE4TEDAND;~e~ASED               HOSPITALIZED                             NAMEILOCATIONOFHOSPITREATMENTFACILITY
n DECEASED DATE                                ~ REFUSED TREATMENT           ~ NIA       FACILITY B MEDICAL CLINIC
Reason Fof Death:       Is There ASCA Seious Inju ~ h~q p~~50N GANG 1 DISRUPTNE GROUP
                                                                                                       VALIDATED /ASSOCIATED
                        Q No        ~ Yes




                                                                                                                        AGO 019
        Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 45 of 126 Page ID
                                          #:1406
    STATE O~ CALI`ORNI~                                                                          L'EPAi~T'.1ENT OF ~O-~RtCTICPJS ?NO REHAaILITA"ION
    CRIME !INCIDENT REPORT                                                                                                                  D`!-:.5.4

    PART B2 -STAFF
    CDCR 637-B2(REV. 10!06)                                                                                      Page 6 of 11
    I NSTI'UTION                 F~'+CIIITY                                                   NGCENT I.CG ~Uh'BE~i
    LAC                          BPG -GENERAL POPULATION                                      LAC-BPG-15-C8-0473
                                                                   STAFF (ENTIRc SHEET)
    NnhiE. SST                                FIRST                    M111   TITLE                   SAX            rTNNIC~TY     RDO'S
    L~GIEP,                                                                   CORRECTIONAL LIEUTENANT M
    ?An TIC,PF.N T                       BAUvE #                ID M                       PAST i.SSI:~N #         POSITION
:.A1v1~RA
                                                                                                                   WATCH CObiMANOER
~~ yip,              CESCRI=i3ON OF INJURIES :.00ATiON A~JD w1l~SE.

I




    ,/! PLA    NAh1Ei LOCA7I~N CF HCS?i FACILRY        ~; ti~A             ~ 'n ATEG kNC ~E~„SEf; USED FORCE                     PROCESSED EVIDENCE
I   v

    Reason Fcr Death
                                                       L REFI,S_DTREATMENT i
                                                       ~ ~7ECEASEO DP.T~
                                                                            ]HOSPfTa,LIZED          ❑ Yes etr/ Nc
                                                                                                   TYPE Or" FCRCE:
                                                                                                                                  ~ Yes      ~ No


                                                       Is T'~ere ASCA Serious Injury   ~~ Nc ~~ Yes

    NA1dE' LAST                               FIRST                    MI     TIT~c                          SEX     ETHNICITY     RDO'S
LUGC                                                                          CORRECTIONAL UEIJTcIhA~1T      M
    PAR'ICIPANT                          BAGGC A~               ID i                       POST ASSIGN C           POSITION
    I NCIDENT COMMANDER
                                                                                                                   FAC B PROGRA'v1 LIEUTENANT
    J, N:A           t~ESCR'PTION OF iN,,URIES, LOCATION AHD CLAUSE.




    ~/ NIA     NF.?~tE/ LOCATION OP NOSP/ FACfLfY      I./ NlA               ~' TnEAi~ A~Q RELcMSED USED FORCE                   aROCESSED EVIDENCE
                                                      [-~ REFUSED TRE,4TMENT C HOSPITALIZED          ❑ Yes ~ No                   ~ Yes 0 No
    Reasor For Deatn                                  [~ DECEASED SATE                              TYPE OF FORCE:

                                                       Is There ASCA Serious Injury    Q No Q Yes

N~1E: LAST                                    FIRST                    Mi     TTTLE                          SEX     ETHNICITY     RDO'S
MARSHALL                                                                      CORRECTIONAL SERGEANT          M
    FgRTI;;'PANT                         BADGE ft               ID R                       POST ASSIGN If          POSITION
    CAr~1ERA                                                                                                       FAC A PROGRAM SERGEANT
     ' NIA         DESCRIP'ION CF 1NJURiES, LOCATION ANQ C11USE'




'~ vrA         NFME!ICCAiION CF HOSP/ FACIfJTY         F~] N~~             ~ TREATED Aft RELEASEC USED FORCE                     PR~CESSEO EYIDEhCE
                                                       J REFUScC TREATMENT ❑ MOSPfTAL1ZED           ❑ Yes[/' No                   r
                                                                                                                                  Li/,
                                                                                                                                     ' Yes   C Nc
    Reason For Qeath                                  (~ DEGEASE~ DATE                             TYPE OF FORCE

                                                       Is There ASCA Serious Injury    Q No ~ Yes




                                                                                                                                 AGO 020
           Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 46 of 126 Page ID
                                             #:1407
SATE OF CALIFORhIl~                                                                                      D[PaRTdACNT GF CC~RECTIONS A1v0 R ~NABILITATIQN
CRIME /INCIDENT REPORT                                                                                                                           Dv-1 5 s

PART B2 -STAFF
CDCR 837-82(REV. t01D6)                                                                                                  Page r cf 11
    ~15T;TUTION                FACiL.'TY                                                             INC'DENT LOG tiUW1BER
    LF,C                       BPG -GENERAL PaPULATION                                               LAC-BPG-15-d8-0473
                                                                          TAFF (ENTIRE SHEET)
F~4ME LAST                                 =1RST                     CAI  7TLE                              SEX E?ND:ICI'Y        RCO'S
 1LLALOBOS                                                                 CORRECTIONAL SERGEANT             h1
 P,4R`1GPANT                         BADGE ~f                   .G ~                      P05-ASSIGN 7           PaSITICN
 RES?ONDER                                                                                                       FAC B PROGRAM SERGEANT
     NIA         CESCRIf~T~ON ~F NJUR;ES. LUCAP.~N PNL` CAUSc:
•P~i~ on left svnst.
•Reddened area on ieK e~ow.
•A,CraswNScratch ar:d Redtlened area on right elbow.
•Pam on bwer back ;?c;iny ~o„a~~cn 1 LEFT LYRIST - lNM,4T'E - 2 LEFT EL3CW - INMAT= - 3 RIGHT ELB04V - INNWTE - 4. BACK - INMATc -)



,
f NtA         NAWIE/ LOI:ATI~N OF HCSP~ FACIU~I         (_ ; ~'A                 ~/~ TREPiE~ PND ~EL~Sc~ USED ~pRCE                        PROCESSED EVIDENCE
      F21AGE TREATMENT AREA ;?TA)                       ~ REGuSED TRcA7iviENT ,I _j iCS~iTr~¢ED            y' Yes     ] No                  ❑Yes [r; No
    Reason For Death                                         DECEASED D:.TE                               TYPE O'r FORCE:
                                                                                                          PHYSICAL FORCE
i                                                       Is There ASCA Serious Injury ~i No Q Yes

IN:.NIE: !AST                                FIRS'                         MI    TITLE                                 SEX     ETHNICITY     R00`S
~ ARCHAMBO                                                                       CORRECTIONAL OFFiC'cR                  M
i PAnT'~IPANT                          BADGE x                     ID A                     POST ASSIGN q                    ?OSITION
  21~                                                                                                                        FAC 8 OBSERVATION OFFICER
`;~ N;A           D[SCFIPTIOh Or 1'vJURfES, LOCATION AND CAJSE_




        N;~1   NAh'El LCCAiQN OF HOSP! FACILITY         (d; N!A            j_~ TF2G;TEDA"~D RFLEdSED USED FARCE                            ~'HOCESSED EViL'ENCE
                                                        J REFUSED TREATMEkT[]HOS?ffAL1ZE0              U Yes ~/ Na                           ~ Yes ~ No
     Reason For Death                                       DECE4SED LATE                             TYPE OF FORCE:

                                                         Is There ASCA Serious Injury      Q No Q Yes

    N Ah1E LAST                              FIRST                         Mt    TITLE                                 SEX     ETHNICITY      RDO'S
    CASTRO                                                                       CORREGTIONAL OFFICER                   M
     ?AR'ICI?ANT                           BAGGE ~                      10 !f               POST ASSIGN 8                    POSITION
     RESPQNDER                                                                                                               &2 FLOOR OFFICER #2
         NiA          GESCRIPTI^vN OF INJURIES, LOC.1T ON AND CAUSE
    ~Pa~ on right shoulder.
    •Spit cn his left meek area (InKay Location' 1. FACE - INMATE - Botliy Fluff Sawa 2. RIGHT SHOULDER - IN~AATE -)




       NiA   NAAAE/ LOCATION OF MpSP! FALL TY               w~                  ~ TR=A":J Atd~' REDS=G USEG FORCE                          PROCEjScD EVIDENCE
     TTF, PROACTN~ MEDICAL CLIM1IC                      ]REFUSED TREATMENT `~ HOSPTaL¢ED                 ~ Yes ~ No                          ~ Yes 'r/ Ne
     Reason For Death                                   ~ DECEASED DP.TE                                TYPE OF FORCE:
                                                                                                        PHYSICAL FORCE
                                                        Is There AS.
                                                                   ,A Serious Injury ~ No C Yes
                                                                   ^




                                                                                                                                           AGO 021
    Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 47 of 126 Page ID
                                      #:1408

STATE OF Cf~IIFORNL4                                                                              O~P:,R'MENT Of CCHf2CCTICNS ANA RcHA[31LIT:,TIGN
C RIME !INCIDENT REPORT                                                                                                                   O'J-t S ~

PART B2 -STAFF
CDCR 837-62(REV. 10!06)                                                                                          Page 8 of 11
 rd;TITUTION                  FACI_:TY                                                         NCIDENT LOG NUMBER
LyC                            BPG -GENERAL POPULATION                                         LAC-BPG-15-08-0473
                                                                   STAFF (ENTIRE SH
kAl~'E;     LAST                            FIFS'                       M~     TITLE                         SE%     cTMu:Gi'f      RCO'S
                                          S1L11TH                              CORRECTIONAL OFFICcR           M
 PAFTICiPANT                          BADGE C                   IC SI                       POST ASSIGN t1         POSITION
 RES?ODDER                                                                                                         ISU OFFICER ~6
 ~/ NIA            ~ESCRIF-ION CF INJiJ!ilE5, ~OCi~TION nN~ CAJSc.




'~/' h'-A
~ -;          NA'~~lE~!,^
                        ,CATiGN Or" HOSP.' FACILiT`!~ '~~A                  ~ ~~^~~ ~'~" F~l=~;='~ USED FORCc                     ?RCCESSED EVICENCE
                                                    L REFUSED TRE4TMEYf ~]HOSPITALIZED               / Ye5 ❑ No
                                                                                                     ~                             ~] Ye5   ~~ NC
 Reason For Ceafi                                   [   CECEASED DAT=                              TYPE OF FORCc:
                                                                                                    PHYSICAL FORCE
                                                    Is There ASCA Serious Injury
                                                                              !   No Lj Yes

 RME        WST                            FIRS'                        6A'~   T{'rLE                        SEX     ETNNlCI?`(     RDO'S
CORDERO                                                                        CORRECTIONAL OFFICER          M
 PARTICIPANT               BADGE 3                ID ~                                      PUST ASSIGN x          POSITION
RESPONDER                                                                                                          FAC B SEC PAT OFFICER #3
./1 NSA DESCRiPTIGN ~J~ INJURIES, LOCAT;ON AND CAUSE:




~ Nl:~             i
              NrME ~DCATCN OF HGSP!~
                                   rA~,II:T+           ~ Nif1                J TFtG:fE.ri P.':'J REL.J~Sc'~ USEC FORS=            ?ROCESSED EVIDENCE
                                                       ~~i REFUSED TREATMeNT ~ HOSPITALZE❑                   ~,' Y0S E/ No         ~ YEs    ~J ND
 Reascn For Cea4h                                      . ~ DECFi'~SED DA7E                                  TYPE OF rORCE

                                                       Is There ASCA Senaus Injury      C No Q Yes

N AME: LIST                                FIRST                        MI     TITLE                         SEX     ETHNICITY      RDO'S
  ODINA                                     p                                  CORRECTIONAL OFFICER          M
 PARTICI~'ART                         ~ApGE It                  ID ft                       POST ASSIGN #          POSITION
 WITNESS                                                                                                           FAC B SEC PAT OFFICER #1
L~/J NSA           D~SGRIP iiGN OF IN~UFtIES. '_OCATION AYD CAUSE:




~' NSA       idAMF~'_OCAT ON OF HCSPI FACIU'Y          ;~I ~+~A             ;J 1a,~i+TE17A,`,G RELc"ASFG USEG FORCc               ?ROCESSEL cVtDENCE
                                                           REFUSEQ 7REATMEN'
                                                                         [     HOSFITAl~IZED               L] Yes it/ Ho           ~ Yes    F„_]
                                                                                                                                             / No
 Reason Fcr Death                                      ; ]OECEASEO DATE                                   TYPE OF FORCE:

                                                       Is There ASCA Serious Injury     ~ No ~` Yes




                                                                                                                                  AGO 022
        Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 48 of 126 Page ID
                                          #:1409
ST:.T[ QF CALiFCP,yl4                                                                                       GEPARTMEN7 GF CCRR=fTICNS AND RFHA~ILITA'ION
CRIME !INCIDENT REPORT                                                                                                                           D\~-t 5 e

PART B2 -STAFF
CDCR 837-B2(REV. 10106                                                                                                   Page 9 or 11
    INS-ITUTION               FACILITY"                                                                 INCICEN' lOG NUM9ER
jLgC                          BPG -GENERAL POPULATION                                                   LAC-BPG-15-08-0473
                                                                      STAFF (ENTIRE SHEET]
N AME LAST                                  FIRST                          MI     TI'l.F                              SEX     ETHNIC:'Y      ADO'S
PABON                                                                      L      COP,R[CTIONAL OFFICER                F
    ?AFTICIPA"J`                      6ACGE d                      ID i~                            POST ASSIuN ~           POSITION
    RESPONDEP.                                                                                                              B-5 FLOCR OFFICER #2
     NrA        GESGRIP1lCN CF iNJUflIES, LOCH L UN ANU GA~Sc:
Swcilen and Recideced area on right eye.
•Spit ~ mouth.
•Pair on IeF elb[7w area. (Injury Lcrzl~on: 1, FACE - IN'.'~ATE • Bca~y F°.u~tl Saliva 2 LEFT ELBOW -INMATE -)




        ~L'A   NAA1E LOCATION CF y05P! =P.CIL~7Y         _] ~~A                 ~' '~=PTEG n';D R'~,;;EC LS=D FORCE                        P°OCESS=D =VIOE~:CE
    TTA, PROACTNE ~viEDICAL CLINIC                      ~ REFUSrO TREAT~AE,^!T~~ HOSrITAL12~D              'j[J Yes _ No                     ~ Yes ~/' No
i Reason For Death                                      ~.  DECEASED DATE                                TYPE   Of FORCE.
                                                                                                          PHYSICAL FORCE
~                                                       Is There ASCA 5eria:s Injury L No `~ Yes

t~?h+~. LAST                                FIRST                          ~J!1   -1TL_                               SEX     ETNfvICITY     RDO'S
FABON                                                                             CORRECTIONAL OFFICER                 M
 ?AP,TICIPA:V`                       l3AUGE ~f                     IC C                      POST ASSIGN r~                 POSITION
    RESPONDER                                                                                                               B-4 FLOOR OFrICER ~2
    ~/' NiA       GESCRIPT;(`,N Of I~vJUkIES, LCCA'.ION i~ND CAUSE:




    ~/! N.'A   N%.h'E' _OCAT GN Cf HOSP~ FACILITY       V' NSA                      "RE:,"=~ 11~?EL ASe"-~ U.SE~ FORi:~                    ~kOCE55ED EVIGEMCE
                                                       L ZEFUSE~J TREATMENT u HOSPITALIZE.''.                ~ Y25 ❑ No                     %] Yes    ~/ NO
    Reason For pea;h                                   (_ DECEASED DATE                                     TYPE OF FORCE:
                                                                                                            PHYSICAL FORCE
                                                        Is There ASCA Serious Injury ~~ No ~ Yes

    Rl+ME: LASE                             FIRST                          MI     Tl'LE                               SEX     ETHNICITY       RDO'S
    P,AR4SEY                                                                      CGP,RECTIONAL OFrICER                H7
    PAR~ICI?ANT                       BAD:;c #                     ID X                      POST ASSIGN t!                 POSITION
    RESPONDER
                                                                                                                            FAC B YARD OFFICER ~1
    ~/ WA         DESCRIP~IGta CF IN~~RIES, LGCATION ANG CAUS_:




`: ~/ N'A      Nr~.'~iE~ OCATICN OF HOSPI FACILITY      ~/ ^~'A                 ~ TRE4iED,1P~D REL~EO USED FGRCE                           PRCCcSScD EVIGENCE
                                                            REFUSED TREATh~ENT j_; HOSFf'ALIZED         ;~ Yes ~ No                          C Yes    ~/' Nc
    Reascn For Dea!h                                    n DECF~ISED GATE                              nPE of FORCE:
                                                                                                       PHYSICf1l FORCE
                                                        Is There ASCA Serious Injury U No ~~ Yes




                                                                                                                                           AG(~ ~~3
       Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 49 of 126 Page ID
                                         #:1410
STATE OF C~tLIFOHNI,a                                                                             D~FA3-'vtENT OF CCkHtCT ONS AND R~F'A31L~T:~TICN
                                                                                                                                          D V•1.7 4
CRIME /INCIDENT REPORT
PART B2 - STAF F
CDCR 637-B2(REV. 10106                                                                                            Page 10 cf 11
!NSTITUTIQN                   FAULITY                                                          IhCICENT lOG NUMBER

ILAC                          BPG -GENERAL POPUTATiON                                          LAC-BPG-15-08-0473
                                                                         AFr (ENTIRE

 NA ?E: LAoT                                  FIRST                      MI     TILE                         SEX,     ETH"IIGiY     RJO'S
~TIL~h1AN                                                                       CORRcCTIONAL OFFICER          h7
 PARTICIPANT                          BACGE »                    ID +J                      POST ASSIGN X           POSITION
 RESPONDER                                                                                                          FAC B SEC PAT OF=ICER ;~2
 d N!A   GFSCkI?TICN QF Iti„UflIES, _GGA ~ itiN r.NU CAJSE




                                                                           `I ~RE;.TcD ~r.DREL~F~_ii USED FORCE                   PRUCESSEO EVAENCE
I ~ NSA       N~h1E L~GATiON Or HOSp~ FACtu'Y           ~ wA
                                                        J REFUSEC 7R~TMEN' ~ ~~~SPr`A.iZEC             ~ Yes ~ Nc                  ;_] Yes   ~ No
                                                        j .] eECEASED DATE                            TYPE GF FORCE:
 Reason For Death
                                                        is There ABCA Serious Injury    ~!~ No ~ Yes

;NAME       ~AgT                              FIRST                      !~A1   T,TL:                        SEX      cTHNICIT'     RDC'S
~IBARRrA                                                                        REGISTERED NURSE              M
 PAR'ICIPA.NT                         E3ADGE~                    iD M                       POSTASSIGN ~            POSITION
 OBSERVER, MED                        N!A                                                                           TTA hU~SE
!i ~' WA           DESCRIPTION OF IN,iUk1ES, LCCi+~iON AND CAUSE:




'
.% u~A        N~:D~IE LCCAT'~DN OF HOSPI FACiLi~`!      ~/ ~~~               J ~~~T[~,~~~ E~[;.:~E❑ USED FARCE                    PROCESSED E`JIDENCE
                                                           REFUSED TREATMENT C HOS?ITALIZED           ~~ Yes [J~ No                 C Yes [, No
                                                        -] DECEAScD DATE                             TYPE OF FORCE:
 Reason Foy Death
                                                        Is There ASCA Serious Injury (~ No (~j Yes

NAMG        LOST                              FIRST                       MI    TffLE                        j[X      ETHNICI`Y      RIO'S
SISSON                                                                          REGISTERED NURSE              M
 P.gRTICiPANT                         B/~.UGE M                  :C tt                       POST A;SIGN ~          POSITION
 QBSERV~R, MED                          N/A                                                                         TfA NURSE
 h,~/ N/A          DESCRIPTIGh OF INJURES. LOC:+TION ANG CAUSc:




 ~
 /~ NiA       M1AfJ1Ef L~Ci~~ GN ~~ HOSPi FA.CIL;ice/    ~ N'A                 ~ iREA1E7,=NC ~+EL;ASc~ USED FORCE                 PROCESSED E`11~ENCE
                                                        (—i; REFUSED TREATMEYT ~_j HCS?!TALIZED          ❑Yes d' No                 ~ Yes    ~ No
                                                             C[CFhSED DATE                              TYPE OF FORCE:
 Reason ror Death                                       L
                                                        Is There ASCA Serious Injury    C No Q Yes




                                                                                                                                  AGn ~~4
          Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 50 of 126 Page ID
                                            #:1411

SATE OF CALIFCRN!i+                                                                             DEPQFTT.1EyT OF CCf1RECTICNS ANL~ RcF':~E31L~T4TICN
                                                                                                                                           G'J-~ 5.4
CRIME /INCIDENT REPORT
PART 62 -STAFF
CDCR 837-B2(REV. 1010fi)                                                                                        Page 11 of 11
    I NS'iT'vTlOh               FACILITY                                                     INGC~4T LJG Nu^ABEH

~Lt1C                           BPG - GEh"ERAL POPULATION                                    LAC-BPG-15-08-0473
                                                                       AFF (ENTIRE
;l`.FME       LAST                           FRST                      ti'i   TTLE                         ;;EX     =THNICITr     r2DOS
    ADED'JRO                                                                  LICENSED VO:,ATIONAL NUR      r
~ PARTICIPANT                          [3ADGE ~                 ID R                     POST ASSIGN tl           ?OSfT10N
    OBSERVER, h1ED                     N!A                                                                        FACILITY B NL'RS~
i     J NIH          DESCRIPTION CF INJURES, LJCi+:Ii.;N AND i:AJSE




      'JrA      NFh1,=~ LO'~AiIGN CF HOSPi rACIUTf     L/ V'A              L~ T°~P-=C 4;1C iELh1~:ic~ U5~7 FGfiCE               ~F'•GGESSED EYICEN~;E
                                                          REFUSE TREATMENT J HOSPIiAL¢ED                ~ Yes ~ No               'J Yes    '~/; No
                                                       ~ CECEASEC CP.TE                                TYPE OF FORCc:
     Reason Far Cea h

                                                       is There ASCA Serous Injurr   ;~ Nc   V Yes




                                                                                                                                AGn 025
       Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 51 of 126 Page ID
                                         #:1412

   STRT_ ~p (;lIJh:7RvC~
                                                                                                       CEPARTk;ENT CF CORRECTIONS ~kD REHABIL~TATtpN
  CRIME /INCIDENT REPORT
  PART C —STAFF REPORT                                                                                           iNCID=NT LQ~ NUh16ER
  CDCR 837-C (REV. 10/00)
                                                                              p3gE       1         cf ~_         LAC-BPG-15-OS-0473
  N~.fu9E::AS~                                           F!RS1                                              MI     INGCENT DATE       INCIDENT TIME
  VfLLALOBOS                                             F~                                                , 0/11/2015                17~~6 HRS
  FOST #                   POSIT CN                         YEARS O~ SER`JICE           LATE OF REPOR"'              LOCATION GF INCIDEN'
  _                        B FAC. SERGEANT              ~ ~             ~     ~ 08;11/2015                            B PROGRAtit OFFICE
  RDO~S        DUTY HGURS              CESCRIPTION 0~ CRIf~1E i INCIDENT                                               CCR SECTION'RULE❑ N!A
.~ AGGRAVATED BATTERY ON A PEACE OFFICER                                                                               3005 (d)(1)
  YOUR ROLE                 WITNESSES(PREFACE S-STAFF, V•YISITOR, O-OTHERS            INMATES(PREFACE S-SUSPECT, Y-VICTIM, W-WITNESSES)
  ❑ PRIMARY                (S) J. ARCHAMBO             _T Sj H. TILLMAN               (5) BAKER K-62174
  ~ RESPONDER               (S) B. PABON                  S A. ADEDURO (LVN}           _
  ❑ WI7N=_SS                (Sj R_ PABON
  ❑ VICTIM                   S? A. CASTRO
  ❑ CAMERA                  (S) J. RAMSEY
  ❑ SCRBE                   (Sl M. GODINA__----I
    FORCE USED                       FORCE USED BY YOU -TYPE OF WEAPON f SHOTS FIRED 1 FORCE
      BY YOU                ❑ IV,'A ~              yyE,gppN:   WARNING    EFFECT: LAUNCHER:                             EFFECT#:      CHEMICAL! TYPE:
  ❑ WEAPON                  FORCE:                 ❑ A,11NI-14                    ❑ 37 MM                                             ❑ N/A
  ~ PHYSICAL                ❑EXPANDABLE BATON ❑ .38 CAL                           ❑ L8                                                ❑ ~
  ❑ CHEMICAL                ❑RESTRAIN~             ❑ 9 MM                         ❑ 40 MM                                             ❑ CN
  ❑ NONE           TECHNICUES         ❑SHOTGUN                                                        ❑ 40 MM b1ULTl                  ❑ CS
  FORCE OBSERVED ~ HANDS                                                                              ❑ HFWRS                         ❑OTHER
      BY YOU     ❑FEET
  ❑ WEAPON
  ~ PHYSICAL            EVIDENCE DESCRIPTION                                                 EVIDENCE DISPOSITION                    BIO          PPE
  ❑ CHEMICAL                ~ wA                                                                                                   HAZARD
  ❑ NONE                                                                     ~ NlA
                                                                                                                                   ❑ Yes         ❑Yes
      EVIDENCE
  COLLECTED BY YOU                                                                                                                 ~ NO          ~ NO
     ❑ Yes               DESCRIPTION OF INJURY                                  LOCATION TREATED               FLUID EXPOSURE     SCIF SJO1 IJo67
     0 No         Q NIA                                                         (HOSPITAL / CUNIC)         ~ BOQILY          ~ WA COMPLETED
  REPORTING STAFF SCRE LOWER BACK. ABRASIONS AND                              ❑ N!A
      INJURED     PAIN ON BOTH ELE30WS                                        MEDICALLY EVAIAUTED                                                ~ YES
                                                                                                           ❑UNKNOWN
                                                                              AND CLEARED AT                                          ~          ❑ NO
      ~ Y~                                                                    TRIAGE TREATMENT
      ~ P10                                                                                                ~ OTHER
                                                                              AREA.                                           '—
  NARRATIVE:
               On Tuesday, August 11, 2015 at approximately 1746 hours while assigned to Facility "B' as the
                                                                                                                    Program
 Sergeant, I was completing paperwork inside the Sergeant's office. I heard over tt~e Institutional radio a request
                                                                                                                       for a
 "Cade 1"response by the medical clinic from the Yard Observation Officer J, Archambo. I exited the program
                                                                                                                    office area
 and observed all the inmates on the North yard as well as the South yard, down on sifting positions. I turned my
                                                                                                                       attention.
 to~Nards the roadway by the "B' medical clinic and observed inmate Baker K~1724, F661-129L standing
                                                                                                               in front of the
 canteen roadway screaming "Fuck you all bitches, no one is taking me nowhere'. I began walking towards
                                                                                                                inmate Baker
 and Officers B. Paoon, R. Pabon, A. Castro and J. Ramsey approached Baker as well. Officer R. Pabon
                                                                                                              and B. Pabon
 attempted to place inmate Baker in handcuffs and he began resisting by pulling his arms away from
                                                                                                         the Officer's grasp to
 avoid being placed in handcuffs. Baker then stated "You can't place me in handcuffs; I have a waist
                                                                                                         chain Chronol" 1
 approached Officers R. Pabon and B. Pabon and gave them instructions to escort inmate Baker
                                                                                                     to one of the program
 holding cells without restraints. I asked inmate Baker what was the problem and he stated "You a!I bitches
                                                                                                                are only trying
 to fuck with me, that bitch ass white boy in observation is trying to fuck with me". I advised Baker that
                                                                                                           we were going to
        CHECK IF NARRATIVE IS CONTINUED ON PART C1
   SIGNATURE                                                                   --       -                                      —.
                                                       TITLE                                         BADGE #           IL~k               DAT[
   F. VIL      LOBOS.                                  CORRECTIO~~IAL SERGEANT                                                            0811 12015
   NAME ANO                  C-` -WER      RINT / SIGNATURC) ~ DATE RECFN:D            APPROVED                CLARIFICATION NEEDED       DATE
   A. LUGO, LT.                                                  ; 08!112015            AYES        ❑ NO       ❑YES     ENO               Q8/1 1/2015
   DunbuNon:    On~u~al Inndacy Pack          Cnpy: Fe~w~lvp Ert~byea   Copy Rev~ewny Supervisor



                                                                                                                                   AGO_026
    Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 52 of 126 Page ID
                                      #:1413
 SAS OF CALIFORNIA                                                              1F;'Af2TMFN r ;:F rnR~~~T10N5 P.ND REHi~BtLIfATIOti
 CRIME !INCIDENT REPORT
 PARTc1-SUPPLEMENT                                                                                                        N~I~EhT LOG NUA43ER
 CDCR 837-c1 (REV. 10106)                                                                                                 ~C-BPG-IS-OS-C473
                                                                            _~ FAGE         /        Or    3
 NAr~iE'     LAST                                                         FIRS'                                                           ~ ~~~I
  VILLAL060S
 TYPE OF INFORMATION:
                                                                         _1_~ ____ _- -- -----                                    --------`-~-      --
 D CONTINUATION OF ftGPORT                                ❑ CLARIFICATION GF REPORT                               ❑ ADDITIQNAL INFORh1AT10N
 NARRATIVE:

escort him to one of the holding cefs so tha; rve cculc continue with the evening meal Bakes began walking as Officer B
Pabon held Baker's ri5ht 5icep area as R. Pabon geld Baker by his ;e`t b~cep area. As we came by the intake medical
clinic, inmate Baker stepped walking and stated "Fuck you ali idiots I will do whatever I want" Officer R. Pabon told Baker
to calm down and that we were just going to escer hir-~ to she ncldine eel; area. Baker started to walk again and upon
ar-val to the program door, Officer R. Pabon relinquished custody o` Baker to Officer Castro as he was opening the
holding cel~ room door We walked inside the Office haliwaq and I instructed Baker to face the Counselors door as R.
Pabon opened the door. Inmate Baker +hen attempted to breaK the Officers grasp 5y turning his body o the left in a
Budder; move and pulling hfs arms away from the OYcers. I immediately gave orders to Baker to stop resisting and Baker
did not comply as he continued to tum his body from side tc side as well as is arms. To gain compliance of a lawful order
and to overcome Bakers ressta~ce, I stepped forward and began pushing Baker against the wall by placing both of my
hands on Baker up,~er back. Officer B. Pabor held on to Baker's le" arm as Officer Castro held the right arm. Officer J.
Ramsey stepped tc my right and using his hard he pushed on Bakers upper body in an attempt to immobilize him. Inmate
Baker suddenly turned his `ace to the left and spat right on Officer B. Pabon's face. To gain compliance of a lawful order
and to overcome Bakes resistance I ordered Baker tc stop spiting with negative results. Baker began coughing up saliva
ar~d I placed my right hand on Baker's head. My hand was placed around Bakers left earfjaw area to force him to face
avray from all the Officers. I kept giving Baker orders to stop spiting and to stop resisting with negative results. Baker
continued thrashing hs body and was spitting at the glass where his face was held by me. Inmate Baker then began
swinging his right leg back attempting ;o kick me or Officer Ramsey. To overcome resistance and to be able to effect
custody of inmate Baker, I instructed Officers Ramsey, B. Pabon and A. Castro to 'Take the inmate down", I grabbed
Bakers shirt around his lef: shoulder with my left hand. With my right hand I grabbed Baker's shirt around his right
shoulder and using my strength and body weight, I turned Eaker to the right as I pushed him on adownward-forward
 motion forcing hlm to ~h~ floor. Inmate Baker landed on his stomach, Of`icer Castro landed en Baker'S right s de as he
teas holding on to Baker's right arm. Officer B. Pabon was on Baker's right side as she was holding Baker's right arm.
landed on Baker's right side next to Officer B. Pabon. I took control of Baker's left arm holding it with both of my hands
and instructed Officer B. Pabon to step away from the incident. Officer J. Ramsey sat on Baker's legs to stop him from
kicking. I requested for a set of waist chains and some leg restraints to be able to secure Baker. I ordered Baker to place
his hands behind his back to which he refused. To be able to effect custody I pushed on Baker's left arm to place it on the
middle of his back as Officer Castro moved Bakers right a~n to the center of his back. I grabbed the handcuffs which
were already placed on Baker's right hand and secured the !eft hard as well. Once in handcuffs I grabbed Baker's left arm
by the bicep area as OfScer Castro held Baker's {e`t arm and we both assisted him to his feet as he stood under his own
power. We placed Baker facing the window o` the counselor's office and I instructed O~cer Ramsey to open one of the
holding cells to place Baker inside. Ramsey opened the holding cell and Officer Castro relinquished custody of Baker to
C Smi.h who had arrived to the scene of the incident. I relinquished custody of Baker to Ramsey. I then instructed
Officers B. Pabor, and A. Castro to report to the triage treatment area to be medically evaluated and /or treated for their
 injuries. Officer Smith and Ramsey escorted Baker inside the Folding cell followed by me. As soon as Baker was placed in
the holding cell, he began to resist again oy thrashing his body from side to side ir. an attempt to break from our grasp.
Officer Smith and Ramsey pushed Baker against fhe back of the holding cell to be able to immobilize him. Inmate Baker
 began coughing up saliva as if he was getting ready to sgit again. I grabbed a spi; mask out of my pocket and placed it
over Baker's face. As soon as the mask was placed inmate Baker began screaming stating °I can't breathe, I can't
 breathe". I requested .or an Offiicer to bring a wheel chair via institutional radio. A few seconds later, Officer Tillman
arrived with a wheel chair. Officer Tillman, and Smith assisted inmate Baker onto the w7eel chair and escorted him to the
"B° Facility medical clinic for a medical evaluation. Once in the medical clinic, inmate Baker was medically evaluated by
Licensed Vocational Nurse C. Adeduro who cleared him far Administrative Segregation placement. During the medical
evaluation, Baker was placed in waist chains and he was subsequently placed in the intake clinic holding cell pending
Administrative Segregation placement. While in the holding tank in the intake clinic, inmate Baker began kicking the

 P~ CNECK (F NARRATIVE IS CONTINUED ON ADDITIONAL C1
 SIGNAT RE OF REPO                      T F              TITLE                              ~B             EX             ID+ot            DATE
 F. VI~LkI~QBOS                                          CQRREGTIGNAL SERvEANT                       ~                                      OSi112015
  NA~J~E AND TITL=         Z'~~VI       E'r~ (PRI!vT / SIG'~WTUR~)T DATE RECFI`dFD       A?pROYED                CLARIFICATION NEEC[D      GATE
  A. woo,~T. ~                                                       os~,~no~5           p~Es ❑ ~o              , ❑Yts Orvo                 oai~~r2o~5
 DnklGkon.    OrigireY. Inddcnl Pa~ca           CWY Rerw+tr0 `- mobyee    Copy: R~v.ewa~q Swerr~sa



                                                                                                                                      AGO 027
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                                         #:1414
  STJ~Tc 7F SAL If GRN :,                                                        L'-PAR-YF~:T pF ~CRRFCTIC'~VS PND Rt!L181LRATIpN
  CRIME /INCIDENT REPORT
  PART c1 -SUPPLEMENT                                                                                                   I   'N~I~E~V'i0G Nl~h'BER
  CDGR 837-c1 (REV. 10/06)                                                       F:;GE                OF     ~          I LAC-BPG-15-08-073
                                                                                                             y          1
  N:,iv1~:      v~ST                                                       F~, RST                                                            MI
  VILLALOBOS
  TYPE OF INFOR~dATION:

  ~'    CONTINUA?ION OF RE?ORT                           ❑ CLAR.I~ICATIOh ~~F REF^R`                               ❑ ADDITIONAL INFORPAATON

  N ARRATIVE:

holding cell doer as he yelled profanities and racial slurs to any pe~son around him. A; approximately 1815 nour5
received a call from Officer Godina via institutional radic requesting for me to corm tc the intake clinic. Upon arrival
                                                                                                                           to the
intake clinic I obse~led inmate Baker hitting his Head against the protection grill which is located on the intake
                                                                                                                     holding cell
windows As socn as baker saw me he stopped hitting his head and began yelling at me staring "Hey you
                                                                                                                bean burrito
eating mother fucker you are going to ;ose ~/our joo for this" "You fucking dirty pig you are in your way aut and
                                                                                                                      you don't
even know it". "Fuck you fucking soic wet back mo ver fucker".'Y~u will be kicking cans on the street by the time I'm
                                                                                                                             done
with you fucking wet back, dirty cop mother fucker" Inmate Baker then stated "You kna~v I have the right to kill you
                                                                                                                          right?"
"It is my Islamic right to kill you". Baker',hen gesture with his rght hand as if he was slicing ;he throat as he stated
                                                                                                                         'You
ar= done". Inmate Baker again started to hit his head against the •N ndow cover. I ordered to stop and he complied.
walked ou' of the Intake cLnic and returned to fhe Sergeants o~`ice. At approximately 1830 hours, I received a call
                                                                                                                         from
Officer H. Tllman via Institutional Radio requesting for me ,~ go to the intake clinic. Upon arrival, Officer Tillman informed
 me that inmate Baker had removed the waist cha~r.s from his waist leaving them in front. Baker then began striking
                                                                                                                           the
protection grit' in an at`empt to brea~'he windows ~e the holding cell v✓i h the chain and lock. I walked the door
                                                                                                            to          and
ordered Baker to go to one the bench and to sit down to which he comalied. I opened the holding cell door and
                                                                                                                      ordered
Baker to walk Cackwards toward me to which he complied. Officer Til,man and I removed the waist chains and
                                                                                                                      put them
back around the waist cf inmate Baker. I then adv~sed inmate BaKer that if he was to remove the waist chains again,
would place him in hard cuffs. Inmate Baker sat down and did not respond. Inmate Baker made allegations of misconduct
by staff and was interviewed by Lieutenant B Legier and Sergeant K. Marshall. Curing the interview, inmate Baker
expressed suicidal ideatior~s to L!eutenant B Leger and he contacted me to inform me of the situation. After medical
                                                                                                                             staff
~xas informed, they requested that inmate Baker be 2scortc~ to the TTA for a mental health evaluation. Inmate Baker
                                                                                                                              was
escorted to the TTA ter a mental health evaluation and he w:as placed in "Suicide Watch" in Rd-Seg FA84-123. At
apprcximate!y 2045 hours Officers 8. Pabor, R. Pabon and A. Castro returned from an outside hospital. Both Officers
were instructed to be off work fog approximately 7 days as a result of the injuries sustained during the incident. This
concludes my involvement in this incident.




  ❑             CK IF      RA.TIVE IS CONT NUED ON ADDITIONAL C1
  SIGN TURE OF RE              ~      T FF          J Tl'LE               --                   —~J BADGE #                  IDft             DATE
       VIL~ALOBOS                                       CORRECTIONAL SERGEANT                         !~                                     08!11!2015
  Nf ~v1E AND TITLE Cif i2~Vl~y(`JER (PRINT / SiG`.ATUf2(_)          DATF RECFIVEI:      ~ A!~PHOViD             I CLARIFICATION NEEDED    I QA`E
   A. LUGO. LT. ~T                                                   08J'112015           ~1rEs       ❑ NO        ❑YEs       ONa             08/1112015
  OcUiD.tion~     Original Ina=ant Packr~/\   Copy' Hupu^.rq ErYsloYue     Copy. Rcwiea~+'W SuG~eor



                                                                                                                                      AGO 028
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                                           #:1415



        STATE pF CALlFOftNtA
      GRtiVtE f INCIb~uT REP(~R
                                7                                                                                 DEPRR'tMENT OP CORft~
                                                                                                                                         CTiONSAND REtiA91LITAT
     P ART C-STAFF REFOF2T                                                                                                                                         lO~
     COCR 83y-G (REV..14I06)
                                                                                      PAGE                     INCIDENT LAG NUMBCR
     N~{yl~:                                                                                 t    Qf i
                \`.
                  0                                                                                            LAC- (~~J~, .. (~ -(~~. p
                                                                             FIR5T                                                       y;-~~
                                                                                                                   INCI Ef Tt~TE
                                                                                                                                       iNC`~NT TIME
          5              POSITION                    YEARS QF 5ER
                                                                                                  DA E F REPdRT
                                          -~L                                                                         LOCA710N OF INCIpENT
                                                                          ~                      '
                                                                                                 ` ~l~
                  ❑UTY HOURS            OESCR~iP~~TIOlV                                                                   `~ os-~-l~ a~(~
                                                                     RIM
                                                                       ' E~! INCfDENT
                                          ~:Y'~t.       ~fl Q,_!.=9a~'_tL ~~1 l                                         CCR 5EC710N!RULE
       YQI1R RQLH                                                                      1                                                               ❑ N/A
                            WITNESSES PREFACE 5•S7AFF,                                                                     3 ~~
                                                                 V~V191TOR, 0.OM~R) ~
                                                                                                ~       INMATES PREFACE 9SUSPE
        PRIMARY ^T_ ---__                       _..._._ _.—_ _.__ ____                                                                C7,V•VICTRd, WWlTNESS~
        RESPONDER ..w __.~,                                                 _.._.. _              ~t'L~~~CQ,~ [,4/~0~~1~~ 7~ -ZZ:
    ❑ WITNH55                  ~~   _—,..-__..                                                                                           (
                                                           ~ ._____ .          .....
   O VICTIM          __...___.___..__                 -                                                 ~.            _
                                                 ~~.~ _ ._--- -..~. ...Y.._.
   ❑ CAMERA                                                                              ..,        _.___,___~._ _,_~.               ~~
   ❑ SCRfBE          -__.._ _____.._....        ... _ _ ..._ .._. _..._                                                         _.     __      __._..~__...~
                                                                            _. ._. . .,_           ___..._~—         -~                 _~___ _..-___~
   EOaCE USED
   eY YOU                                               FORCE 115ED 8Y YOU -TY
                                                                                          PE dF WEAPON 1 SHOT$
  Q WEAPON ~ ~ wA                                                                                                    F1FtEb!FOk7CE
  ❑ PHYSICAL                                           WE,~IPQN WARNING
                                                                                  EFFECT. IAUNCk1ER
  ❑ CHEMICAL                                                                                                                        CH~MfCAt !TYPE ::
       NdNE         FO C                              D MINI t4
                    D ~(PANOABL                                                                  Q 37MM
  pORCE OB9ERV~o                          E BAT OK ~
  gV YOU            Q F~ESTRAINT                          9 MM L
                                                                                                ❑ 40M
                                                                                                ❑    L8 M
                        7ECHN1QUE5                    ❑ gHO7GUN                                                                     Q ~N
[ 7 WFJ~PON         ❑ HANKS                                                                   ~ ❑ 40 MULTI.
  ❑ PHY"~ICAI                                                                                                                     [ ]~g
                    CI ~~ET                                                                     ❑ HFWRS
 D CFiEtv11CAL                                                                                                                      ❑ Q7HER,
      NONE
      EVIDENCE
    CDLLECTEd 9Y              ~VI~E(YCE DESCRIPTION
                                                                                         EVIDENCE D1SPO51TlON
                                                                                                                                    ~1O               PFE
                    ~ NiA                                                f7~ N/A                                                  HAZARD
 ~ Nd
                                                                                                                                 ❑ YES                        __
                                                                                                                                             Q Y~5
     REPORTING                                                                                                                  ~    NO      ~ NO
   Sl'AFF tNJUREO           DE5CRIPT30N pF 1NJUfiY                            i.QCA710N TREATED
                                                                          ~iHQBPITAIICLINSG~                            FLUiI] EXPOSUFlE          SCIF J101 1087
                   ~   NIA                                                                                                                         .COMPLETED
~ NOS                                                              ~I NtA                                        y ❑ BQOILY          I~ NIA
t3A~RF2AT1YEt                                                                                                       Q UNKNQWK                   ~
                                                                                                                    O OTHER                          NO
                  G                                                                —
                                                                                     l~I~



                 M< i                        h              ~u                            ~ `'Z
                                                                                o
                   ~                                                                                                       ~t.3.
                                                                 ~
                                                                                    Ui~      ~
              *_ ~~'                                                       ~.
                                                                 {il~i
                                                                                                         p
                                                                                                                                                                   ~J


   CttECi((F~A~RA7IVE(8 C
                                         E0 ON PART G1

                                                                     TITLE
                                                                                             6AQGG a            ion
                                                                     C/0                                                                       pA E
AP.1[
                                         T ~ '~f ` ft RE)            pAr~ RECCfVED ~
                                                                                             APYRpVED                                          ~j ~ti ~ -~--
                                                                                                             CIA~~~EEOEQ
                                                  -- .^ Q~ L                                                                                  qAT
islributian: Ocigi~et lncidani              _                        t~        ❑ YE3 ❑ NO
                               Package     opy~ Reporting Employ a   ~_                                      ❑ YE5 ❑ NQ
                                                                   opy~ Raviewing Supervis                                                   I~     t~ ~~
                                                                                           or

                                                                                                                                      AGO
Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 55 of 126 Page ID
                                  #:1416



  ST/17E OF CAIIfORNIA
  CRIME !INCIDENT REPORT                                                                                   DEPARTM[NT O~ CORREC'f10N5 AND REHA91LI1'ATION

  PART C -- S~'AFF REPORT                                                                                               INCIDENT LQG NUMF3GR
  COCR 837-0 (REV.10lOB}
                                                                              Page       1         of     2             lAC-PBG-15-08-0473
 NAME: LAST                                               FIRST                                                    MI     INCIDENT DATE        INCIDENT TI1iIF
 PABON                                                    B~
                                                                                                                          X0/11/2015      1748
 PDST #                    fQSITIQN                       YC-ARS OF SERVICE             DATE OF REPORT                      lOCA710N OF INCIDENT
                                                                       -.              CB111I2015                           FAC "B" RROG OFFICE
 RUQ^s         D,1JTY HOURS           DESCRIPT10P1 OF CRItNE l INCIDENT
                                                                                                                CCR S[CTfON I Rl1L~
                                   AGGRAVATED BATTERY Ott A PEACE OFFICER
                                                                                                                3C0G (d}(1)            ❑ N1A
    YOUR ROLE                N1~TNE53ES(PKEFACE S•STAFF, V•VISITOR, 0.OTIIER) INMATE
                                                                                           S PREFACE S SUSPECT, V-VICTIM, W-WITNCSSES)
 ❑ PRIMARY                  (5) CIO R. PA80N                                         (S)BAKER K62174
 ~ RESPONDER                 5 C!0 A. GASTAQ
     WIl'NESS                S)SGT F. VILLALOQOS
 ❑ VICTIM
 ❑ CAMERA
 ❑ SCRIBE
 FORCE USED                               FORCE USED BY YOU —TYPE OF WEAPON 13HQT
                                                                                  S FIREQ!FORCE
 BY YOU
                                               M1
                                              ~(EAPq  ~(;                     A NNd       EFFECT: LAUNCHER:
                  ❑ N!A                                                                                                           ~FFEGTI~;    CHEMICAL(TYPE:
 ❑ WEAPOH         FARCE                       ❑MINI-14
 B PHYSICAL                                                                                              ~ Q 37 MM                             ❑ N/A
                  ❑EXPANDABLE BATON I].30 CAL
 ❑ CHEMICAL                                                                                                ❑ L9                                ❑ OC
                    RESTRAINT                 O 9 MM
      NONE                                                                                                 ❑ AO MM                             ❑ CN
                    TECHNIQUES                ❑SHOTGUN
 FORCE OBSERVES I~ HANDS                                                                                   Q 4d MULTI                          ❑ CS
                                                                                                           ❑ HF~JVRS
 B`( YOU          ❑ FEET                                                                                                                       C~ 47HER
 ❑, W~'AFOhf                                                                                                                  -        -- -
 ~ PHYSICAL                EVIDENCE DESCRIPTION
                                                                                  EVIDENCE D(SPOSITIaN
 ❑ CHEMICAL       ~ N!a                                                                                                                      BIQ           PPE
                                                                              ~~h~_
 ❑ NaNE                                                                                                                                    HAZARD
       E4IDENCe   Groen COCR Jumpsuit                                           ~n~[} HrvQ S.vcuttc,~ iw~yu f~~d~
                                                                                                                                           ❑Yes          [~ Yes
    COLL~CTL'l?8Y                                                              C3U[t7C~Ve6t" 4bCIG.~''Q._:'~.~-j, ~~`
                                                                                                                                           ~ No
                                                                                                                                                         $I IVa
      ~ Yes               l7ESCRiPTION OF INJURY
                                                                                LQCATION TREATED                         FLUID EXP6SURE
      ❑ No        ❑ WA                                                          (H03PITAL /CLINIC)                                                  $CAF J3011Jp67
 REPORTING STAFF left eihow pain, Right eyebrow stvoilen.                                                       ~ ~QOILY                   ❑NIA      COMPLETED
                                                                              ❑NIA                                                                         ,
       INJURED
                                                                              Proactive Medical Center          ❑ UNKNOWN                              ~ YES
      ~ Yes
      ❑ N~
                                                                                                                D OThI[R                                 ❑ ~a
                                                                                                                                    ___,
 NARRATIV[:
OnTuesday August 17, 2Q15 ~f approximately 1746 hours                                                              --
                                                              , I heard via the institutional radio requesting
7 response on the roadway on the north yard and the yard alarm                                                  a code
Facility B (FB) Gym Inmate Baker K62174 stood yelling and             was sounded. Upon arrival to the front of
                                                                 pointing towards B Yard Gunner "Fuck you,'you
racist ass mother fucker'(ordered Baker to turn around and
effect custody I immediately took hold of Bakers right           summit to handcuff, which he failed to comply.
                                                        wrist placing my handcuff an it anti pu(li~g it towar       To
back, Baker yelled "You dumb bitch, Pm mobility impaired                                                        ds h(s
hfs arm towards his back. At this time Sergeant F. Villal I need waist chains" f immediaEely stopped pulling
                                                           obos arrived t~ the incident area, instructed
staff and me to escarf Baker to FB Program O~cQ to
                                                        be placed in a holding cell. I m~infained contr responding
right wrist which had it~y handcuff and right bicep and. Offic                                            ol of Bakers
Baker wi(lingiy walked under his own will, stopping multip er R. Pabon maintained control of his left bicep,
                                                            le times to incifa to other inmates "Everybody
these mother fuckers, take notes and Harries, I'm taking it fo                                                 hook at
                                                                 court and you al( are my witnesses". Baker
fumed to me and yelled "Fuck you bitch Iet go of my wrist                                                       then
                                                             ar(gof something. for ynu wharf.we go Inside
 I~L CHECfC 1~ NARRATIVE f& CONTINUED ON PART C1
 51aNRTUR~*~u~~`'+.      NG STAFF         TITLE
                                                                                                         eADOE #             Ih#                  DATE
 B, PABON                 ._„_,,.
                               "'                    CaRRECTIONAL OFFICER.                              ~                                         8li1l2015
 NAME ANd TITLE QF ~~71~4VER-(PAIN / S               A U E)      DATA RECENED          APPROVED                     CI.gRIFICATION NEEUEQ
 SERGEANT F. VIL                                                                                                                                  DATE
                              L0605 ~                           8/t 1/201fi            AYES             ❑ NO        ❑YES      ~(NO                8/1 t/2015
 DlsUihWlart   ONgtnel: Inddent Package       Cap[   tlnq Employee     Capy Roviavring &uReNisor


                                                                                                                                              AGO 030
            Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 56 of 126 Page ID
                                              #:1417
       STA-~ OF ~AUFOFNii~
                                                                                      DEPA~T34EN~ OF CO~RFCTIOnS AND R~+ABII.ITArON
       CRIME 1 INCIDENT REPORT
       PART C1 -SUPPLEMENT                                                                                          --         INCIUCN7 ~oc~ ,v~a~ee
       CDCR 837-C1 (REV. 10106)
                                                                                      PAGE        2    OF           2          ~ LAC-BPG-I5-OS-0473
       Ni.MF:      iAS'                                                                                                                      --
                                                                                 FIRST
                                                                                                                                                      ti^.1
      PABON
      TYPE OF INFORMATION:                                                                            _ -__--._ _                                 1
             CONiINUATION OF REPORT                              ❑ CLARFICATIOh Of REPORT
                                                                                                                         ❑ ADDITIONAL INFOR~dATION
       NARRATIVE:

     program you cunt". Prior to entering the Program Office, R. Pabon
                                                                             released Bakers left bicep, so Baker and
     could entered the program door Officer A. Castro still had control of
                                                                              Baker right arm along with the handcuffs
     still on baker right wrist. Upon entering the dcorway I ordered Baker
                                                                              to face to the right while R. Pabon opened
     the holding cell room. Baker continued yelling "You fucking racist
                                                                           C.O's", due to Bakers violent demeanor
     took hold of his left shoulder ordering Baker to calm down, at this
                                                                           time Baker turned to his left side saying "shut
     up, bitch" spitting sal;va at me, striking me in my open mouth, I yelled
                                                                               "He spit on me". Holding my composure
     ordered Baker ;o "stop spitting" and "calm down". Sgt Villalobos
                                                                         then pushed Bakers head towards the glass
     ordering him to °quit spitting" Baker then began kicking his
                                                                   right foot back while twisting his body from left to
     right. I immediately pushed my body weight against him in
                                                                  attempt to overcome resistance, effect custody and
     gain compliance. Due to Bakers continued violence against
                                                                    staff, Sgt Villalobos instructed responding staff and
     me to take Baker down the floor to keep him from harming
                                                                   himself and others. I took hold of Bakers left side
     state issued blue shirt pulling him toward the left causing him
                                                                      and me to fall to the floor. Once on the floor
     Baker swung his left elbow back hitting me underneath my
                                                                   right eyebrow. I then utilized my institutional radio
    coiling for leg irons and waist chains. Sgt Villalobos instructed
                                                                        me to go to the Triage and Treatment Area
    (Tl"A) for a medical evaluation_ On completion of my medica
                                                                    l evaluation Security Squad Officer C. Smith took
     photos of my injuries. I was transported to Proactive Medica
                                                                   l Center for further evaluation. Upon returning to
    the institution Sgt Villalobos instructed me to submit my
                                                               Green Jumpsuit to evidence, which was submitted to
    and BSub-Evidence locker number 25 at 2105 hours.                                                                    A




❑    ChECK 1F NARRATIVE IS CONTINUED ON ADDITIONAL C1
SIGNATURE OF REPORTIN               TAFF               ~ TITLE                                    ~ BADGE i~             !DS             I DATE
E. PABON                                          `CORRECTIONAL OFFICER
                                                                                                                                          08/11,~1D'S
NAh1EANDTIT!.E0            EVIEWER,
                                  (P.~INT!$1 N T ' .) ~ DATERECEIVED                     P.PPROVEO             CLARIFICATION NEEDED       GATE
SERGEANT F. V             ALOBOS ~                                 a81~ ii2o~5           DYES     ❑ rto        ❑ YES      ONQ             O8f11;'2015
Uivir:bac    On6:nal~ Inc~den' Padc3pe - -   Copy Ra     ~np 6   eve     rmy nev~ew~q SWerviso-



                                                                                                                                        AGO 031
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                                    #:1418



  $TA7E OF CALIFORNUt
                                                                                                             DCPAR7MENT 0~ CdRRECTIONS AND REFIA~IUTAT[OPJ
  CRIME /INCIDENT REPORT
  PART C —STAFF REPORT                                                                                                    INi;IU~NT LO-G NUtv18ER
  CDCR 63T-C {REV. Bolus)
                                                                                Page -      1        of     Z             LAC-BPG-15-08-0473
  NA~1k: LAST                                              FIRST                                                     MI     IIVCID iJl~ DATE       I~dCIDENT iiiviE
 CASI-RO                                                   A
                                                           ~                                                                08/11/2015             174(1
 POST#                      POSfTION                          YEARS OF SERVICE             GATE OF REPORT                     I.00A710N QF INCIDENT
                             B2-Fl_OQR 2                         ~~      ~      ~• 08/11/2015                                  "8" PROG. OFFICE
 RDQ's          DUTY HOURS             DESCRIPTION aF CRihi[ /INCIDENT
                                                                                                                               CCR SECTION !RULE❑ NIA
                                       AGC3RAVATEDBATTERYONAPEACEOF~ICER
                                                                                                                                3p05 (d)(1)
 YAUR ROLE                    WI7N[:55ES ~PRErACE 3-STAFF, V•Vi51TOR, O.OTI IER}         INMATES(PRESAGE S~SUSPEC7,V-VIC11141, WWITNESSES)
 ❑ PRIMARY                   •(5} R.PABQN                       ~                        (5)f3AKECt FBB2-'t29L
 ~ RESPONDER                   S B.PABON                        ~~                                                                 ~~
 p WITNESS_                    SJ J.RANISEY
 ❑ VfGTIM                      S) F.VILLALOBOS
 p caM~wa                     ~s~ c.SMITH
 Q SCRIBE
   FORE`[ USED                              FORCE USED [3Y YQU —TYPE QF WEAPON(SHOTS FIRED
                                                                                          (FORCE.
     BY YOU                      NIA                          WEAPON:   WARNING FFECT; LAUNCHER:
 ~
 ]1~1/EgPON                   FgRCE:                                                                                              EFFECT#:         CHEMICAL/ TYPE:
                                                              ❑MINI-1A                  p 37 MM
~ PHYSICAL                                                                                                                                         ~ NSA
               C]CXPANDABL~ BATON                             ❑ .38 CAL ^  ~            Q LS
❑ CHEMICAL                                                                                                                                         ❑ OC
               ❑RESTRAINT                                     D 9 MNi   ~~              ❑ 40 fv1M                                                  ❑ CN
Q NONE           LECHNIQUES                                   ❑ 5HO7GUN ~i~             ~ qQ MM MULTI                                             ❑ CS
FORCE OBSERVED ~ HANDS
                                                                                       ,Q HFL~fFtS                                                (] OTHER
    8Y YOU     ❑ FEET
❑ 4VEAPOhi
~ PHYSICAL            EV{DEiVCE DESCF21Pl1aN                                                 EVIgENCE DfSPQSITION                                 Bl0
[] CHEMICAL    ~ NIA                                                                                                                                            pPE
                                                                                ~ N/a                                                           HA2AR0
❑ NONE
      EVIDENCE                Uniform shin contaminated w(th inmptQ             Lowed and secured in the A!6 sub~evfdonce                       ❑ yes          ❑Yes
  COLLECTED ~Y YOU            Bakers saliva.                                    roam lockor# 24.                                                ~ No           0 No
     ~j Yes              DESCRIPTION OF INJURY          LOCATION TREATED                                             FLUlO EXP6SURE
     ❑ Na         Q ~/A                   ~            (HOSPITAL./ CUMIC)                                                                               SCIF 1~Oi 19067
                                                                                                                 ~ BODILY          ❑                     CnhaNteTeD
  REPORTING STAFF RIGHT SHOULDEf2 REGION AND Ei(POSER ❑NIA                                                                                        wA
      INJURED     TD BODY FLUI❑                       PRO-AC7iVE(TREATEn                                         ❑ UNKNOWN                                 ~ DES
     ~ Yes                                            AND RELEASED)
                                                                                                                                                           ❑ NO
     ~ ~o
                                                                                                                 C]OTHER              .,_._..
  NARRATNE:                         II~~
              On August.8; 2015 at approximately 174G hours while perfor
fhe North side dining hall when i heard over the intuitional radio "Code ming my duties as B2 Fioor 2, I was assigned to
                                                                          1, resistive inmate in front of Brava Med(cal.
 responded from the north dining hall ar.d observes! Officer R. Pabon and
                                                                            Officer B. Pabon escorting inrnafe Baker
(K61724 FBB2-129L} towards the Facility 6 program once. Inrnafe
                                                                       Baker sfated that he ccuid not be restrained behind
the back and needed waist r~sfraints. Sgt. Villalobos then instructed
                                                                        us
into the program offce, I assisted in holding inmate Baker as he was to escort faker to the program office. Once we got
                                                                        placed facing fhe counselor door while Officer R.
Pabon opened the holding cell room door. Once against the wall, Baker
kicking his right leg backwards (n attempt to strike staff causing an      began moving his upper body from left. t4 right
action. To gain compliance of a lawful order, to overcorne resistance immine  nt threat fo our safety and requiring Immediate
                                                                        and to effect cusEody, Sergeant Vlllafabos instruc
 myself, officer Ramsey and officer B. Paban to take Baker down to the                                                     ted
                                                                          hoar. 1 grabbed the back of Bakers shirt with bot
 my hands and pulled h1m to fhe left on a downward moflon forcing him to                                                     of
 his right arm with both of my hands, Once on the. ground,. Baker began the floor. I landed on baker's right side as I held
                                                                          kicking both his legs. Baker turned his face (n my
  CI CHECK IF NAR~VE.i(51C0~1TINU~D ON PART C1
  SIGNATURE QF ~TI         AF~F  ~     TITLE
                                                                                                           BADGE #              ID#                    DAl'E
   A. CASTRO                                ~           -CORRECTIONAL OFFICER                              ~                   ~                       08!11/2015
  NAMC- AND 71       E OF R       ENIEF3„( R~     / SI NATURE)       DATE RECCIV~~       ~tPPHOVEd                    CLARIFICATION NEEDED
  F. VILLAl.060~ $G7.                                                                                                                                  oaTr
                                     ~                               OSJ11/20'15          BYES            ❑ NO        ❑YE5       ~✓ N~                 U8/1 1l2015
  Oisbitw:xn:   Odginalt Incldept Pad;u~n       CapK ~~P~~Ong Emplcyaa    Copy: Rene~Hap Supervlsw



                                                                                                                                                 AGO 032
         Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 58 of 126 Page ID
                                           #:1419
 STp-E OF CAU~CR.".'IA                                                          [~~RTM~ ~J~ OF .^ ORRFC`IONS ABU 4EHABIUTATION
 CRIME!INCIDENT REPORT
                                                                                   --~--
 PART c1 -SUPPLEMENT                                                                                                      INCIL`ENT LCG NU~~18ER
 COCR 837-c1 (REV. 10106)                                                    ?A•UE         2       pF       ~             LAC-BPG-IS-OS-0473
 Nhh:E:              L4~i                                               FIRST                                                                MI
  CASTRO
 ----                                       -- _
 TYPE OF INFORMATION:

 D CONTINUATION CF P,EPORT                              ❑ CLAFIFICATION OF REPORT                                 ❑ ADCITIONAL IRFORMATION
 NARRATIVE:

direc~ on (right), and spat in my face. Officer P,. Paton graboed a heiC cf Bakers head ar.d tuned it away from me in an
attempt to prevent him f~cm spitting on my f2ce again. I still nad control of Baker's lef~ arm and to overcome resistance
and ;o effect custody, I utilized both of my Hands pusning Baker's left arm up towards his back as Sergeant Villalobos did
the same vvi,h Ba'Ker's right arm. Sergeant V~Iialobos and I placed inmate Baker in restraints. I assisted Baker to His fee+
by placing my right hard or his right Cicep Irmate Baker was ord~r2d to stand facing the Counselors office. Responding
staff` aTived and placed 6akar in the holding cell. I was ,her instructed by Sergeant Villaiobos to report to the Triage
Treatment Area for a medical evaluation ardor treatmer.: fcr my i^juries and the exposure to saliva. I was medical~y
evaluated by Registered Nurse J. Sisson. Dur'ng the evaluation it was determ;r.ed that I needed further evaluation and
was ~ranspo~ed to Pro .Act,ve Work Hea th Services. This concludes my involvement in this incident.




  ❑ CN,E~K IF NAR6~AIVf                            DON p.DDITiONAI C1
                                                                                 .__~.--            -
  SIGNATURE OF                 P(~'Zi TIC              Tll LE                                           EAdG[ T       I ~Dik              I DATE
   A. CA5TR0                `~     ~                   'QRRECITONAL Oar ICER
                                                       '                                                              I~                  1 08l11/2Q15
                                                            -~--   _—
  NA.MF AND Ti                      E4'I     `1 'I        RE) ~ 7aTERECE~v~D           P~'PRCVcC                  CLr1RIF~GATIONNEEDE
                                                                                                                                   DATE
   F. V!LLALCC~~OS, SGT.                     ~~~b                I 08t' x/2015         ~v=_S       ❑ uo            ❑YEs    ENO
                                                                          _— -                       _—           - --             _    _ i 08J11;2015   _
  Cisl r6~~lit rr.    Org•r+al I nc~nl       Copy'. Reaonrp ~-,okyeo    G;ny 11^.~,w~p S~pnn~iw.




                                                                                                                                       AGO 033
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                                          #:1420
   STri~ pF CALIFORNIA                                                                            CEPAFTF~IENT OF CCRREC'IONS AND Ri:HA31Li"dT'.;N
   CRIME /INCIDENT REPORT
   PART C -STAFF REPORT                                                                       J             ~NCIQEkT LOG `IUhaaER

   COCR 837-C (REV. 10106)                                                             ~ ~~ /               LAC-BPG-15-08-047
    NPddE lI~ST                                                      FIRST                                 MI    INCIDENTCATE       INCiDENTTIR'.E
              LEGIER                                                 E~                                             8;11'2015                17 46
    POST tl                  PCSiTICN                        YEARS OF SERb'IC"c               DA?e OF REPORT        LOCATION OF ;NCICEN-
               V!li,7CH COMhU;NCEP.            .   . ~                                   8;11l2C15    FACILITY "B" PRGGFAiv1
RDO's  ~U~ HOURS     DESCRIPTIC'J OF CRIh1F !INC~CENT                                                     o ., h
.                    Force or Violence -Aggravated Battery or. a Peace Of`icer with Use of Force -    30G5-d1 Force or Violence
                     Gassin ;SGitting)
  YOUR ROLE         WRNESSES ;PREFACE 5-STAFF,V•VISROR,0-QThER                    INMATES(PREFACE S-SUSPECT, Y•VICTIM, W4YITNESSES
   RESPONDER             (Sj SGT. K. h1ARSHALL                                            (Sj IIM BAKER, K62'74




   FORCE OBSERVED FARCE UScD BY YOU -TYPE OF WEAPON / SHOTS FIRED /FORCE                  CHEMICAL AGENTS USED
       BY YOU     ~ N,A                  WEAPON      WARNING EFFECT: LAUNCHER'       EFFECT#: CHEMICAU NPE:
   NONE                                  C PJllhl 14                  L 37MM               _ C OC
                   FORCE:                                                ~g                  ~ CN - _._. __
                                            .38 CAL
                  [-] E7CPANDiiBLE BATON C
                                            9101~~1                      40MM                I--I ~$ --       -
                 [ ]  PHYSICAL FORCE                 .-- --_..~ ~_ __ ~;                              _     _
                   U x10                  _ ShOTGUN _                 `_ 40 MM MULTI      _ ~ OTHER
                                                                         HFWRS



       ~VIDENCc                      EVIDENCE DESCRIPTION                              EVIDENCE DISPOSITION                   BIO            PPF
     COLLECTED BY        -                                                                                                  HAZARO
       ❑ Yes                 ~ WA                                             J' NIA
                                                                                                                            ❑Yes            ❑Yes
       ~ N~                                                                                                                 ,~No            ~No
   R~PORT{NG STAF=                   DESCRIPTION OF INJURY                        LOCATION TREATED           FLUID EXPOSURE SCIF 330113eo7
                             ---__.._—_-_—~---.--,._____.___.__..._._.__.--
       INJURED                                                                     HOSPITALtCLINIC         ----_      ---- COMPLETED
       C Yes                 ~ WA                                             ~ WA                           ~ WA                           ❑ Yes
                                                                                                           DESC:
              Na                                                                                                                            ~ Na

    R~ARR.4TIVE:
     Or Tuesday, August 11, 2015 at approximately 2025 hours I arrived to Facility "B" Medical Intake area to conduct a
     vireotaped interview Nrith Inmater Baker, K62174, FB62-129L. The video camera operator was Sergeant K. Marshall
     and at the completion of the video, Sergeant Marshall placed the camera and video into A/B evidence room, locker
     #23.




      i CHECK IF NAR          TIVE IS CONTINUED ON PP,RT C1

    SIGNATURE                RTI    STAFF     TITLe                                                   BADGE 4        IDrk           DATE
                                               Cor,ect onal L e utenart                                                                     8," 112 ~ 5
    NA~'v~E ANL' T = O R I R ;?R;N'~ SIGNATU~tE)            CATS RECEIV~U                rPPRGV'tD        CIARir"ICAT;ON NEE^uED    DATF.
    A. LUGO                                                          811 1 12015       `~ Yes '_] No     [l Yes ~ No                        8f1112~15
    CORRECTIONAL LIEUTENAN

                                                                                                                              AGO 034
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                                              #:1421


 s-~'~ of ~n~i~oRr~~.~                                                                                    DEPi.P,T1d~kT OF CCRREC?~OkS r1NC ~4EHA31_i-?.T~OtJ
 CRIME 1 INCIDENT REPORT
 PART C-STAFF REPORT                                                                                             ir~cicENr ~o~ Nuti~aFR
 CDCR 837-C (REV. 10!06)                                                   PAGE l OF 1                           L4GBPG-15-08-0473

 NAP:SE L4ST                                                   ~ FiRST                            j hAI              INCIGENT DATE                INCIDENT TI.'vi~
 ~ti1ARSHA~L                                                   ~                               .
                                                                                               I                     OSr11l2015                  i 1'46 HRS
 PCST #                 POSITION                       ~ YEARS OF SERVICE                j DATE OF REPOR'              LOCATION OF WCIDENT
 _                 i FAC A PROG SERGEANT                                                   08J11/ZC15                  FAC B PROGRAM OFFICE
 RDO'S     ' DUTY HOURS                DESCRIPTION OF CR,ME !INCIDENT                                                ~ CCR SECTION!P.ULE               ❑ N;A
.__                                  TtiGGRAVATcD BATTERY ON A PEACE OFFICER                                         j 3005(d)(1)
     YOUR ROLE                WITNESSES~PREFACE S•STAFF, V-VISROR, 0.OHER)                   INMATES(PREFACE S-SUSPECT, V-VICTIh7, W-WITNESS)
                                                     -   -       --                        ---
 ❑PR~h".ARv              (S)B. LEG!ER                   i
                                                      __I_--        _      _ _ _ ----- (S? BAKER, K-621 74----                        __    __    _          _ _.
 ❑RESPONDER
  WITNESS                                                                         — -- - ----- ----- -. .                       _ _                   --
 ❑VICTiM                    ------ --------------Y--                                                                                                                  __!
 ~CAMERA                                       ~                                  _.__._      _              _      .._.__---
 ❑SCRIBE                                                                                                                              --------------
                                                                                                                                                                        i

 FORCE USED                                             FORCE USED BY YOU -TYPE OF WEAPON /SHOTS FIRED /FORCE
 BY YW
    _ _ _.         __
   WE4PON                ~ NfA                       ~ WEAPONWARNING            EFFECT     '. LAUNCHER                            ( CHEMICAL JTYPE
   PHYSICAL                                          '                                                                                                                  y
 ❑ CHEb")CAL                                         I ❑ MINl14                            j ❑3iWilvl                             ~
                          FORCE:
 0 NONE                                                ~ KCAL                              I ~~g
                          ~ ~pANDABLEBATON                                                                                            a oc
                                                                                                                                      °                                 ~
 FORCE OBSERVED           ❑RESTRAINT                   ~9 Mti~                                ❑40Mk1
 BY YOU_                     TECHNIQUES                ❑SHOTGUN                               ❑40 MULTI                           ~ ~CgN
                          ❑ ANDS                                                           '; CM'rWRS                             i ❑OTHER
 ❑    WEAPON
 ❑    PHYSICAL            ❑FEET
 ❑    CHERAICAL                                                                                                                   ~                                     i
 ~    NONE                                                                                                                                                              {
                                                      `~_.           _
      EVIDENCE                     EVIDENCE DESCRIPTION       j       EVIDENCE DISPOSITION                                          BIO                    PPE
     COLLECTEDBV         _      __              _       ____ _ ____                                                               HAZARD
 ~ YES                    ❑ DIGITAL VICEO CAh1ERA SERIAL CPLACED IN A/B SUB-EVIDENCE LOCKER
                                                              I ~i23                                                              AYES           ❑YES                   ,
 ~ N~                    * LL17908 A 1
                                                                                                                                  ENO            ~NQ
    REPORTING                                                                    LOCATION TREATED                                                     SCIf 33Q1 /1057
   STAFF INJURED                   DESCRIPTION OF INJURY                                                                FLUID EXPOSURE
                                                                                   OSPITgL !CLINIC                                                     CO~lIPLETED
                                            _    ___-----------                  ~---------L—                       -___-----               --
                                                                                                                     ❑ BODILY              NIA        AYES
 ❑ YES                    ~M1lA      ~---                               { NIA                                        ❑UNKNONIN                        ENO
 ~ NO                                                                                                                ❑OTHER                                                 ~
 NARRATIVE:
 On Tuesday August 11, 2015 at approximately 2025 hours, while assigned as the Facility A Program Sergeant I was insVucted
 by Corrections! Lieutenant B. Legier to operate the video camera for ;he purpose of conducting a video recorded interview of
 Inmate Baker, K-fi2174, FBB2-129L. Upor completion of the video camera interview, the camera was secured within the A/B
 Sub-Evidence Room Locker #23_ This concludes my involvement in this matter.




 ❑CHECK IF NARRATIVE IS CONTINUED ON PART G-1
 51GNATURE OF REPOF2TING STAFF                              TITLE                            BADGE ~                  ID#                             DATE
            ---~             ~'-'                           CORREC?{ONALSERGEANT                                     ~                                OB/1'IIZO'I r
                                                                                                                                                                  J
  NA LIE AND    ,L-~ O REVIEWERtH!~~Nr.SiGua7uRE~           SATE RECEIVED                                             I CLARIFICATION                 DATE                      ~
                                                                                            )APPROVED                 ~
                                                            08/11/2015                                                                                 8~~~~2d~5
            (
  CORRECTIONAEUTEN                                                                                YES❑ NO             i [~ YES LINO                   0
                                   A.lUGO
 D1s;ribulion Ofiglnal: IncM~dt Package         Copy Reporting Empicyee     Copy' Reviewing Supervisor




                                                                                                                                             AGO 035
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                                          #:1422

StAf~= U= Ch1JF CR.`.Ir                                                                                              CE?A.RTA'E~T O~ CQRREC7i0NS AND REI-WB'L~~%-~':CN
CRIME /INCIDENT REPORT
PART C —STAFF REPORT                                                                                                               INCIDENT ~o~ uun,'SER
CDCR 837-C (REV. 10106)                                                                 P3~~'              Of        2             WC-BPG1,~)-~$-~73
NAh1~. lA3T                                                     FIRST                                                       ~~ll     !N~IDENT DA'E         INCIDENT TIM[

GODINA                                                         ti~                                                          ~         Q8/11l2C15           "7 46
POST #                       POSITION                              "t_ ARS Cf S.nYICr              GATE OF REPORT                        LOCATION OF INCICENT

_                            SEC. PAT #1                       ~     ~          f       ~          C8~~11;2015                           Facility "B" Program Office
RDO's       DUTY HOURS                 DESCRIPTION Or CRIfv1E!!NCIDEN-                                                                   CCR SECTION i RULE❑ N:A
.                                        t~+GGRAVATED BATTERY ON A PEACE OFFICER                                                          3005 (d)(1)
YOUR ROLE                     ~TNESSES(PREFACE S-STAFF, Y-NISI' OR,0-OTHERS                      INMATES(PREFACE 5-SUSPECT, V-VICTIM, W-WITNESSES)
                                                                                                                                                                          —__
❑ PRIM7ARY                     'F Villalobos
                               S        _ _ _. ':                               _ _ __          ~S` Baker K-62174
0 RESPONDER                  ~ C, Sfil►th
❑ YJI'NESS                    ~S H. Tillman                                                                              -----                          --------
❑ VICTIM
                                                                                             - _ _ ___ _ _                         - -     i
    CF,MERA
~! SCRIBE
   FORCE USED                             FORCE USED By YOU -TYPE OF WEAPON 1 SHOTS FIRED 1 FORCE
     BY YOU                   ~ hLA                                WEAPON:           WARNING          EFFECT:        LAUNCHER:                 EFFECT:     CHEMICALI TYPE:
❑ tiNEAPQN                    ~F                                   ❑MINI-'.4                                         ❑ 37 N1P.1                            ~ N/A
v PHYSICAL                     ❑EXPANDABLE BP,TCN                  ❑ 38 CAL                                          ❑ L8                                  ❑ OC
J CHEMICAL                     ❑RESTRAINT                          ❑ 9 Mt~i                                          ❑ 40 MM                               ❑ CN
     NONE                          TECHNIQUES                      ❑SHOTGUN                                          ❑ 40 MM h9ULTl                        ❑ CS
FORCE OBSERVED ❑ HANDS                                                                                               ❑ HFWRS                               ❑OTHER
        BY YQU                 ❑FEET
     V'lEAPON
❑ PHYSICAL                                EVIDENCE DESCRIPTION                                         EVIDENCE DISPOSITION                               BIO             PPE
❑ CHEMICAL                     ~ NIA                                                                                                                    HAZARD
                                                                                         ~ NtA                                                          —                 -_. ___
~ NONE
                                                                                                                                                         ❑ Yes           ❑Yes
    EVIDENCE
 COLLECTED 8Y YQU                                                                                                                                        ~ No            ~ No

       ❑ Yes                              DESCRIPTION OF INJURY                             LOCATION TREATED                          FLUID EXPOSURE              SCE 3301 l3os~
       ~ No                    f~~ PUA                                                      (HOSP!TAU CLINIC)               ~ BODILY                     ~ WA      COMPLETED
REPORTING STAFF                                                                          ~ ti~A                                                                      ~ YES
    INJURED                                                                                                                  ❑ UNKNOI'VN
     -  -~`                                                                                                                                                          ~ NO
      Yes
                                                                                                                             ❑OTHER
   ~{ No

 N ARRATIVE:
                  On Tuesday. August 11, 2015, at approximately 1745 hours, while performing my duties inside of Facility
°6`' Medical Intake, the yard alarm was activated. As I responded to the yard alarm, I observed responding staff escorting
 inmate Baker K-62174, FBBZ-129L, to Facility "B" Program Office. With the yard still down I provided coverage on the
f~ ard. I observed Officer C. Smith and Officer H. Tillman escort Baker to Facility 'B" Medical. At approximately 1757 hours
    observed Officer Smith and Officer Tillman escort Baker to Facility `B" Medical Intake. At approximately 1615 hours, 1
 requested for Sergeant Villalobos to come to the ,make clinic via Institutional radio. Upon arrival of Sergeant Vlllalobos
advised him that inmate Baker was kicking the holding cell door. I also informed Sergeant Villalobos that inmate Baker
 tivas striking the window cover (grill) with his head as he yelled profanities. Sergeant Villalobos advised me that if Baker
 attempted to hurt himself I would have to stop him even if it required use of force. Sergeant Villalobos returned back to his
 office and remained in front of medical intake providing coverage for evening med line. At approximately 1830 hours,
 Sergeant F. Villalobos return to talk to Baker. When Sergeant Villalobos was talking to Baker he stated, 'I have the right:o
  kiL' you It's my Islamic right to kill you° Eiaker then began to gesture using his right hand to slice his throat from left to right
  ❑ CHEC IF PU~t2 AT1VE IS CONTINUED CN PART C1
  SIG               _ Or E JRTINa STAFF                         1ffLE                                                BACGE #                   IG4~       DATE
   ~                   ~           ~ ~ ~`                     I; Correctional Officer                            ~                                               08/11/2015
                -     -                 -- -
       t.tE ANG TITHE- OF REVI           ~    ~PRI        'G .1 URf j      DATE RrCFNf7             A('PROVFD                      CWRiFICATION NEEDED          I DA'E
   Gorrectioanl Ser eant F. Vill I                                             C~111l2015            QYE; ❑ rvo                    Ov~s         Qrvo        1 08111!2015
  D.stnb~lio2       Oripuwt InC,dsM °xi~aBn          CaL*J.   WvW~q cmoloyee        Capy. Rev~c~nng Sut~rv~s~r                                         ----- —




                                                                                                                                                         AGO 036
      Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 62 of 126 Page ID
                                        #:1423
 STATE C~ CAUFORn7A                                                            Gf_=r;RTAAENT dF COFRECiICNS AND REHABILfTAT10N
 CRIME I INCIDENT REPORT
 PARTc1-SUPPLEMENT                                                                                                             I tiCipENT LOG NUr,1BER
 CDCR 857-c1 (REV. 10106)                                                     ?~~Gc           2         OF       ~              LAGBFG-15-C8-04'3
                                                                                                                                                                   ___
 Nn41E:        LAST                                                      F'RS'                                                                     ti•:~
  G~DINA                                                                 ~
                                                                          V~                                                                       ~
                                                                                                                                                           _   _. _ _ __
 TYPE OF INFORWIATION:

 D CONTINUATION GF REPCRT                              ❑ CLtz,R:FIC?;-ION OF P,EFORT                                    ❑ ADDITIONAL INFORMAT'ON

 NARRATIVE:

and stated, "You are all done, I get you all" Baker then be5an ~ slam nis head on the metal door window ever and over.
Officer Tillman called Sergeant Villalobos bacK and Bak?r stopped his acticrs. I lei; the intake clinic to c~rtirue pro~~idirg
coverage for the night mec-line. This concluties my involvement in this inc~der.t.




  ❑ GHECK IF NARRAT}+               IS CONTINUED ON ADDIT'ONP.L C1
  SIGNATURE ~~              r~TIN    S AFF         j 11TLE                                                   BADGE #          i .DL!              DATE
 M. GODINA            i     , f ,r j~:`" ~-__-` CORf1ECTIONP,~ Or"=10ER                                  ~                    ~~                  08/11!2015
 - -— —                          '~
  ^NR1E AND T'TLE 0~ P.E`!I~'MEti^-!PP,1 -; I          T    Ej     DAI F R~CEIVFD          APPRCVCD                    ~ CI~RIFIGA710N NECDEO     DATc
   F. VILLALOBOS, SGT!                                             08l11f20~5        T[✓,!rEs           ❑ rvo-- ~ ❑v_5 ~No                     08/1 1/2015
  ~e1riGJ;a,    origi^~ Irc-,3eM
                                                                                                                                            - —'—
                               aedw,~r       co,   ec«,ir0 e~nploy~e     euor Rn,,,uw«~.g sUlre~-Ns~x




                                                                                                                                            AGO 037
      Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 63 of 126 Page ID
                                        #:1424

 Sin'= .)F ~:.,LIrORk p
                                                                                                                   DE?ARiM~VT OP CQRREGTICNS %:tdC RE~iABIL'TAT'.OPJ
 CRIME /INCIDENT REPORT
 PART C —STAFF REPORT                                                                                                         i~c~o~n~r roc Nu~,~~Er~
 CDCR 837-C (REV. 10106)
                                                                                     Page        1         of     2           LAC-BPG-15-08-0473
 NNv~E: LAST                                                   FIRST                                                     UI     INCIDENT DATE         INCIDENT T1hiE
 CORDERO                                                   5~                                                          , 08!11/2015                   17:46
 POST#                    POST-ION                               YCARS CF ~ERVICr               DAT= Or REPCR-                    '_OCAT'GN OF INCIDENT
 —                        B SEC. PATROL 3                  ~       ~'~ 08.11(2015                                                  FAC "B" PROGRAM OFFICE
 RDO's        DUTY HOURS             DESr.RIPTIOh OF CRJfv1E i INCIDENT                                                            CCR SECTIGN I RULE❑ NIA
.                                      AGGRAVATED CiATTERY ON .4 PEACE ~F'rICEH
                                                                                                                                   3005 (d)(1)
 YOUR ROLE                  WITNESSES {PREFACE S-STAFF, V-VISITOR, O-OTHER]                  INMATES (PREFACE S-SUSPECT, V-VICTIM, W-WITNESSES
 ❑ PRIMARY                 (S1 F VILLALOBGS                                                                                           -     -                      --,
                                                           ~_                                (S) BAK_R (K-82174;           i F662-129L
                                                                             --          _    - _—_
~ RESPONDER                !S} J. ARCHAMBO                 ~
 ❑ V:~ITNESS               (Sj R PABON                             -- -             - - -                         - ~—
 ❑ VICTlM                  (Sj 8. PABON
 ❑ CAti7ERA                                                                                          - - --
 ❑ SCRIBE
   FORCE USED                             FORCE USED BY YOU -TYPE OF WEAPON /SHOTS FIRED I FORCE
     BY YOU                      N!A                            WEAPON:          WARNING          EFFECT;         LAUNCHER:           EFFECT#;        GHENRCAU TYPE:
 ❑ WEAPON                   FORCE:                              ❑ MlN1~14                                         ❑ 37 MM                             ❑ N!A
 ❑ PHYSICAL                 ❑EXPANDABLE BA?ON                   ❑ 38 CAL                                          ❑ L8                                ❑ ~
 ❑ CHEMICAL                 ❑RESTRAINT                          ❑ 9 IWPv1                                         ~ 40 MM                             G CN
     NONE                      TECHNIQUES                       ❑SHOTGUN               i                          ❑ a0 MM MULTI                       ❑ CS
 FORCE OBSERVED             ❑ HANDS                                                                               ❑ HFWRS                             ❑ OTNER
       BY YOU               ❑FEET
     WF14P~N
    PHYSICAL                              EVIDENCE QESCRIPTION                                    EVIDENCE DISPOSITION
                                                           _~_                      —                                                                BIO            PPE
                                                                                                 - -
❑ CHEi411CAL
                            ~ N1A
~ NONE                                                                               ~ N/A                                                     H~~                 -
     EVIDENCE                                                                                                                                    ❑ Yes            ❑ Yes
 COLLECTED BY YOU                                                                                                                              ~ No               ~ No
          Yes                             DESCRIPTION OF INJURY                         LOCATION TREATED                        FLUID EXPOSURE         gCIF y301 A087
    J No         ~Zj NIA                                                                CHOSPITAL / CUNICj              ~ BOOILY                        COMPLETED
                                                                                                                                               ~ NIA _
 REPORTING STAFF                                                                     ~ NSA
     INJURED                                                                                                                                                      ❑YES
                                                                                                                        ❑ UNKNOV\~N
       Yes                                                                                                                                                        6~ NO
     ~ N~                                                                                                               ❑OTHER
 NARRATIVE:
On Tuesday, August 11, 2015 at approximately 1.746 hours, while performing my duties as Facility "B" Security
                                                                                                                       Patrol 3,
was inside Bravo Program Office assisting in a 115 hearing when I heard an alarm activation on
                                                                                                       °B" Yard. Upon exiting
Facility "B" Program Office, I scanned the culinary area and ~h~e South yard. I then observed all the
                                                                                                          inmates down in a
sitting position. on the yard. I looked to tt~e North Yard and the Medical clinic area. I observed all the
                                                                                                           inmates on the North
yard in a sitting position as well with the exception of inmate Baker (K-62174 FB62-129L). Baker was
                                                                                                             standing outside of
Bravo Medical area with his right hand clinched screaming at "B" Yard Observation Correctiona
                                                                                                     l Officer J. ArChambo
yelling 'Fuck ail you bitches, no one is taking me anywhere." Correctional Sergeant F. Villalobos ordered
                                                                                                                 me to get waist
restraints from Bravo building 1. Hs I was returning from building 1 with the waist restraints, 1 observed
                                                                                                              Baker being
esccrted by Correctional Officer B. Pabon and R. Pabon. Correctional Officer R. Pabon was
                                                                                                  holding Bakers !eft bicep and
B. Paton was holding right bicep as they were walk+ng towards the Program Office. During the
                                                                                                     escort inmate Baker
continued yelling profanities at the escorting Officers. After I gave the waist restraints to Correctiona
                                                                                                          l Sergeant Villalobos

 E~ CHECK IF NARRATIVE i5 CONT'iNUED ON PF,R i C1
                                         ---
 SIGNATURE OF REPaRTINu STAFF           TITLC                                                              -~ BAOGE at              ~C#                    DATc
  S. CORDERO              ~                                CORRECTIONAL OFFICER                                 4_
                           ._._.                                                                                                                           C8/7 1/2015
  Nh'AE ANL~ TITLE OF ~U1~9;'ER (PRINT                 r        RF ~   DA'E REC[IVFD           A?PNOVE~                   ~LAFIFICATION NEECED             CATE
  F. VILA!OBC SERGEANT                                                    C8;15/2015           C✓1rFs           ❑ NO      ❑rEs Orvo                        08h112415
 p~~~u;icn:    Ori~~na! tr~eidmi rxkape        Copy   e~~+~~r~ Fr~ioyoa       ^
                                                                              ,upy He•:•~wr~rp S,p~n~ao^




                                                                                                                                                 ~     ~     , ~7
        Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 64 of 126 Page ID
                                          #:1425
 ~TATE CF CA~i=ORiJIA                                                                CcPAP,7'richJ'. QF C~RRcC'IONS ANC R=HABI:~TA7i.^.N
 CRIME /INCIDENT REPORT
 PART c1 -SUPPLEMENT                                                                                                          I NGICENT Lvv til.-hiEER
 CDCR 637-c1 (REV. 10106)                                                             FaGE        Z        OF     2            LAC-BYRD-~ S-OB-Oa?4
 varaE: ~,sT                                                                   j r iHsr                                                            nn~
 CORDERO
 TYPE OF INFORMATION:

 D CONTINUAT'QN OF REPORT                                    ❑ CIARIFI~AT'ON OF REPORT                                 ❑ ACDITIONA~ INFORP.IATICN
 NARRATIVE:

he entered the Froarar-~ office fc~lo~rring :he e~~ort. I then retuned t~ the culirary to provide coverage. This cenciudes my
i nvolvement it this incident.




  ❑ CHECK IF NARRATI~lE IS CONTINUEQ ON ADDI'IONAL C1
 SiGnATUK~ OF REPORTIN^v STAFF                          I f 1 fLE                                           BADGE #            IC#               DATE
 -~- CGS ~'~                      ~' ~-                 ~ COR~cCTIONAL OrFICER
  NAtitE AND TITLE QF R'YI~VVC-R (ARiNT! 'I                  T~    [)      URiE HECEIV~U     ~ Ai'{'ROVED             i CLARIFICATION NEEDED     GATE
  F. VI~LA~OBOS,                 RGEANT.                            ~OSI12/2015                    YES     ❑ NO       I ❑Y[5 0No                  08!12/2015
  Oistrib..tion   O:igin al. •nadant Pad~apr   C~;;~y Rr ;~~~~    E•ry~inyee    Cc py f7 uy~owx~S~ervNor




                                                                                                                                           AGO 039
   Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 65 of 126 Page ID
                                     #:1426

 cT;.rE OF r~AL.Fcaw.~
                                                                                                          DcFAR7M=.NT 0= CCFFECTICNS A'dD R~FAB~L(iA-1v^N
 CRIME !INCIDENT REPORT
 PART C —STAFF REPORT                                                                                                 I NCIDENT LOG NUh1B=F
 CDCR 837-C (REV. 10.'06)                                                        Page        ~           2            LI>C-BPG-I5-OS-0473
 rvnh^E: LAST                                         FIRST                                                      M.     ItvCIDENT DATc     i^:Cil7~~~ - TIME
 PABON                                                                                                                ' 08,'11!2015        1746
 POST t~                 PGSIT ON                        YEAS OF= SEf3YICE                  DA'c OF REPQFT                LQCAT!ON OF ~NC~DFNi
                         B4rLR72                             ~~                            08i11l2015                     FAC "B"PROG.OFFICE
 R CC'S       DUTY HOURS         DrSCRIPTIO~ti OF CRIME; INCIDENT
                                                                                                                           GCR 5[C1IUN /PULE❑ N;A
                                 AGGAVATED BATTERY ON A PEACE OFFICER                                                      3005(d)(')
 YOUR ROLE                WITNESSES(PREFACE 5-STAFF, Y-VISITOFI, O-OTHER)                 INAAATES (PREFACE 5-SUSPECT, V-VICTIM, W-WRNESSES)
 ❑ PRIMARY               Ci0 B.PABON 4~_                                _                 BAKER K 82~ 74                                                --
                                         -                                                                                  ~ F3B?-129L
    RESPONDER            Ci0 A.CASTAO                                                                                          _ _ _ ---
 ❑ WITNESS                                --                         -__—
                         Gr0 J.RAMSEY
 ❑ VICTIM                SGT.F.VILLALBOS
                                                                                                                            ~
 ❑ CAR,~ERA
 ❑ SCRIBE
   FORCE USED                    FORCE USED BY YOU - TYPE OF WEAPON 1 SHOTS FIRED ,' FORCE
     BY YOU                  N;A               WEAppN:      WARNING   EFFECTS LAUNCHER:      EFFECTA:                                      CHEMICAL.'TYPE:
    WEAPON               FORGE:                ❑MINI-14                        ❑ 37 MM                                                     ~ WA
 ~ PHYSICAL              ❑EXPANDABLE 3ATON ❑ .38 CAL                           ❑ ;.8                                                       ❑ OC
 ❑ CHEMICAL              [iRESTaAINT           ❑ 9 MM                          ❑ 40 MM                                                     ❑ CN
 ❑ NONE                    TECHNIQUES          ❑SHOTGUN                        ❑ 40 MM MULTI                                               ❑ GS
 FORCE OBSERVED          I~ HAtJDS                         ~                   ❑ NFWRS       i~                                            ❑ OTHFR
     BY YOU              ❑FEET
 ❑ WEAPON
 ~ PHYSICAL                           EVIDENCE DESCRIPTION                                       EVIDENCE DISPOSITION                    BIO           PPE
 ❑ CHEMICAL              ~ wA
                                                                                 ~ NiA                                                 HAZARD
 ❑ NONE                                                                                                                               -_----
     EVIDENCE                                                                                                                          ❑ Yes          ❑ Yes
 COLLECTED BY YOU                                                                                                                       ~ No          ~ yo
    ❑ Yes                             DESCRIPTION OF INJURY                        LOCATION TREATED                     Fl.U1D EXPOSURE         SCIF xi01 /3067
    ~ No         ~ NJA                                                             (HOSPITAL /CLINIC)
                                                                                                               ❑BODILY                           COMPLETED
 REPORTING STAFF                                                                                  —                                     ~ WA
                                                                                 (~ N!A
     INJURED                                                                                                                                        ❑YES
                                                                                                               ❑UNKNOWN
     ❑ Yes                                                                                                                                          ~ NO
       No                                                                                                      ❑OTHER             ___

 NARRATIVE:
On Tuesday August 11, 2015 at approximately 1746 hours, I was monitoring the inmate
                                                                                               entering Facility B North dining
hall from the evening meal. I heard a call via intuitional Radio fora "code 1 response" in
                                                                                               front of Facility B medical, the
 yard alarm was activated and all non involved inmates got down except inmate Baker K-62174
                                                                                                       FBB2-129L, the inmate ai
the time was yelling "fuck these C/O's` in what was an attempt to get the attention of other
                                                                                                  inmates and gain their support.
As Officer B.Pabon and I approached him, Pabon order him to turn around and cuff up. Baker
                                                                                                      ignored the order so C)fficer
B.Pabon grabbed Baker's right wrist and placed the handcuff on it, in order to affect
                                                                                          custody and gain compliance with B.
Pabon lawful order I grabbed a hold of his left wrist and began to place it on his lower
                                                                                            back in order to assist B.Pabon to
place the inmate in handcuffs. Baker yelled "dumb bitch I mobility impaired I need
                                                                                       waist chain". Because of Baker mobility
impaired vest and being unavrare of the inmate's disability I immediately stopped and
                                                                                            maintain control of his left bicep.
Sergeant F.Villalobos instructed us to escort Baker to Faci~ity B program and place him
                                                                                              into the holding cell. While
escorting Baker to prcgram, Baker stopped his forward movement by planting his
                                                                                       left and right feet. Baker began to yell
other profanities and telling the other non -involved inmates to take notes while standirg
                                                                                                there, I told Baker "calm down
and keep walking"_ Baker began to walk again look toward F~is right and said "fuck
                                                                                        you bitch let go of my wrist, I got
something for you.' Bakers left arm became very tensed, and again yelled" look at
                                                                                        these racist CIO's to non- irnolved
inmates. Upon arriving at the Facility B program door I released the inmate's
                                                                                left arm due to the width of the door and
seeing responding Officer A.Castro on his right side along with Officer J.Ramsey
                                                                                      behind the inmate. Upon errtering the
 ❑ CHECK IF NARRATIVE IS CONTINUED ON PART C7
 SIGNATURE OF REPO TING ST FF         Tt7i. E                                                          ano~E ~              IDM                GATE
 R _PABON     _                     ~ CORRECT                        IONAL OFFICER                                                             08/1 1 1201 5
 NA'.tE AfJD TITLFyDFREVIEV'~'ER (F'RI ! ~           jURE}       pqT= RECEPlED             AP?ROVEC               CIAHIF'CATION NEEDED     ! DATE
 SEP,RGEANT~FtiVILLALOBOS                  •,                  '; 08J11/2015               Wi ves     ❑ Na        ❑ Y~s av~                    08,'11 12015
 GNnuu~ion:   Onq~l Imiderr PgcMage       Copal• ~P°f*"9 ~-^'PbYdB          ~Vr:FaNew4,p S~perv~eer


                                                                                                                                      AGO 040
   Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 66 of 126 Page ID
                                     #:1427
 $'A.[ OF CALIFORNIA                                                      DEPAH-"~~E":l ,^
                                                                                         ,F ~OHHtL1;OD:5 MVJ REHl51UTAilOty
 CRIME %INCIDENT REPORT
 PART c1 -SUPPLEMENT                                                                                              ~~~c~,oEr, ou ~~ti~eEa
 CDCR 837-c1 (REV. 1006)                                                ~ pnGc         ~               p          LAC-E3PG-15 OB 0473
 AWME:       LAS-                                                     FIRST                                                           MI
 PaaoN                                                              I~                                                             _1~_
 TYPE OF INFORMATIQN:

 D CONTINUATION Or RCPORT                            ❑ CLARIFI,CATiOh OF REPORT                            ❑ ADDI-'.ONAI_ I~FQRMATION
 NARRATIVE:

Procram staff raced the inmate toward the right door as I opened the door to the holding cell area. As i began enter the
holding cell area in order to search the cell I heard C3.Pabon order the inmate to stop spi tirg, I turned to see Sergeant
F.Vllalobos, J.Ramsey and B.Pabon forcing Baker against the door, Baker began moving nis upper body from left tc
                                                                                                                            right
and kicking his right !eg backward in attempt to strike staff causing an imminent threat to their sa`ety and requiring
immediate action it order to stop the threat. Sergeant F.Villalobos instructed the Of`~cer's A.Castro, J.Ramsey and
B.Pabon "take him down". Officer B.Pabor, and A.Casiro were still on the inmates I~ft side, Sergeant F.Villalcbos
                                                                                                                         was
directly behind him all begun to pulling the inmate down ar~d to the left forcing him to the floor. Because the multiple
                                                                                                                           staff
these and my angle I was standing unable to identrfy all the staff hand placements. Once on the ground Baker begun
~ickirg both his legs wildly in staff direction again causing and immediate threat to their safety. Ramsey
                                                                                                              grabbed a hold of
the inmates leg's and sat down on them in order to prevent any further injuries to staff. Castro was still on
                                                                                                                the ground
when inmate Baker turned his face to his left and spit saliva at Castro's Facial area. I grabbed a hold of the
                                                                                                                  back or
Bakers head wit? my right hand and turned it directly tcvrard the floor, maintained control of it in order to prevent
                                                                                                                        him `rom
continuing to spit at Castro. Responding staff placed Baker into handcuffs stood the inmate to his feet and
                                                                                                                 took control the
inmate. Seeing this I stepped out of the program area with Officer A.Casiro and escorted him and B.Pabon
                                                                                                                  to treatment
triage area for further a medical evaivatian due to their multiple injuries. Officer A.Castro and B.Pabon where then
transported tc Proactive medical center fcr their injuries by myself via state vehicle.




  ❑ CHECK IF NARFATIVE IS CONTINUED ON ADQITIONAL C1
 SIGNATURE OF REPQRTING STAr                                             —                     --           -                               ---
                                                    TILE                                        BADGE N           IDN               DATE
 R.?ABON                                            CORRECTIOiVAL OFFICER                                                           OB/11~2015
 N~~'~4E AND T'~TLE OF F~~(EWEA ;P+-1~1T       IG    T' A )     DATE RECEPJ=D      APPRO`J~O               CL~,FIF!CATION NEEDED   i DATE
 SEARGEANT F.VILLA' OBOS                                       08/1 1 x2015         DX YES     ❑ tvo       ❑vEs     mho            ~ 0811 1/201 5
 DisWWrcn:    OrfS;rel: IMtdenl ?acksge   COpy: aeper9n9 `^'~uvee    woy Rev~ewmg Supsrv~tor



                                                                                                                              AGO 041
      Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 67 of 126 Page ID
                                        #:1428

  5":.rE Jr C~~:FCrrra                                                                            DEpRRT?1.EM1f'' OF CO~ReCT:ONS AND 3'cHABLITAi10~
  CRIME 1 INCIDENT REPORT
  PART C —STAFF REPORT                                                                                      iNcioEr,- ~c~ rvuM~FR
  CDCR 837-0 REV. 10/06)                                                 Page      1       of    Z          I.AGBPG-15 08-04?3
 Nr~.h'E: ir1ST                                          FIRST                                         MI     INCIQENT UATE         WCIOENT TIME
 RAWISEY                                                 ~                                             ~      Bl1112015             1?:46
 POST #                  POSITION                      Y~,4RS GF SER'dICE          CHT= uF RE?ORT                LGCATION Or INCIGENT
 —                       8 Yard # i                '.'
                                                     . 8f'~ t ~r,15                                              B ?rogram Office
 RQO s        DUTY HOURS          DESCRIPTION OF CRIiviE I INCIDENT                                              CCR SECTION /RULE
.                               Agg:ava;ed Battey On A Peare Officer                                              3G05 (dj(1)               ❑ N,'A
   YOUR ROLE              ~'JRNESSES ~PREPACE SSTAFF, V-VISITOR,0-OTHER;        INMATES (PREFACE S-SUSPECT, V•VICTIM, W-WITNESSES)
[j PRItitARY              i,S?   SG~. F VILLAL030S                              ;5        9AKER K-61 724
   RESPONDER              iS?    C10 R. PABON
~' VJI7NES5              (5i     CIU H. TILLMAN                                                       `t
                                                                            _                _—_____ _------r--                  ---
   VICTIM                iS)     CEO 8 PABON
                                        ----
[} CAN!ERA               (S)     C!O A CASTRO
❑ SCRIBE                  iSi    C10 C. SMITH                                                                                       — _-- ---
FORCE USED                                          FORCE USED BY YOU — TYPE OF WEAPON!SHOTS FIRED f FORCE
BY YOU                                                  WEAPON: WARNING      EFFECT; LAUNCHER:                                      CHEMICAU TYPE:
                          ❑ Ni.A
 Q WEAPON                 FORCE       ]   ~.~!NI-la                                              ❑ 37 MM                            G N;A
    PHYSICAL    ❑EXPANDABLE B.~TC~N    ❑ 3B CAS                                                  ❑ L8                               ❑ OC
    CH~b11CAL   ❑RESTRAINT             ❑ 9 Mi`A                                                  ❑ 4G MM                            G CN
 ~~ VONE          TECHNIQUES           ❑                                                         ❑ 4C MULTI                         C CS
                                                    f._ __.__
 FORCE OBSERVED ~ HANDS                                                                          ❑ HFWRS                            ❑OTHER
 BY YOU         ❑FEET
 ❑ WEAPON
 ~ PHYSICAL            EVIDENCE DESCRIPTION                                              EVIDENCE DISPOSITION                     BIO          PPE
    CHEMICAL    ~ NJA                                                                                                           HAZARD
                                                      ~ ~~q
 LJ NQNE
                                                                                                                                ❑ Yes         ❑ Yes
      EVIDENCE
  COLLECTED BY YOU                                                                                                              ~ No          ~ No
     ❑ Yes                            DESCRIPTION OF INJURY                 LOCATION TREATED               FLUID EXPOSURE      SCIF ~]Ot f'5067
     Bj No        ~ NIA                                                     (HOSPITAL /CLINIC)         ~ BODILY                 COMPLETED
                                                                                                                         ~ N!A
  REPORTING STAFF                                                        ~ '~~'4
      INJURED                                                                                                                               ❑YES
                                                                                                       ❑ UNKNOWN
      ❑ Yes                                                                                                                                 ~ P10
      ~ ~                                                                                              ❑ OTHER             .—
  NARRATIVE:
          On 8!11/2015 at approximately 1746 hours while Ferorming my duties as B Yard #1, I was monitoring inmates.
 walking in.o the chov~~ hall when I heard over tt~e n`.uitional Radio "Code 1, resistive inmate in front of Bravo Medical, i
 responded from the dining hall when I eCserved inmate Baku(K6'724, 62 129L) screaming "Fuck all you bi,ches, no one
 taking me anyvrhere" Officer R. Pabcn was holding BaKer left bicep with his right hard and B. Paton was holding Baker
 right forearm with ha~dcu`f already cn h s wrist bicep attempting to walk him to the Bravo holding cell. R. Paton
 immediately grabbed Baker left wrist and brought it to the middle of his back in order to effect custody while B. Paton
 grabbed Baker right wrist and brought t to the middle of his bac~. Baker stated 'I'm mobility impaired, and you can only
 put waist chains on me". R.Pabon immediately brought his left arm back to the inmates left side while Officer B.Pabon
 brought his right arm back to the irmate's right side all while maintaining control of the irmate. Baker once again stopped
 his movement during ;he escort by planting booth ~;s feet into the ground and said "Call the Sergeant, no one is taking me
 anywhere" Sgt. F. Villalobos responded to ?he ~ncident and asked Baker" whaYs the problem?" Baker stated "All gall are
  bitches, that fucking coward in the observation booth a bitch ass wh,te boy that's trying to fuck with me'Sgt Yllalobos said
 `~TJe are going to walk you to the holding cage so we can talk abou+ it and continue to run evening chow. Baker once
 aga!n started to walk to the B program with R. Paton holding Baker left bicep with his right hand and B. Paton holding
  Baker right forearm wi;h her left hand when Baker once again plar;ed both his feet in the ground and stopped his

    D          CHECK .F NARRATIVE IS CONTINUED ON PAR'C~
                             -    ------                               —             -                                                 —
   S!GNATUP,E        •.   T N~'$Tl1FF        T:TLE                                              HADGE s            I[5A'
                                ~      .—                                                                                              CATS
   J. RA'~1          ~~~                            CORRECTIGNAL DE-ICER                        ~~                                     06/1 1/2015
   NA~fE l~N      'TL[ OF~$i~SA ` DER (P I T        ~~~UH~I   L'r+1E RE~EIV[C
                                                                                                  --~--- -1~-- —
                                                                                   nPPROVED                 CLARIFICATIpN NEEDED       DATE
   F. ~/       LO~OSISGT. ~                               ~ GS!"12015              D YFS ❑ NC               ❑ vES D do                 C8/1 V2015
   Disfibution        rginal Ir~ident Pa       e       Capy: Reporting Employee             Copy Reviewing Supervisor


                                                                                                                                AGO 042
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                                         #:1429
  ST:,TE ~F CALIFpR^;IA                                                           DEFA~TMEVT Q= CO~RE~TIONS ayC REHA~ILIiATIOh
 CRIME /INCIDENT REPORT
 PART C1 -SUPPLEMENT                                                          I                                         ~ INCIUEN~f LCG NUr.16~H~
 CDCR 837-C1 REV. 10106)                                                      I~ I~~GE       2        0~    2           ! LAC-BPG-'S-08-Oa73
  NAFAE:     LAS-                                                         FIRS';                                                             h11
  RAI4ISEY                                                              ' JOSHUA                                                             C
 TYPE OF INFORPAATION:

 D CON7INUA''ION OF R~PCRT                             ❑ ~LAR!~fCA-ION CF f1EFCR7                                 ❑ ADCITIONAL INFQR~v1AT1dN
  NARRATIVE:

movement while being escorted to B program and stated "F.,ck yall ioiots, I'll do whatever I want" R. Pabo~ ,old Baker to
`Calm Down", Eaker 5egan to walk again. Once at the Facili,y B prcgram door R.Pabon let go of the inmate's left arm
~n~n~le B. Pabon maintained controlled c` his right arm and Officer Cas ro took control of the le`i arm. I proceeded to follow
behind the inmate's left side thru the Grogram door. Orce inside the program door, Baker was put on the counselor door
closes; tc B Program entrance dcor by Sgt Vil!aio~os and (3 Pabon and A. Castro so that R. Paben could open the door
where the hold'ng cells are. Once aaains: the wall, baker swung his body and torso in an aggressive manner to left
tov.~a~ds the B =ducation area. Sgt. V!ilalobos immediately pushed Baker upper back with both his hands towards the
Bravc Counselor door as he ordered Baker to stop resisting To ga!n compliance of a la~.vful order, to overcome resistance
anc to e~fieci custody, I immediateh~ assisted ay s'epping cn the right Side of Sg.. Vllalobos. I used my right hand and
placed it on Baker rign? upper back pressing nis upcer body against the counselor door with my arm s,rength
                                                                                                                  as I ordered
Baker to stop resisting. Baker immediately tamed his head to left and spat on Officer B. Pabon's face. Sgt. Villalcbos
uti ized his right hand and held Baker head against the •,vindcw and ordered Baker to stop spitting. Sgt. Villalobos
instructed all staff to take Baker down :o the floor. Wh le grabbing Baker's left shoulder with his left hand and
                                                                                                                      his upper
right shoulder with his right t;and Sergeant Vi!lalobos used 7is body weight to take Baker to the floor. Once
                                                                                                                  on the floor,
Baker began to kick back and forth with both feet ~n an aggressive manner attempting to strike staff. To get compliance
                                                                                                                              of
a lativful order, to overcome resistance and to ef`ect custody I immediately sat on Baker's lower thighs putting my
                                                                                                                           body
weight and grabbed his left foot and ankle w'ih my !eft hand anc hls right foot and ankle with my right hand while facing
`he B Program entrance door. I then. trarsilioned my body weigh; and pinned Baker legs down by siring on
                                                                                                                      his lower
calves and ankles while turning my body sir~uttaneously 180 Degrees to face Sgt. Villalobos. Officer A. Castro grabbed
Baker right arm with his right hard and pu!ted it to the middle his back while Sgt. Vllalobos grabbed Baker left
                                                                                                                       arm with
his right hand and brought it to tt~e midd;e of his back to connect the handcuffs. Once in restraints,
                                                                                                              Castro grabbed
Bakes right arm with his right hand and Sg'. Villa!obos grabbed Baker left arm with his right hand and both assisted
                                                                                                                            him
to his feet. Officer Castro and Sergeant V~lialobos placed Baker on the counselors office window right in
                                                                                                                   front of the
inmates work office. Sgt. Villalobos instructed me to open the holding cell door so we could place Baker
                                                                                                                     inside the
holding cell. Investigations Services Unit {ISU) Officer C. Smith responded to the incident and grabbed Baker right bicep
with h;s lei: hand. I grabbed Baker's left bicep with my ng~t hand ar.d we escorted him from the program hallway
                                                                                                                            and
placed him in holding # 2. Once inside the holding cell, Baker attempted to break the grasp of C. Smith and
                                                                                                                 me by taming
his bcdy to the left by swinging his torso and lower body tcwards me. C. Smith immediately grabbed Baker
                                                                                                                    right upper
snou%cer with his Ief; and right hand and used his body weight to press him against the back of the holding cell.
                                                                                                                             To
overcome resistance and to gain compliance with. a law~ul order, I grabbed Baker left shoulder and pressed
                                                                                                                     him to tfie
back of the Gel' using my body weight as I ordered Baker ,o stop resisting. Inmate Baker appeared to be coughing
                                                                                                                              up
saliva to spit again and Sgt Villalobos assisted ~s by putting a spit mask over Baker Face which he had inside his
                                                                                                                           right
cargc pars pocket. BaKer immediately began to say "I can~iet breath, I cannot breath: Take this spit mask off
                                                                                                                       me" Sg`.
Villalcbos instructed Officer H. Ti11r^an to get a wheel chair. Once H. Tillman returned with the wheel chair.
                                                                                                                          Smith
maintained control of Baker Right b~cep with his both. o` his hands. I maintained control of Baker left bicep with my
                                                                                                                           right
h and and we escorted Baker to the whee' chair. ~f`cer Tillman pushed Baker out of the B Program
                                                                                                             area ass,sted by
Smith. Inmate Baker was escorted to the "B" medical clinic where he vas medically evaluated. This
                                                                                                                concludes m~
involvement in this incident.




   ❑         CHECK IF         R/~TIVE IS CONTINUE!? ON ADDIT1GtVAL C1
  SIGP~kTURE C         ~G STAFr"                   ! T1TLE                                             BAD(,E ~         ~' IDS            ! DAT_
  J. RAh1SE               ,fi- ~~                  ~ CdRRECT10NAL            OFF'C~R                   ~
  ~.h1E.ANDTI           F~i6SQtWER P I
                                                                                                                                 _ _ .____.~ 08111X15
                                           ~! ~G        IUI2i ~     ~ A:F HtCENEL'        ?I'F'RCVED              CLi~RIF~CATIONNEEDEL'    7AT[
  F. VILLAL t QS, SGT.               ~''                           (.Sig 112015       ~ Q YFs ❑ No                ❑YES D NO               108/112015
                                                                                                                                             _-
  ~~d~nlo~    Original Incident Package    pptry R~r~r ~r~g Er~~ vyee     CcPY RCv~cwmp S..Por'neo'


                                                                                                                                      AGO 043
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                                            #:1430

  ;TA'_ OF CaLiFOFt~:in
                                                                                                                                   ~,~FP~1RTtiSENT OF ~CRRECTlONS P.ND REHdB:LI'rA?ION
  CRIME 1 INCIDENT REPORT
  PART C-STAFF REPORT                                                                            — --                                                                        —
                                                                                     ~                                             iru.i~E~vr ~o~ n~urn,st~R
   c~cR a~~-c (REV. 10106)                                                               ~a~E
 r
  .....
      _-__— _..   _-___                                           —1,
                                                                                                     i       o~ 3     ~_. _._      LAGBPG-1
                                                                                                                                      ___ 5-08-0'7
                                                                                                                                            _._._. 3
                                                                                                                                                      _.
     N,~'d~ LAST                                                         F'R5"
                                                                                                                                                                                         ---
                                                                                                                        ti11           INGIOENT DA'E                    INC~DtNT T'h1F
   ~P1:TF;                                                        ~~_.___ _                                            ~
                                     __                  '_____          _                                   _ _._             _       OA/11;2015                      ', ',74o
                                                                                                                                                                            _ . _HO~~RS
   PCST#              POSiT!ON                ~          Y`ARS OF SER'✓ICE                                                                                                           — —
                                                                                                               O~~TE QF REP~~RT           LGCAiIJN 0~= INCIDENT                                ~
                    ~ ISU Officer #6                                                                          U&'J2Ci5                    Facility 'D' Program Office
                                               ~l
 ! RGC ', DUTY HOURS                       DES~~IPTION O~ CRIHAE!!NCIDEfvT
 '~ ~
    j                                                                                                                                   CCR SECTION ;RULE_                   ❑ NtA             I
      ,Aggravated Battery on a Peace Officer                                                                                            3GC5 (d} (1)
         — --
     YOUR ROLE                    WITNESSE
            _.                         _ S (PREFACE S-STAFF, V=J~SITOR, 0-GHER)                                       INMATES
                                                                                                                           ^~ (PREFACE
                                                                                                                              7        S•SUS?ECT
                                                                                                                                         _.      , V-VICTIM, W-'JVITNESSI
                              ~Sl_SGT r. VILLA~OBOS                        _ --                                                                    _._ -                                   _~
                                     - --    -                                                                   .5'! Baker Ko~1 , 4 FBL'L i 29L                                               ~
 i ~, nFsaovo~H                                                        - -     -
                               5 C/0 J RAMSEY                                                    _                                                                         --
   p v.ct ~w~                                                                      _ -     _                                                                   --                              i
                              (S} CIO B PABQN
                                                                                                                               __.._-- -----_         __                _ ___       _.__- __
                               ~ C'O N_TIL~fv'AN              ~


  =OKCE USED                                                  FORCE USED BY YCU —TYPE OF WEAPON I SHOTS FIRED /FORCE
  9Y YOV
        wE,aPON               ~ ,W,~                         Y,fEAPON WARNING                    EFFECT          LAUNCHER                                  CHEPo~ICAL !TYPE
        P H"51CAL
        CliEW11CAL                                           ❑MINI 14                                            ❑ 3?Mpn
        NONE
                              F ORCE:                                                                                                                      ❑ t
                                                                                                                                                             i~A
                              ❑ EXPANDABLE BATGN             U 38 CAL                                            ❑ L8
  FORCE                                                      ❑ 9 MM                                                                                   ~ OC
                                  P,ESTRAINT                                                                     '~ 4'~M~'~                           ] CN
  OE35ERVED ~Y                     TECHNIGUES                ~ SfiOTGUti                                         ❑ 49 MULTI
  YGU                                                                                                                                                 ❑ CS                      _
                                  HANDS                                                                          U IiFWs2S                            ❑OTHER
    NJEAPON                   ❑ FEET
    Pi IrSICAL
  ❑ CHEMICAL
  ❑ NONE       _~
                                                                                            _-                                                    _    _
       EVIQENCE           ~            EV[DENCE DESCRIPTION                                          EVIDENCE DISPOSITI
                                                                                                              _----_   _ON                              BIO                     PPE
      COLLECTED                                                                                                          ____
          BY                   N;A                                                       ❑ NiA                                                        HAZARD
  ~ YE5                   ~ Thuty six (36) Dig 'al pro~ographs                           Subr^,~ttec ante 15J !vla~.n Ev~denc_ Locker 1~1             ~ --
  ❑ N~                    ~
                                                                                                                                                        YES            ❑ YES
    REPORTING                                                                                                                                         ~ NC             ~ NO
                                       DESCRIPTIQN OF INJURY                                   LQCATION TR_.1TED                                                         SCIF 3301 '7067
  STAFF tNJUkED                                                                                ~HO5PITAL f CLIN~C1                         FLUID EXPOSURE
                                                                                                                                                                          COMPLETED
❑ YES                     ~ ~ ~A                                             ',~         wA                                             ❑ BODILY             p ~~v~F      ❑ Yes
[
~ NO                                                                                                                                  1 ❑ UNKNOWN
                                                                                                                                        ❑ OTHER                         ' ~` NO
  N ARRATIVE.
   On Tuesday, August 11, 2015, at approximate~y 1746 hours, I heard a radic trarsmiss~on
                                                                                                   requesting a Code 1 Response cn
   `aal~t 'B' due to an inmate resisLr;g stz~f I arr.ved a ?he Facility B Program Office
                                                                                                and observed Inma:e Baker Kc2174
   Facili;~ 'B' Building 2, Cell #'29 Lower (FB82-129Lj standing in the ha!~way. facing
                                                                                              the Counselor's Once with Facil ity 'B`
   Sergear; F Villalo~cs holding Baker's te` upper arm with both hands and Fa~~lrty 'B' Of`icer
                                                                                                      A. Castro holding Baker`s right
   u pper arm wish bcth hands. Villalcb~s instr~c?ed Facility 'B' Officer J. Ramsey to open
                                                                                                ,he deer to Holding Ceil #2 on order
   to secure Baker inside I ~~vas advise .hat Baker had spii, striking officers Castro and
                                                                                                 B Pabon in ,he facial area. Castro I
   relinquished control cf Baker's right upper arm to me so that he could seek treatmen
                                                                                               t for exposure to the spit. ViCalobos
   relinquisned control of Baker's left upper arm to Ramsey. I maintained contr~i
                                                                                        of Baker's right arm with both hands as he
   twisted his upper body away from me toward Ramsey. Ramsey maintained control
                                                                                            of Baker's left upper arm with his hands
   m an effort to overcome resistance as Baker twisted toward him- I held Baker's
                                                                                       right underarm with both hands and Ramsey
   heed Baker's lef`, underarm as we assis~ed him to the holding cell. Baker continue
                                                                                          d to twist and began to kick his lower legs
   behind him. In order to over~~me resistance, I placed my left hand on 8ake~'s
                                                                                       right shoulder and my right hand arou~~d his
   right biceps as Ramsey placed his left hand on Baker's left shoulder_ Ramsey
                                                                                     and I used our body weight to secure Baker to
   the bacK of the holding cell. Baker began to 'hawk,'expectorate' and appeared
                                                                                        to attempt to spit. Villalobos applied a spit
'I mask on Baker and instructed Facility 'B' Officer H Tillman to ret.ieve a ~n~heelcha
                                                                                        ir. I maintained control of Baker's right

[X,~ CFIECK IF NARRATIVE IS CONTINUED ON PART C-1
             — --                         —            —
  51GhATURE OF REPOR      0157          ~       TI T',E                                                            ----                        -----
                                                                                                             ~f1CGE ~l                  IDf1        —~dAT~
                                                   i                                                                                                                                        ,
                                                                                                                                                        ~                                  —,
 -C.SMITH                                          -
                                                        ~'        - ~u ~n~~e~#s
                                                                         —                                   ~           ._ -~-- -                                        ae~ii~zo~~
   NA~dEA.NO       7LE         FRE-VIEY'/~   ^IPRIN'!             ' ~~T~R~CE!V~D                         ~                    i
  SIGNA'URE)                                                                                                 APPROVl=D          i, CLARIFICATION NG[DcD                   DATE
                                 ~

                                   I                               i         ~ ~Fl ~S                    I ❑ 1'ES ~] NO ! ❑ YES ❑ NO
                                                                                                                        i                                                  6~~!
 D~strhat ~n Orgmal Inucle                ackage       Copy. Reporting Empbyee             Copy. Revieunng Supervisor

                                                                                                                                                              AGO 044
            Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 70 of 126 Page ID
                                              #:1431

 g:~'~ ,~F fAlIF~?NIA                                                                   .7cP?F7UE!JT Cf CD•`:RcC':!Oh5 ^•.NUJ r3E 1ABl„iT.ATI'i~.'
 CRIME I INCIDENT REPORT
 PARTc1-SUPPLEMENT
 CDCR 837-c1 (REV. 10106]                                                                                                             j LAC-~[3G- i 5 OS 04i3
                                                                                       I PP,G~       2        ^vF      3
 P AhtE:        LAST                                                               FIRST                                                                   ti'.I
                   sr,~iTH
TYPE OF INFORMATION:

L
~ (:C~~TINUATION l7F REPORT                                          ❑ CLAP.IFICHTION OF REPQRT                               ❑ ADDIT'ONAL INFOR."NMTGN

  NARRATIVE:

       biceps as ~ retreved ~y voice recorder tram my lef' pants cargo pocke? with rn~~ left hand and began recor~~rg the
       inci~ent Vlllalotos ?old Baker, "We're gong .e put you it a ~~hee~chair aid take ycu to mediczi" Qaker responded oy
       sa;! r'c "! won ; do that". V Ilalobcs reF~eatedty instructed Baker to "Set:!e Cows" ~~ th regahve ~esul~s Baker continueC
       to pe~l at Villalcbos Tillman arrived with a w`~eelc~air. I maintair:ed centol of Baker's nigh; upper arm with both hands
 ~     and Ramsey maintained control of Baker's left upper arm wi;h h~s rght hard and we assisted him into the wheelchair.
       Baker sta'ed 'I need to ~,va:k". Tillman and I pushed Baker in the wheelcha~~ to the Facility '8' Medical C!inic fcr
       mecical staff to cerduct a CDC 7 19 tit~d ca, Evaluation On the roadway enroute to tre Nledical C'iric, he ye led
       ° M1ot;~er Fuckers' You can't win nor Icsing~" "You am't got common sense not to fuck vrith a litigator, you a jcke"'
                                                                                                                                 He
       lookad up a; the observation officer and ye+l2~ "anc you, you comin' out that tower, you Nc~~nt that gur~ a± me
';     mutr.erfucker, yon s~ould've used it' NJhen we arrived at the Niedi~al Clinic. Baker 5iated, 'I `ear fen my ~ife, get me out
  ~;   cf here richt now`" Baker was told tha; he would not be going anywhere until s.aff conduced a ?219 cn him.
                                                                                                                                 He
 ,~    replied, '1!~lho askee you? Kiss my ass bitch' ~PJhoeve- you area' "You got that? "7219 that: Stup d bftch~" I attempted
                                                                                                                                  to
       calm Baker down sc that medical staff could conduc' the evaluaber Me~ica staff conCuc'ed the evalua'.,on as 5aker
       Conti^ued to beyate and verbally assault everyone in his presence Eaker was repeatedly asked to "Calm down" w~:h
       negative results. Ba{er vrent on ;o state, "This is b~g~ Nc+~v eve at that S2 5 mil! You guys are fucked!" He also claimed
       tc have one lung and to suffer from Post Traumatic S;ress Dfserder {PTSD), saying 'I'm a mutherfucking veteran of
                                                                                                                                two
"      war;" Upcn cempletien of the medical evaluat,on, Tillman and I pushed Baker in the wheelchair to Facility
                                                                                                                        `B' Medical
       I ntake and secured him inside the inmate waiting area UFon securing the waiving area doer, I stopped the recorder.

         proceeded ro the Correctiona' Treatment Cer„e~ wt~,ere officers B Pabon and A. Castro vrere recei~rng CDC
                                                                                                                   7219
       ~t~Fdica! Evaluations. I ;oek diyital photographs of Pawn with the following depictions:

       Frame 1:        Front vie~ro. ~~vaist up
       Frame 2'        Employee I D Card
       Frame 3         Name tape
       Frame 4         Front vie~.v, holding I D Card
       Frame 5         Right profile
       Frame 6         Back
       Frame 7:        Left profile
       Frame 8:        Front view, legs
       Frame 9.        Front view, face, showing swollen right eyeld
       Frame 10        Right side of face
       Fame 11         Close up of right side of face, showing swollen right eyelid
       Frame 12        Close up of swollen right eyelid
       Frame 13:       Left elbow, showing redness
       Frame 14:       Back of State I Q Card

       U pon completion of tF~e photographs of Fabcn, I took a series of photographs cf Castro with
                                                                                                    the following depictions:
    Frame 15'          State I D Card
 ~; Fume 16:           Back of State I D Card
    Frame 17:          Front view
  i Frame 18:          Right profile
        ✓   CHECK F NARRATIVE IS CONTINUCD CN ADDITION:,L C1
                                  _---  __.—,
        SIG~dA.URE Cr fiE R                    iTi ~~                                                                                    ---
                                                                                                              B:.bGE a              j cos              ~ DaTF
        c. srnrr       r~.                                            on~~e~ ~6                               ~                     I ~,                o$~~,,zoi~
        k;,Uf    NL 1 itlE O        FV       ,..      k'       SIGNATURE]
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                                                                            JAT . R CF!V[D       ~1NF'NOVED                CL+RIFi('ATION NE-UEC        DA E

                                                                      _ __  a ~~L~IS         Q YES ❑ NO           ❑ VFS D NO h                           p~~~S
                                                                                    --
        Cistnbut~on:         U;~g~naP Inud         t Package          Ccpy Reportmy Employee      Copy: Rev~e~.vi~g Supervisor


                                                                                                                                                     AGO_045
           Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 71 of 126 Page ID
                                             #:1432
5-A"E J~ C41 IF ~RiJIA
                                                                                   C~e=AFTAtE'~T C= CG~RECTICNS A,uG REHPBI~ITATIOn;
CRIME !INCIDENT REPORT
PARTc1-SUPPLEMENT                                                                                                            ^~GGEN'LOi; '~L''v1J~_R ---
CDCR 83'-c1 (REV. 10~Ofi)
                                                                                   F~A.GE      3      CF       3            i Lr:C-LPG-1~-05-0~'3
r~ar,~~.    t,~sr                                                            SIRS 1                                             --
                                                                                                                                              ►.~~
                 SMITH                                                                 CONRAD                                                      L
TYPE OF INFORMATIQN:

D CCNTINUAT~ON GF F~?ORT                                     ❑ CLARIFICATION 0= R.?ORT                                ❑ ADDITIONAL 1NFORtv1ATION
N ARRATIVE:

  Frame 19:         Back
  Frame 2J.         Left arof~;e
  Frame 21          Name tape
  Frame 22          Front view, legs
  Frame 23          Face, front view
  Frame 24          Face, left side
  Frar~2 25         Face, right side

  Villalobos arrived at ;he CTC fcr a GDC 7219 ~~".edi~al _valuation. Upor
                                                                                  completion of the photographs o` Castro znd
  t~~e medical eva',uation, I took photographs or Villa~obos ~r~i`n ,he rollew ng depic6c
                                                                                          ns:
  Frame 26:         State I D Card
  Frame 27:         Back of I D Card
  Frame 28:         Front view, waist up
  Frame 2S:         Riga profile
  Frame 30:         Back
  Frame 31:         Left profile
  Frame 32:         Front view, legs
  Frame 33:         Back of left and right hand
  Frame 34:         Leh elbo~,^.~. showing redness and aCrasions
  Frame 35.         Righ; elbcw, snowing scratches, redness and a~rasions
  Frame 36:         Right forearm, showing abrasions

 UFon completion of the photographs of Villa!obos, I retumzd to the Investig
                                                                                 ative Services Unit (ISl1) office and
 s::bnirted a!I photograpns and audio record+ng into ISU Main evidence Locker #1.
                                                                                  1"his concludes my report.




   ❑ CHECK IF NARRATIVE IS CONTINUED ON ADDIT~ONl~L C1

   S~GM1ATURE OF RE          R'~fN"                       TITLE/                                      BAQGE ~              IC#              ~ DATE
   c- sr • H .iR.                                     ~ ~orr.cN~ #6
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                                                                       ~ ~---- ~_C~ YFS ❑ NO
   D~x-iSution                                                                               _ — ❑YES  __      D NO                         ~    ~~d~ ~i4~
                     Ongir,al~ Ircfd          a~aye          Cory Reporing Employee    Copy: Reviewing Suoer,~~sor




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       Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 72 of 126 Page ID
                                         #:1433

 S~Air. uF c;.i iFOHN.:                                                                                              DEP~RT~;:EN~ 0~ CORRE~TiONS AND ~~FWBI:RAT{ON
 CRIME / INCIQENT REPORT
 PART C —STAFF REPORT                                                                                                            INCID[NT LGG NUMDER
 CQCR 837-C (REV. 10/06
                                                                                           Pa,e        1      of     1           LAC-BPG-'5-08-0473
 NAh1E LAS'                                                      FIRST                                                      MI     INCIDENT DATE        INCIDENT TIME
 TILLMAN                                                         I-~                                                       , 08!12!2015                 17:46
 ?OSi#                        PaSITION                       !      YEAFS CF SERVICc                   GATE OF REPORT                LOCATION OF INCIDENT
 _                             B SEC PAT #2                 ~'           ~'~                           G8+1 1/1 5                     FAC "B° PROG. OFFICE
 RDO's          DUN HOURS                D~SCRIFT;ON OF CRCvlE / INCIDENT                                                             CCR SECTION /RULE❑ NIA
                    —                     AGGRAVATED BNTTERY Oy A PEACE OFFICER                                                         3005 (d)(1)
~ Y0UR ROLE                    WITNESSES (PREFACE 5-STAFF, Y-VISITOR,0-OTHERS                      INMATES (PREFACE S-SUSPECT, V-VICTIM.. W-WITNESSES)
I-     —                       --    -----           --
   ❑ Pr~It~IARY                (S) Sgt. F_ Villa',obcs                                                 S} Baker K62174
  ~ RESPONDER                  (S) C. Smith
   ❑ V~'TNESS                   S) J. Ramse
 ❑ VICTIM                      (S) C. Adeduro                                                          __                  -----
 ❑ CAMERA
                                                                  — — ..                     _     — ---
 ❑ SCRIBE
  FORCE USED                                    FORCE USED BY YOU - IYPE OF WEAPON i SHOTS FIRED t FORCE
    BY YOU                            N;A                           yYEAPON:          WARNING              EFFECT: LAUNCHER:             EFFECT#:       CHEMICAU TYPE:
[; YJEAPON                      F RCE:                              ❑ MIVI-14                                      ❑ 37 MM                              ❑ WA
 ❑ PHYSICAL                     ❑EXPANbABLE BATON                   ❑ 39 CAL                                       ❑ L8                                 ❑ OC
                                                                             --._                 --
 ❑ CHEMICAL                     ❑RESTRl11NT                         ❑ 9 A4tit   __                              ❑ 40 PRAM       ~                       ❑ CN
                                                                                                  _
       NONE       TcCNNIQUtS                                       []ShO~GUN _                             ~___ Q 4Q Mtvl MULTI                         ❑ CS
 FORCE OBSERVED ❑ HANDS                                                                                         ❑ HFWRS                                 ❑OTHER
     BY YOU     ❑FEET                                                                                                           ~~
    WEAPON
    PHYSICAL           EVIDENCE DESCRIPTION                                                                 EVIDENCE DISPOSITION                     BIO          PPE
 ❑ CHEMICAL                     ~ NSA                                                                                                              HAZARD
 ~ HONE                                                                                    ~ ~y,A
                                                                                                                                                    ❑ Yas        ❑ Yes
      EVIDENCE
  COLLECTED BY YOU                                                                                                                                  ~ No         ~ No

        Yes       _ _ —__ DESCRIPTION OF INJURY
                                           _,__.                                             LOCATION TREATED                   FLUID EXPOSURE      SCIF 3301 13087
     ~, No        ~j NiA                                                                     (HOSPITAL 1 CLINIGy            ~ gOQILY                 COMPLETED
                                                                                                                                              ~ NIA
  REPORTING STAFF                                                                          '~ NIA
      INJURED                                                                                                               ❑UNKNOWN                            ~ ~5
                                                                                                                                                                ~ NO
       ❑ Yes
       ~ No                                                                                                                 ❑OTHER             _

  NARRATIVE:
  On Tuesday August 1 ~~ , 2C'S at approximakely 17:46 Fours he yard alarm was activated. When I responded from the
 medical irtake clinic, I observed responding sta`f escoRing inmate Baker K-62174 FBB2 129E to the Facili?y B Program
 Once. As I began returning back to medical intake and I was instructed by Correctional Sergeant F. Villalobos via
 institutional radio t~ relieve a wheel chair from the B Medical clinic, I responded to the B program once with the wheel
 chair and observed inmate Baker standing inside holding cell # 2 facing the wall. Inmate Baker was wearing a spit mask
 over his face and he was in handcuffs. Correctional Officer J. Ramsey and Investigative Security Unit Officer C. Smith
 were holding Baker by his arms. Inmate Baker appeared to be very agitated and angry. Inmate Baker was attempting to
 break from the officers grasp by turning his body from side to side. Officer Ramsey and Officer Smith placed Baker in the
 wheel chair. Officer Smith and I escorted BaKer to the B medical clinic where a medical evaluation was conducted by
 Licensed Vocational Nurse C. Adeduro. After the medical evaluation was completed, I took the handcuffs off and placed
 wa,st restraints and leg irons on inmate Saker. Officer Smith and I escorted Baker to the medical intake clinic. I searched
 the intake clinic holding cell with negative results `or contraband. Inmate Baker was placed in the holding cell.

   ❑ CHECK IF t~ARRgT1VE IS CONTINUED ON PART C1
  51GNA1 URE OF REPJRTING STAFF                                  TITLE                                              BAGGc d             ID~R            ~ DAT_
   H. TILLbiAN.                 ~"—~----                     I Correctional Officer                                                                         08!11115
   YAt~'E AfvD TIT L[ vF REVI~WE.R (P IN / ~ (y Al 1R!                      DATA REC[I~T~i             APPROVcG                  CLARIFICATION hEEDEO     DATE
   F. VI!LALOBOS, SGT.                      L_ ~ ~           ~~~r~              C8~11;15              G✓'vr=s      ❑ rvo         ❑Yts    QNo                08/11/15
                                                                                                    --                                                          _._—..----
   ~~,~u~tr..4ai.   Orq~nat w•u~len~ PacKa pe              ~
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       Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 73 of 126 Page ID
                                         #:1434
  STAI E CF C%+I.IFORNIA
                                                                                       C=P?RT~::Ch:T OF C'JRR~C7l;;NS At1C REHAF31LiTA770N
  CRIME /INCIDENT REPORT
  PART c1 -SUPPLEMENT                                                                                                           I hCiDENT LOG ~Uh'~~R
  CDCR 837-c1 (REV. 10/06)
                                                                                        I',SCL       2       OF   2          1 LAC-BPG-15-08-04x3
  NAP~IE       !AST                                                                IRST                                                          -- ~i -M~-----
 TILLMAN
                    -                         -----                                                                                                 i
 TYPE OF INFORMATION:

 D CONTINUATION 0= REPORT                                         ❑ CLAR!FICATON Or= REPORT                              ❑ ACDITIQNAL INFORMATION
  NARRATIVE:

 i mmediately initia~ed a holding cel' eg At approxi~ate y 18~G hours I heard a- loud ban5ing
                                                                                                 coming from the intake clink
 nalding cell. I looked over to the holding cell and observed irriate Baker striking the window protection
                                                                                                             grill inside the
 Holding cell with the lock and the :vais' ctiairs. Inmate Baker Had removed ;ne waist
                                                                                         restraints and was ~sing them as a
weapon in an attempt to break the windows- I ccrtacted Sergeant Villalobos via inst',tutional
                                                                                                 radio and asked him to come
±e the intake clinic. Upon the Sergeant's arrval to 'he intake clinic inmate Baker stepped hitting
                                                                                                     the door and windows.
advised Sergeant Villalobos of the situation ar,d he ordered inmate Baker to sit down on the bench inside
                                                                                                                the holding cell
to which he complied. Sergeant VillaloCos opened the door an~ ordered Baker to walk backwards toward
                                                                                                                the door t~
~Nh~ch he complied. Sergeant Vi~lalebes and I remcved the waist chains and placed them again
                                                                                                     on Baker. Sergeant
V!I!aloCos warned Baker statirg "If you remove the waist chains again. I will place `~andCuffs on
                                                                                                     you". Baker did not
attempt to remove the restraints anymore. This coccludes my irvo~vement fn this incident.




 ❑ CHECK IF YARRATIVE IS CONTINUED ON ADDI7ICNA1 C1
 51GNi,TURE OF REPORTING STAFF      ~ TITLE ~                                                ~                BADGE:           ~ IDS               DP,TE
  H. TILLMAN. ~ ~                    l
                                _,~ _ . _----CQRRECT!O
                                             -- -
                                                       NA.L O=FICcR                                          ~                ~                    08/11x2015
 NAt.~1E ANp iITLE CF KF`JIEWFR(RRL -!                   _---- -
                                                       $IC;       ?URE) ~ ~P.I c RECEi`JLJ       Af'PROVEC
                                                                                                                       — -_ -j~_ _
                                                                                                                       CLARIf CATION NEEDED        DATE
 F. ViLLALOBOS, SGT. (` ~                       ~'~~~ ~, ~~l~._ ,08l11I2U15                  ~~~~5 ❑ NO
                                                 ~.~~\7~,     J         _ __
                                                                                                                       ❑Ye5 QNO                   I Q8111r2015
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  Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 74 of 126 Page ID
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 STA7L OF CALtFORNlA
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   Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 76 of 126 Page ID
                                     #:1437




ST~7R.tlF CAI.U'ORNIA                                                                                                              vbYnx'r~r~T orcoRn~cr~bxsnxoxeF~nAn,rrnrioh
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OR UNUSUAL OCCYJRREIYCE
NAAfG OF fNSTR'UTION             PAC:11.1'I'Y/UN17'                 REASON FOR REPORT (ilrcf~)               _ ~t~~ri~                        0N'f'~ JOB INT(!!t           B~
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                kULES VIOLATIO REPORT: MENTAL HEALTH ASSESSM ~NT REQUEST
~  '`' _       ~   _~~              •~,;REVIEWlNG CUSTODY SUPERVISOR
A CDC ~ 15, Rules Violation Report (RVR), has been written on the following inmate, vJho requires a menial health
assessment.                                                                          ~
  I nmate Name: 8AKER                                                                                                           K-62174
  RVR Log Number:                   XXX-XX-XXXX                        Date of Violation:     8/11115                      Housing:   FBDS-121 L
  Specific Act Charged:                      AGGRAVATED BATTERY ON A PEACE OFFICER

  The inmate's current Mental Health Level of Care is: (c    one
  ❑ NOT IiV NIHSDS PROGRAM~CCMS                            MHCB ❑ DMH
                                                         `'~]~EOP                                ❑
 ' CCCMS AND NON-MHSDS PROGRAM PARTI              WILL BE REFERRED FOR A MENTAL HEALTH
  ASSESSMENT FOR BEHAVIOR THAT IS BIZARRE OR UNUSUAL FOR ANY INMATE, OR THAT !S UNCHARACTERISTIC
  FOR TFlIS INMATE.
 Sent to Mental Health: 8121/15       By: M.ROSALES FACILITY B        1    ~~ .U~
                                                     Date                                   Pnnt Name                                 Signature
  Return this form to:                  M.ROSALES FACILITY B                                                        •gy_    A.S.A.P               1~
                                                                       Print N2me                                                         Da e
  '
  (CCCMS and non-MHSDS,5 working days; EOP/MHC8IDMH, SS calendar days                                                                        gl'f

             :
             : `:                   -    ~                    ~: e :-= MENTAL'HEALTH CLINICIAN                                 ..      ~'* ~ *'' :-      ,.•,

  Conducted non-confidential interview:                                               (C . ~ (Inmate informed of non-confidentiality}.
                                                                               Date
  1. CCCMS/NON-MHSDS only. Are there any mental health factors that would cause the inmate to experience difficulty in
  understanding the disciplinary process and representing his/her interests in the hearing khat would indicate the need for the
  assignment of a Staff Assistant?       ❑Yes ❑ N o
    Explain "yes" response: j~/A—



  2. in your opinion, did the inmate's mental disorder appear to contribute to the behavior that led to the RVR?

  ❑ Yes                    ~N a                 Explain "yes" response:




  3. If the inmate is found guilty of the offense, are there any mental health factors that the hearing officer should consider
  in assessing the penalty?       ❑ Yes~o Explain "yes" response:




  INS'fITj1Tl       ~                             NICIAN NAME (Print                          SIGMA     R                                   DAT:

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                                                                                                                                                   /2
  DISTRIBUTION:                                                                                             CDC NUM9ER. NAME (LAST, FIRST, MI) ANA DA
  Original              :Central File With Adjudicated RVR
  Blue                    115 Unit Health Record                                                            CDC #: K-62174                               I ,JJ ~ I I~
  Pink                  : Inmate
                       RULES VIOLATION REPORT:
                MENTAL HEALTH ASSESSMENT REQUEST                                                            NAME :BAKER


                                                                                                            D.O.B
   CDCR 115-MH (Rev. 06106}                                                                                                                        y~~
   STATE OF CALIfORNfA                       DEPARTMENT OF CORREC710NS AN6 REHABILITATION


                                                                                                                                          AGOG 053
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                                  #:1441


 HOLDING CELL LQG

 DATE: S ~~ ~~/                                 HOUSING UNIT:            ~2                                    HOLDING CEII tl:            ~'
                                                                                                                                            C ~ ~l~"~"~

 NAME:     /~~7~~                                            ~Q~R ~: ,~ G z~~                                  HOUSING:

                                                                                                               ~          /~              f
 PLACEMENT ORDERED BY:~
                                                FR1NT NAME                                        91GNa TUBE                           /71XLE
                                                                                                    ~                                  U
 STAFF PLACING INMATE IN HOLDING CELL:                       NAME:           ~ yl~/~~~                         SIGNATURE:          ~~ ~—

 HOLDING CELL SEARCHED BY:                                   NAME:           !Z 7/Gf~--✓                       SIGNATURE:          ~~

     Tbc Inma;e will he check every 25 minutes. The inmate wi71 he offered access to water and toilet facilities at reasonable
                                                                                                                               intervals not[o tweed 1 hour.

 DURATION 'TIME ;                         ~'    NAME                     ~     SIGNATURE                                 ~Dl5POSITION
   START    ~/~                             ,1.71              -Q-~            /,,~ ~i""                                  S~-7 ~~~ C
    :15                       -D                 ~iGG~                         /~ ~~                                        S x"77~s~ ~
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 STAFF RELEASING INMATE FROM HOLDING CELL:IVAME:                             ~ ~/C~~~                         SIGNATURE:           ~?~~

 FINAL DISPOSITION: HOUSED: ~P7A ~~3 L,                           ESCORTED eY:                r         ~.

 SUPERVI50R SIGNATURE UPON RELEASE:                     T ~ ~`]4 t~Dd Q4



 M ANAGER APPROVAL (IF TIME IN CELL EXCEEDS 4 HOURS):
                                                                                     PRINT                                 SlGNATURf                TRLE

 REASON FOR EXCEEDING TIME lIMl7:




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State 0. California                                                           Department of Corrections and Rehabilitation


Memorandum
pace       ~ February 25, 2014

rO         ~ Wardens
             Chief Executive Officers


s"yJzC<:     MOBILITY IMPAIRED VESTS

            This memorandum establishes a statewide directive concerning the issuarce of
            Mobility Impaired (MI) Vests for certain inmates with a mobility impairment, which renders
            them physically unable to get in a "seated" acs~~ion on tie y~uu~~~ c~r~g are e~~~a~genc~
            alarm.

            All inmates are required to assume a "seated" position during an emergency alarm, and
            only those inmates who are physically unable to sit down on the ground will be issued a
            M I Vest. Health care staff shall determine whether an inmate has a medical condition
            preventing them from sitting down on the ground during an emergency. Since an inability to
            sit down may be a temporary condition following an injury or medical procedure, this
            directive is not limited to Armstrong Class members.

             Only those inmates who cannot assume a seated position on the ground, as verified by a
             physician, are covered by this directive. This directive will not include inmates who only
             require additional time to attain a seated position during an emergency. The current use of
             hearing and vision impaired vests, as required pursuant to the Armstrong Remedial Plan,
             will remain unchanged; however, all existing mobility-related vest policies will adhere to
             these new guidelines.

             I t is the California Department of Corrections and Rehabilitation (CDCR) policy to provide
             access to programs, services, and activities for inmate,`parolees with or without disabilities
             consistent with legitimate penological interest. If, while attending these programs, services
             and activities, an alarm is sounded, it is necessary for all inmates to comply with existing
             alarm policy and procedures to demonstrate they are not participating in the emergency,
             impeding responding staff or pasturing/preparing to join the emergency.

             Inmates unable to assume a seated position on the ground, due to a medical condition,
             shall be issued a MI Vest so responding staff can easily recognize them during an
             emergency. Inmates wearing a MI Vest are not required to attain a seated position;
             however, they are required to follow all staff instructions, including to maintain their location
             or move to another area during emergency situations.

             The MI Vest will be yellow in color with the words Mobility Impaired on the back. Ordering
             information for the MI Vests will be sent to the institutions.

             Nothing in this directive is intended to override CDCR Use of Force policy as defined in the
             California Code of Regulations (CCR), Title 15, Section 3268. Nor is it intended to replace
             current policy as outlined in the CDCR Alarm Response policy and training. Inmates who
             are wearing their assigned MI Vest, but directly involved in an emergency situation, shall be
             subject to existing use of force policies.
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  Mobility Impaired Vests
  Page 2



  Issuance
     During health care screening at Receiving and Release, an inmate shall be issued a
     temporary MI Vest when health care staff determines one is a necessary precaution,
     pending afollow-up medical evaluation.

     Inmates notifying staff in writing (e.g., CDCR 73G2, Health Care Services Request
     Form, and/or CDCR 1824, Reasonable Modification or Accommodation Request)
     that they cannot assume a seated position on the ground may be issued a temporary
     MI Vest as a precautionary measure. This decision can be made during the
     face-to-face triage with nursing, pending afollow-up medical evaluation or via the
     Interim Accommodation Process that is included within the CDCR 1824 processing.
     Health Care staff responsible for issuing these temporary MI Vests shall be determined
     by local operating procedures.

     Generally, only those inmates that have been medically diagnosed with a condition
     that prevents them from assuming a seated position on the ground will be given
     MI Vests. For individuals who are not using a wheelchair at all times, a MI Vest is
     necessary if the individual is unable to assume a seated position on the ground. For
     individuals using wheelchairs outside of their cells, they will be expected to be seated in
     them during alarms.

                Permanent Functional Impairment (greater than six months)

     DPP Code         Equipment Usage         Ml Vest Decision Making
                      and Function

     DPW              Full-time wheelchair    Does not need MI Vest.
                      user

      ~-•             Intermittent            MI Vest should be issued unless it is determined
                      Wheelchair user         the individual is a full time wheelchair user.


     DPM or DNM        Community              May need MI Vest. Special considerations:
     or not classified Ambulatory with or     In cases where the inmate uses a walker with a
                       without Assistive      seat, a MI Vest may be needed to allow
                       Devices                custody to know if the inmate should use the
                                              seat of the walker instead of the ground.
                                              Inmates with severe orthopedic, neurologic or
                                              cardiopulmonary impairment may benefit from
                                              an MI Vest even if no assistive devices are
                                              required.
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  Mobility Impaired Vests
  Page 3



      A Primary Care Physician may determine an inmate has a temporary need (less than
      six months) for a MI Vest due to a temporary medical condition. In this case, medical
      staff shall issue a CDCR 7410 or CDCR 128C, documenting the inmate patient's
      temporary authorization to possess the MI Vest, with the expiration date clearly
      identified.

      The inmate shall be scheduled afollow-up appointment at or near the expiration date
      noted on the chrono for reevaluation of the inmate's temporary medical condition and
      the inmate's need for a MI Vest. If determined the temporary issue has been resolved,
      medics! staf~ shall take possession of the MI Vest at that appointme~?.

  • Full-time wheelchair user (DPW} inmates will not be issued a MI Vest as it is readily
    apparent to responding staff they are already in a restricted position. Intermittent
    wheelchair users (DPO) or inmates issued walkers with seats will be required to wear
    their MI Vest, if issued in accordance with this policy, anytime they are not seated in
    their wheelchair or walker.

  • MI Vests will be purchased by Health Care Services and initially issued at no charge to
    the inmate. Except for normal wear, an inmate shall be charged for damage, repair, or
    replacement of the identifying vest. Issuance of a MI Vest (including expiration date, if
    applicable) will be entered into the Strategic Offender Managements System (BOMB)by
    staff as indicated in the local operating procedure.

      MI Vests shall not be confiscated from an inmate in possession of an expired vest
      chrono without health care involvement. Health care staff will review the inmate's health
      needs and confiscate the MI Vest if it is no longer determined to be medically
      necessary.

   I nmate Responsibilities

  • Those inmates issued a MI Vest, including intermittent wheelchair users (DPO) unable
    to assume a seated position on the ground when not in their wheelchair or walker with a
    seat, are required to possess their vest any time they are not in their celUbed area.

  • Inmates must notify health care staff when their chrono is about to expire and either
    obtain a new chrono authorizing continued use of the M1 Vest or return the MI Vest to
    health care staff.

   • Inmates who wear a MI Vest after health care staff have determined a Ml Vest is not
     required will have their vest confiscated and will be subject to progressive discipline.

   • Inmates who fail to wear their assigned MI Vest and fail to attain a seated position
     d uring an alarm will be subject to progressive discipline.

   • Inmates must notify health care staff when their MI Vest is in need of replacement.
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   Mobility Impaired Vests
   Page 4



  • Inmates who loseJdamage/destroy their MI Vest are responsible for the replacement
    cost. Inmates will not be charged for normal wear.
   If you have any questions, please contact Vince Cullen, Assistant Project Manager, Class
   Action Management Unit, at(916) 322-2315.



    ; /~,      ~~
 CNl D(S ~i<f~~~l C~                          R. STEVEN THARRATT, MD, MPVM, FRCP
  Director                                    Director of Health Care Operation
  Division of Adult Institutions              Statewide Chief Medical Executive

   cc: Associate Directors, Division of Adult Institutions
       M. Knowles, Class Action Management Unit
       V. Culien, Class Action Management Unit
       T. Hirsig, Office of Legal Affairs
       J. Martinez, Office of Audits and Court Compliance
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      ~~- ,~!               California            TITLE:     Forced Testing of Inmates-G2ssing
 y U_ ~..•~.,~''~ Department of Corrections and              Assembly Bill 995
       ~ ~                Rehabilitation
  v ,,~":;rP~~ {     California State Prison      DEVELOPED: October 1999
         : ~:~         Los Angeles County
                     O perational Procedure       REVISED:      November 2014
                              #514


514.11
P URPOSE/OBJECTIVE           The purpose of this procedure is to provide guidelines to ensure
                             compliance in the forced testing of inmates who have participated in
                             aggravated battery (gassing) against any correctional staff member.

                             The objective of this procedure is to outline a process by which the
                             Chief Medical Executive (CME) or designee may authorize the
                             forced testing.

514.2
REFERENCES                    Penal Code, Section 4507.1

                              Assemble Bill No. 995

                              California Code of Regulations, iitle 15, § 3268, Use of Force

514.3
;~,rr:=t~~'~~,~L ~.~lG ~EV1~1~1 Tha V~lard~n must approve this procedure and all revisions prior to
                                i mplementation.

                             The Associate Warden-Health Care Operations (AW-HCO) is
                             responsible for the annual review of this procedure.

514.4
RESPONSIBILITY               The Warden has the overall responsibility for the administration of
                             this procedure.

                             It is the responsibility of any officer or employee who is the victim of
                             a gassing to report the incident immediately to the appropriate
                             supervisor, and then to report to the Treatment Triage Area (TTA).

                              It is the responsibility of the TTA nurse to follow the established
                              Post-Exposure Care Plan regarding the care of the exposed
                              employee. The TTA nurse will also notify the Chief Executive
                              Officer-Health Care (CEO-HC) or designee, which includes the
                              Medical Officer of the Day (MOD), of the circumstances of the
                              event. The TTA nurse will also provide a copy of the CDC-7219,
                              Medical Reports of Injury or Unusual Occurrence, to the Infection
                              Control Ofi~ice upon disposition.




                                                                                        Page 1 of 3
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   ~~,.~,                California            TITLE:      Forced Testing of Inmates-Gassing
  `~'"~~'`=~„~ DApartment of Corrections and               Assembly Bill 995
 "4~~~r`               Rehabilitation
 ~ ~~r~~~         California State Prison      DEVELOPED: October 1999
      ~„ `          Los Angeles County
                  O perational Procedure       REVISED:       November 2014
                           #514

                           it is the responsibility of the Facility Lieutenant to provide the
                           CEO-HC/CME, or designee, with a copy of the CDC 837,
                           Crime/Incident Report.

                           The CEO-HClCME, or designee, which includes the MOD, at the
                           time of the notification, will review the gassing incident. if he or she
                           deems it medically necessary, an order will be given for the inmate
                           to receive an examination. Examinations may include blood
                           hepatitis and HIV testing at the time of the event, and periodically
                           thereafter as determined to be medically necessary.

                            It is the responsibility of the supervisor of the exposed employee to
                           send the employee to the TTA without delay, and to notify the
                           Facility Lieutenant/Incident Commander. During business hours,
                           the Facility Lieutenant/Incident Commander will notify the Facilit;~
                           Captain. During Non-business hours, the Facility Lieutenant/
                            I ncideni Commander will notify the Administrative Ofr"icer of the Day
                           (AOD).

                           The facility supervisor will appoint unaifecied star members to
                           escort the inmate to the designated testing aria. If the inmate
                           refuses to be tested, the appropriate use of force will be utilized to
                           complete the testing.

514.5
DEFINITIONS                Gassing- Intentionally placing or throwing, or causing to be placed
                           or thrown on the person of another, any mixture of human
                           excrement or other bodily fluids/substances. Gassing is defined
                           u nder the law as Aggravated Battery, a felony.
                           Gassing Incident- Any form of gassing or apparent gassing of any
                           individual as defined above.
                           Gassing Victim- Any officer, employee, or non-confined individual in
                           or at the institution who is the victim of a gassing incident.

514.6
PROCEDURE                  The employee will immediately wash the effected area thoroughly
                           wi#h soap and water and notify their supervisor, providing all details
                           of the incident. The supervisor will notify the TTA nurse.

                           The TTA nurse shall receive the employee and takes the
                           appropriate actions. The TTA nurse shall also notify the medical

                                                                                      Page 2 of 3
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  w~,/;                       California           TITLE:     Forced Testing of Inmates-Gassing
  `~f`~`~         Department of Corrections and               Assembly Bil l 995
                           R ehabilitation
  T ~`.   .~~~        California State Prison      DEVELOPED: October 1999
      -.., `~ ~         Los Angeles County
                      O perational Procedure       REVISED:       November 2014
                                #514


                               stafr representative and inform him or her of the situation regarding
                               the inmate and receive the necessary orders regarding inmate
                               testing.

                               The inmate's questions will be answered and every effort will be
                               made to elicit the inmate's consent and cooperation., Any medical
                               stafr so certified may perform the blood draw and skin testing. In
                               the event of the inmate's refusal, reasonable rorce will be utilized to
                               obtain the required samples.

514.7
REPORTING                      Should a controlled use of force be necessary to gain
RECUiREMENTS                   compliance with this procedure, the established use of force
                               policy of videotaping and documenting on a CDC 837 will be
                               followed. All staff members present will be identified. The
                               Correctional Captain or AOD will be present during the entire
                               procedure.

                               The TTA nurse will document atl the events in the inmate's ~~ledicat
                               File.


NOTE: ANY CHANGES TO THIS OPERATIONAL PROCEDURE WILL REQUIRE APPROVAL OF THE
      WARDEN AND CEO-HC.




               ~'~'
                  ~~~                                                       ~~ /~ /~
          P. SHANK                                                  Date
          Chief     cutive Officer- e Itf~ Care
             i o~ia State Prison-Los An~eles County




                                                                      ~/il /~
          J.                                                         Date

                  a State Prison. —Los Angeles County


                                                                                          Page 3 of 3
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     ~`- C'r C~.~-

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        EXHIBIT: ~           --       cr ~,~ ,.
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      1                                  UNDISPUTED FACTS
   2
   3       No.      Undisputed Facts                                 Supporting Evidence
   4       1        At all times relevant to the allegations in the ECF No. 1 (Compl.);
   5                Complaint and during the original filing of      ECF No. 99 (Not.
   6               this action, Plaintiff Baker was—and still        Change of Address).
   7                is—a state inmate in the custody of the
      8             California Department of Corrections and
   9                Rehabilitation.
   10      2        Plaintiff is currently housed at Salinas         ECF No. 38.
   11               Valley State Prison.
   12      3        On August 11, 2015, Plaintiff was involved       Compl. at 36; Compl. ¶ 3;
   13               in an incident for which he received a Rules     Moseley Decl. Ex. B
   14               Violation Report(RVR)for "aggravated             (RVR).
   15               battery on a peace officer (with a caustic
   16               substance)" while housed at California State
   17               Prison-Los Angeles County(LAC).
   18      4        The Complaint alleges that on August 11,         Compl.
   19               2015, Defendants used excessive force on
  20                Plaintiff and were deliberately indifferent to
  21                his medical needs.
  22       5        On September 18, 2015, Plaintiff attended a      Moseley Decl. Ex. B;
   23               disciplinary hearing on the RVR and was          Baker Dep. -141:106
   24               found guilty of the charge.                      (attached as Ex. E to
   25                                                                Grecea Decl.).
   26      6        Plaintiff admits that a grievance procedure      Compl. at 2.
   27               was available at the institution where the
   28

                                                   2
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    1
         No.      Undisputed Facts                                   Supporting Evidence
   2
                 events related to his current complaint
   3
                 occurred.
   4'
         7       Plaintiff submitted one grievance, which             Moseley Decl. ¶¶ 7-9, Ex.
   5
                  was assigned log number LAC-S-15-04254. B (Grievance); Grecea
   6
                  At his deposition, Plaintiff testified that this    Decl. Exs. A (Intenogs.),
    7
                  grievance is "the one" that challenged the          C (Resp. to Interrogs.);
    8
                  RVR finding.                                        Baker Dep. 140:13-141:6
   9
                                                                     (attached as Ex. E to
   10
                                                                      Grecea Decl.).
   11
         8        No other grievances submitted by Plaintiff          Moseley Decl. ¶¶ 7-9;
   12
                  are related to the claims in this lawsuit.          Grecea Decl. Decl. Exs.
   13
                                                                      A (Interrogs.), C (Resp.
   14
                                                                      to Interrogs.).
   15
         9        Plaintiff submitted grievance LAC-S-15-             Moseley Decl. ¶ 7, Ex. B.
   16
                  04254 to LAC's Appeals Office on October
   17
                  17, 2015.
   18
         10       In grievance LAC-S-15-04254, Plaintiff              Compl. at 12; Baker Dep.
   19
                  challenged the disciplinary action taken            141:1-6 (attached as Ex.
   20
                  against him following the incident on               E to Grecea Decl.);
   21
                  August 11, 2015.                                    Moseley Decl. ¶¶ 7, 9,
   22
                                                                      Ex. B (Grievance).
   23
         11       In grievance LAC-S-15-04254, Plaintiff              Moseley Decl. Ex. B
   24
                  demanded relief that included monetary             (Grievance).
   25
                  compensation, an investigation, and that the
   26
                  RVR against him be dismissed.
   27
   28
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    1 '~
            No.      Undisputed Facts                                Supporting Evidence
   2 '~
            12       Grievance LAC-S-15-04254 bypassed the           Moseley Decl. Ex. B
   3
                    First Level of Review and was accepted at        (Second Level Response
   4
                     the Second Level of Review on October 27, letter).
   5
                    2015, where it was classified as challenging
   6
                     a "disciplinary issue."
   7
            13       On December 10, 2015, in a four-page            Moseley Decl. ¶ 7, Ex. B
   8
                     letter, LAC provided its Second Level of        (Second Level Response
   9
                    Review decision denying the grievance and        letter).
   10
                     instructed Plaintiff to seek further remedies
   11
                     at the Third Level of Review if he wished to
   12
                     pursue the grievance further.
   13
            14       On December 22, 2015, the Third Level of        Moseley Decl. ¶ 7, Ex. A
   14
                     Review (also known as the Office of             (Third Level Tracking
   15
                     Appeals(OOA))received Plaintiffs appeal         System).
   16
                     of the Second Level decision and assigned it
   17
                     log number 1507376.
   18
            15       On April 1, 2016, the OOA rejected the          Moseley Decl. ¶ 8, Ex. C.
   19
                     appeal for missing necessary
  20
                     documentation.
  21
            16       In its April 1, 2016 rejection letter, the      Moseley Decl. ¶ 10, Ex.
  22
                     OOA explained to Plaintiff that his appeal      C.
  23
                     was missing (1) CDCR Form 115-MH
  24
                    (mental health assessment request);(2)
  25
                     CDCR Form 7219 (medical report of injury
   26
                     or unusual occurrence); and (3)the
   27
                     complete CDCR Form 837 (crime incident
   28

                                                     4
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    1
         No.      Undisputed Facts                              Supporting Evidence
   2
                 report containing Parts A, B, and C), and
   3
                  was instructed to take the necessary
   4
                 corrective action to resubmit the appeal.       .
   5
         17       On Apri122, 2016, Plaintiff resubmitted the   Moseley Decl. ¶ 9, Ex. D.
   6
                  appeal to the OOA with the same
    7
                  attachments submitted with the original
    8
                  appeal, as well as the following additional
   9
                  attachments requested in the April 1, 2016
   10
                  rejection letter: the CDCR Form 115-MH
   11
                 (mental health assessment request), four
   12
                  CDCR Form 7219s (medical report of
   13
                  injury or unusual occurrence), and portions
   14
                  of Part A and Part C of the CDCR Form
   15
                  837(crime incident report). Plaintiff still
   16
                  did not provide pages one and two of Part A
   17
                  of the CDCR Form 837.
   18
         18       Along with the resubmission of the appeal     Moseley Decl. ¶ 12, Ex.
   19
                  on April 22, 2016, Plaintiff submitted a      D.
   20
                  separate CDCR Form 22 requesting that the
   21
                  OOA expedite its review of the appeal.
   22
         19       On Apri127, 2016, the OOA responded to        Moseley Decl. fn. 1, Ex.
   23
                  the Form 22 and informed Plaintiff that the   E.
   24
                  resubmission of the appeal was received
   25
                  and would be processed.
   26
   27
   28

                                                 5
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      1
           No.      Undisputed Facts                              Supporting Evidence
   2
           20       On May 6, 2016, Plaintiff submitted a         Moseley Decl. fn. 1, Ex.
   3
                   follow-up Form 22 to the OOA,along with        F:
   4
                    loose documents.
   5
           21       On May 9, 2016, the OOA responded to the      Moseley Decl. fn. 1, Ex.
   6
                    Form 22 by returning the loose documents      F:
    7
                    to Plaintiff and informing him that his
    8
                    appeal was in the screening process.
    9
           22       On May 25, 2016, Plaintiff submitted          Moseley Decl. fn. 1, Ex.
   10
                    another follow-up Form 22 to the OOA.         G.
   11
           23       On May 25, 2016, the OOA responded to         Moseley Decl. fn. 1, Ex.
   12
                    the Form 22 by informing Plaintiff that his   G.
   13
                    appeal processed for screening and that he
   14
                    should refrain from submitting loose
   15
                    documents.
   16
           24       On June 2, 2016, the OOA rejected the         Moseley Decl. ¶ 10, Ex.
   17
                    appeal resubmission for missing necessary     J.
   18
                    documentation and returned all the
   19
                    documents (including the appeal) to him.
   20
           25       The OOA's June 2, 2016 rejection letter       Moseley Decl. ¶ 10, Ex.
   21
                    explained to Plaintiff—in verbiage that was   J.
   22
                    intended for its May 25, 2016 letter, 2016
   23
                    letter—that he had repeatedly provided
   24
                    loose documents in support of the appeal
   25
                    resubmission, which was not permitted.
   26
   27      26       On July 20, 2016, Plaintiff submitted         Moseley Decl. ¶ 16, Ex.

   28               another follow-up Form 22 to the OOA.         H.
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    1
            No.      Undisputed Facts                               Supporting Evidence
   2
            27       On July 25, 2016, the OOA responded to         Moseley Decl. ¶ 16, Ex.
    3
                    Plaintiff, urging him to familiarize himself    H.
   4
                     with applicable regulations and seek
    5
                     assistance from his correctional counselor
   6
                     or the LAC's Appeals Coordinator.
    7
            28       On August 17, 2016, Plaintiff submitted his    Moseley Decl. fn. 1, Ex.
    8 ',
                     last follow-up Form 22 to the OOA.             I.
    9
            29       On August 17, 2016, the OOA issued a           Moseley Decl. ¶ 11, Ex.
   10
                     thorough response to Plaintiff in which it     K.
   11
                     summarized the reasons for rejecting the
   12
                     Second Level decision on grievance LAC-
   13
                     5-15-04254 twice, as well as a chronology
   14
                     of all actions taken by the OOA on that
   15
                     appeal.
   16
            30       The OOA's August 17, 2016 response             Moseley Decl. ¶ 11, Ex.
   17
                     reiterated that the appeal of grievance LAC- K.
   18
                     5-15-04254 was rejected for missing pages
   19
                     one and two ofPart A of the CDCR 837
   20
                     incident report.
   21
            31       The OOA's August 17, 2016 response also        Moseley Decl. ¶ 11, Ex.
   22
                     indicated that Plaintiff had not resubmitted   K.
   23
                     the appeal back for reconsideration with the
   24
                     requested documents, and that the appeal
   25
                     was not exhausted at the Third Level of
   26
                     Review.
   27
   28

                                                   7
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    1
        No.      Undisputed Facts                                Supporting Evidence
   2
        32       The OOA never accepted the appeal ofthe         Baker Dep. 153:16-18
    3
                 Second Level's decision on grievance LAC- (attached as Ex. E to
   4
                 S-15-04254 and did not provide a Third          Grecea Decl.); Moseley
    5
                 Level decision.                                 Decl. ¶ 11, Exs. A (Third
   6
                                                                 Level Tracking System),
    7
                                                                 K.
    8
        33       In the Complaint, Plaintiff alleges the         Compl. at 2.
    9
                 grievance procedure was completed, but
   10
                 also contends that remedies were made
   11
                "effectively unavailable."
   12
        34       At deposition, Plaintiff clarified his belief   Baker Dep. 154:25-157:3
   13
                 that remedies were made unavailable to him (attached as Ex. E to
   14
                 because the OOA rejected his appeal and he      Grecea Decl.).
   15
                 was left without recourse, having no way to
   16
                "go forward."
   17
        35       At deposition, Plaintiff admitted to using      Baker Dep. 142:17-25
   18
                 the grievance process at LAC "all the time." (attached as Ex. E to
   19
                                                                 Grecea Decl.); see also
   20
                                                                  Grecea Decl. Exs. B
   21
                                                                 (Req. Admis.), D (Resp.
   22
                                                                  Req. Admis.).
   23
         36      At deposition, Plaintiff admitted to having      Baker Dep. 143:2-9
   24
                 access to the grievance system at LAC both      (attached as Ex. E to
   25
                 in general population, as well as when he        Grecea Decl.).
   26
                 was housed in administrative segregation.
   27
   28
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        C                               #:1090


    1
             No.      Undisputed Facts                               Supporting Evidence
   2
             37       At deposition, Plaintiff admitted to knowing Baker Dep. 142:10-16
   3
                      he is required to exhaust grievances before    (attached as Ex. E to
   4
                     filing lawsuits.                                Grecea Decl. Ex.).
   5
             38       At deposition, Plaintiff also admitted that    Baker Dep. 153:16 —
   6
                      his appeal of the Second Level decision on     154:4; 157:4-12 (attached
   7
                      grievance LAC-S-15-04254 was rejected at       as Ex. E to Grecea Decl.).
   8
                      the Third Level of Review and he never
   9
                     sought to challenge its rejection, despite
   10
                     knowing he could do so.
   11
             39      In discovery responses, Plaintiff admits that, Grecea Decl. Ex. A
   12
                      other than grievance LAC-S-15-04254, he        (Interrogs.), C (Resp. to
   13
                      did not file any other grievances related to   Intenogs.).
   14
                      the claims in the Complaint.
   15
             40       During the time period when Plaintiff          Moseley Decl. Ex. A.
   16
                      appealed grievance LAC-S-15-04254 to the
   17
                      Thud Level of Review, Plaintiff was able to
   18
                      obtain final-level review of several other
   19
                      appeals.
   20
   21       ///
   22       ///
   23       ///
   24       ///
   25       ///
   26       //1
   27       ///
   28

                                                     D
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    1                    UNDISPUTED CONCLUSIONS OF LAW
    2
    3    No.     Undisputed Conclusion of Law                     Supporting Evidence
   4     1       An inmate under CDCR's jurisdiction, such        Cal. Code Regs., tit. 15 §
    5            as Plaintiff, may appeal any policy,             3084.1(a).
    6            decision, action, condition, or mission by
    7            CDCR or CDCR staff that has a material
    8            adverse effect upon the inmate's health,
    9            safety, or welfare.
   10    2       To exhaust this available administrative-        Cal. Code Regs., tit. 15
   11            grievance process, which is governed and         §§ 3084 et seq.
   12            described by Title 15 ofthe California Code
   13            of Regulations, an inmate must complete (or
   14            be permitted to bypass) three levels of
   15            formal administrative review.
   16    3       Upon receipt, the Appeals Coordinator            Cal. Code Regs., tit. 15,
   17            makes a determination whether the appeal         §§ 3084.5(b), 3084.6.
   18            has been properly submitted, or must be
   19            rejected or cancelled because of errors,
   20            omissions, duplication of a prior appeal,
   21            presentation of multiple, unrelated issues, or
   22            other violations of the regulations.
   23    4       If the appeal is accepted for review, the        Cal. Code Regs., tit. 15
   24            First formal level ofreview is conducted by      §§ 3084.2, 3084.7.
   25            the division head or his or her designee. If
   26            the inmate is not satisfied with the first
   27            formal level response, he or she may submit
   28

                                                 10
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    1
          No.       Undisputed Conclusion of Law                    Supporting Evidence
    2
                    the appeal for a Second Level of Review.
    3
                    The Second Level of Review is conducted
    4
                    by the hiring authority or his or her
    5
                    designee. If the inmate is not satisfied with
    6
                    the Second Level response, he or she can
    7
                    elevate the appeal to the Third Level of
    8
                    Review, which is conducted by the Office
    9
                    of Appeals(OOA).
   10
          5         CDCR's administrative-grievance process is Cal. Code Regs., tit. 15
   11
                    deemed exhausted as to the allegations and      §§ 3084.1(b),
   12
                    claims asserted in an inmate's appeal when      3084.7(d)(3).
   13
                    a decision on the appeal is rendered at the
   14
                    Thud and final Level of Review by the
   15
                    OOA Chief.
   16
   17
   18    Dated: February 18, 2021                       Respectfully submitted,
   19                                                   XAVIER BECER.RA
   20                                                   Attorney General of California
                                                        DEBORAH B. WADLEIGH
   21                                                   Supervising Deputy Attorney General

   22
   23                                                   /s/Neculai Grecea
                                                            ECULAI RECEA
   24                                                   Deputy Attorney General
                                                        Attorneysfor Defendants
   25                                                   F. Villalobos, A. Castro, R. Pabon,
                                                        and B. Pabon
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   28

                                                   11
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     EXH I B IT.~        - ~~      ~         s
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   i             IN THE UNITED STATES DISTRICT COURT

   2            FOR THE CENTRAL DISTRICT OF CALIFORNIA

   3

   4     TIMOTHY RAY BAKER,




   5            Plaintiff,




                   vs.                             CASE N0. 2:18-CV-02301-PA (GJS)



   7      F. VILLALOBOS, et al,




    E~           Defendants.




    9

   10                       DEPOSITION OF TIMOTHY R. BAKER

   11                       Monday,. December 7, 2020

   12                              At   9:00 a.m.

   13                           At Remote Proceeding

   14                              Las Vegas, Nevada

   15

   16

   17

   18

   19

   20

   21

   22

   23     JOB N0. 4351799

   24     REPORTED BY:    SHIFRA MOSCOVITZ, CCR NO. 938

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                                    #:1291

   1      APPEARANCES:
   2      F or   Defendants:
   3                              N ECULAI       GRECEA, ESQ.
                                  A SHA CLOVER JAMESON, ESQ.
                                  K ANDICE       H. JUNG, ESQ.
                                  300 South Spring Street
   5                              S uite 1702
                                  L OS ANGELES, CALIFORNIA               90013
   6                              (213) 269-6443
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   1      such date, signed off on this.               He seen the
   2      pictures.     That's all I see, and then when he gave

   3      me that incident packet it had the 115, the

   4      disposition, and evidence, you know what 837 packet

   5      is, right?

   6            Q.     Yes.

   7            A.     The crime incident, the crime incident

   8      packet.     He showed me all that stuff and I had to

    9     sign off on it and he left.             I filed the 602

  10      immediately after that.           There is some gentleman

  11      named Fordham, CC2, came and interviewed me at the

  12      cell, gave me another packet of stuff.

  13            Q.     Mr. Baker, let me just back up a little

  14      bit for the disciplinary hearing.                 So you said that

  15      you were found guilty, but because of some time

  16      constraint violations, you didn't actually lose any

  17      good time credits, correct?

  18            A.     Right, they assessed me, 90 days credit, I

  19      think it was for 90 days recreational or something

  20      or another, telephone, packages, canteen.                      They took
  21      those privileges, but I don't think I, I don't

  22      recall getting a credit forfeiture.                  I really don't

  23      know to this day whether I did or not.                   I know I got

  24      a total of 36 points for that write up.                      I remember

  25      that.


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   1            Q.    Right after that, Mr. Baker, you filed a

   2      grievance, administrative grievance related to that

   3      disciplinary hearing, correct?

   4            A.    I did.

   5            Q.    And is that grievance LAC-S-15-04254?

   6            A.    That's the one.

   7            Q.    All right.        And if I represented to you

   8      that you filed that grievance sometime around

   9      October of 2015, would that be accurate?

  10            A.    If you say it is, I mean I don't have it

  11      hear, so I can't really say definitively, if you say

  12      it is, it is.

  13            Q.    Okay.      But that's, I mean we are talking

  14      about, it sounds like we are talking about the same,

  15      right, that's the one?

  16            A.     I know the law, but I don't know the exact

  17      date I filed it.

  18            Q.     Okay.     All right, no worries.                 I mean

  19      that's, the date on it is what it is.                    So I just

  20      wanted to make sure that we have the common

  21      understanding that we are talking about the same

  22      grievance.

  23            A.     Yes.

  24            Q.     So was it your understanding that you

  25      needed to file that grievance in order to exhaust


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   1      your administrative remedies before bringing a case

   2      in federal court?

   3            A.    Yes, I was told if you follow me at the

   4      second level, Fordham, CC2 Fordham, I remember to

   5      this day, he went beyond the time the second level

   6      decision.     So I had to scramble and get it the to

   7      the third level appeal in order to be in compliance

   8      with time constraints.            I got it in on time and

   9      explained to them that it was given to me late.

  10            Q.    Mr. Baker, sorry to interrupt.                    I am

  11      getting there, because I want to get there, I think

  12      that's important to know.             And I want to discuss

  13      that with you, but for purposes of just this

  14      question, I wanted to, it was, did you know that you

  15      have to exhaust in order to file a lawsuit?

  16            A.     Yes, I knew that.

  17            Q.    And you have used this administrative

  18      grievance process before during your time in prison,

  19      correct?

  20            A.    I use it all the time.

  21            Q.    All right.         When you were at Lancaster

  22      about how many grievances do you say you filed in

  23      that prison alone, if you can remember?

  24            A.     You said it was 22.            I said it was 17,

  25      that I could account for, and I think I submitted


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   1      that.

   2              Q.   And when you did those other grievances in

   3     the past, you did some when you were housed in

   4      general population, right?

   5              A.   Right.

   6              Q.   And did you also have access to the

   7      grievance system when you were in administrative

   8      segregation?

   9              A.   Yes, I did.

  10              Q.   Can you tell me, because I am not so

  11      familiar with this.          When you are in general

  12      population, how does one go about obtaining the

  13      actual form, the grievance, the 602?

  14              A.   That's the floor officer, there is a

  15      podium, they use it behind the desk, or in an office

  16      somewhere in a secluded area, we just ask for 602

  17      appeal.

  18              Q.   I understand.         And how do you go about
  19      sending that grievance to the appeals office?

  20              A.   Well, I don't file no more appeal usually,

  21      I file misconduct allegations, that would be heard

  22      within 14 days, sometimes sooner depends on when the

  23      appeals court issues you a number and have it

  24      reviewed.     So I don't know when the last time I

  25      filed a 602 appeal.


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   1            Q.     Okay.    Let me see if I can refresh your

   2      recollection.        Do you recall this grievance

   3      challenging the disciplinary decision at the

   4      hearing?

   5            A.     Yes, I do.

   6            Q.     And do you recall asking that rules

   7      violation report for aggravated battery on police

   8      officer be dismissed from your prison C~file?

   9            A.     Yes, I do.

  10            Q.     Okay.     So was that granted at the second

  11      level?

  12            A.     No, it wasn't.

  13            Q.     And that is why you then proceeded to take

  14      it to the third level, correct?

  15            A.     Right, yes.

  16            Q.     All right.       Now, at the third level, it

  17      was rejected, correct?

  18            A.      Yes, sir.

  19            Q.     And as far as you understand, when a

  20      grievance is rejected, that means that it is not

  21      accepted for review, correct?

  22            A.     I don't think that's exactly actually

  23      true.      That means you can challenge a rejected

  24      appeal that warranted it being accepted for review

  25      if it's rejected, if you challenge the rejection,


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   1      then you could proceed forward.

   2            Q.      In this instance, did you challenge the

   3      rejection of this grievance?

   4           'A.      No, because the first instance I was told

   5      that I didn't have my mental health 115 record.

   6      That I was also told that I didn't have my, I think

   7      it was the 7219 or something or other.                    I think it
   8      was three documents that I said, they said I didn't

   9      have.      And I am telling them, yes, I did have them

  10      and I submitted them.           So what happened to them, I

  11      don't know, but I remitted them along with

  12      additional documents that I got from Fordham, the

  13      CC2, when I got the appeals back at the second level

  ~~!     he gave me all the documents, 837, and I submitted

  15      to the third level of appeals, that was the second

  16      time.      The first time he said I didn't submit them

  17      and I said, yes I did.           So they said no, the appeal

  18      is rejected.      Because I have to submit all documents

  19      in one submission.         And I am telling them, I know I

  20      already submitted these documents.                  So what I did, I
  21      went to the counselor and tried get it pulled out of

  22      m y CFO, and it's not there.             So I don't know what I

  23      should tell you about that, but I did what I was

  24      allowed to do, period.

  25              Q.    Mr. Baker, in your complaint you indicate


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   1      that you recall there is some boxes you didn't

   2      check.     You indicated the grievance procedure was

   3      completed.     What did you mean by that by the

   4      grievance procedure being completed?

   5            A.     In my appeals complaint?

   6            Q.     Correct.

   7            A.     Yes, because to me it was completed.

   8      There was a citation that I read, I think it's Volvo

   9      versus Brown, where it says, once you get a

  10      disposition on an appeal and they refuse to let you

  11      exhaust on those grounds, that that's seemed

  12      exhausted with, and that's exactly, I quoted also

  13      Albino versus Vodka, and I quoted Timber versus

  14      Sack.      They made it unavailable, they gave me no

  15      other recourse, they didn't say I could go forward.

  16      They said it was rejected.              So by that being

  17      rejected, there was no other recourse, even if I had

  18      to file another appeal to challenge the rejection,

  19      time constraints would have applied.                   I think time

  20      constraints would have been the factor, and that

  21      would have been denied on those grounds.                      If I
  22      admitted that one, time constraints would have been

  23      effected again, I would have been denied on those

  24      grounds.      So my administrative made them available

  25      based on no citations, and based on their decision I


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   1     had no other recourse.            What was I suppose to do.

   2     And then they told me if you submit them again we

   3      are going to confiscate them.               So that concluded my
   4      a dministrative right there, I have no remedies right

   5     there, because if I submitted them, they were going

   6     to throw them away.           What was I suppose to do, keep

   7     fighting these people when they already made their

   8      decision.     No, it doesn't work that away.

   9            Q.    So I think I understand what you are

  10      saying.     So you are saying yes, I admit I didn't

  11      exhaust the grievance by obtaining a final level

  12      decision on it, but I didn't do that because

  13      remedies were made effectively unavailable, is that

  14      an accurate statement?

  15            A.     Exactly, once they rejected it, doesn't

  16      have to be no other recourse because a rejection

  17      means you got one or two things to do.                    Either you

  18      accept the rejection or you filed another grievance,

  19      another appeal to challenge the rejection, not the

  20      appeal itself, just a rejection notice.                       You have to
  21      file another grievance saying you challenge the

  22      rejection notice predicated on this, this, and this.

  23      Not challenging what the original appeal has

  24      surmised, you can't challenge a rejection based on

  25      that original.       That's a moot issue, it's no longer


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   1      about the original appeal it's about the rejection

   2      notice.    So you have to challenge the rejection in

   3      order to, in order to get to moving forward.

   4            Q.    Did you know at that time, Mr. Baker, when

   5      they rejected this grievance at the third level, did

   6      you know that you could challenge the rejection?

   7            A.    Once I got the appeal back, once I got the

   8      original appeal back, it said that on the cover

   9      sheet, it said I can challenge the rejection, but I

  10      have to file a new appeal.

  11            Q.    And did you do that?

  12            A.      No, what I did, I submitted documents that

  13      I had, that I had already submitted.                   I told them
  14      no, because I disagree with this decision, this is

  15      why and I explained to them, this is why I am

  16      resubmitting this appeal, and they rejected it

  17      again.     So that was the end of that, that exhausted

  18      m y remedy.     I felt like I couldn't pursue it, I was

  19      asking him to amend the decision, is what I am

  20      asking him to do.         They wouldn't allow me that.

  21      They wouldn't do that.            They just stuck on the

  22      rejection.      I filed another appeal to challenge the

  23      rejection.      Now, if I filed another appeal to

  24      challenge the rejection, that's only going to be in

  25      lieu of the original appeal.


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REASONABLE ACCOMMODATION PANEL 1RAP) RESPONSE
RAP Meeting Date: 02116!2016                Date IAC Received 1824: 2/9/2016                  1824 Log Number: SAC-H-16-00591
Inmate's Name: BAKER                                   CDCR #: K62174                       Housing: CF4-123
RAP Staff Present: ADA Coordinator T. Tyler, Custody Appeals Coordinator C. Burnett, Doctor Sahota, Health Care Appeals
 Coordinator J. Kelley, Psychologist B. Rojas, Principal of Education D. Hamad, Health Care Analyst B. Johns, Scribe M.
 Brown
Summary of Inmate's 1824 Req;~est: He was assaulted by LAC staff on 8111/15 that resulted in macular degeneration and a
 detached retina in his right eye. He is losing his vision and he has light sensitivity and flashing dot like lights in his right eye.

FINAL RESPONSE:

RAP is able to render a final decision on the following: You were last seen by Ophthalmology on 1 1/1 8/201~where bifocals and
transition lenses were prescribed for your headaches.
Response: Disapprove. Current vision accommodation of prescription eye glasses and readers are sufficient.
Direction if dissatisfieu: If you disagree Urith this decision and want to file an appeal, be sure to attach a copy of this response along
with your1CR 1824 as supporting documents.
~~ ~ '~'T`~~~—                                                                Date sent to inmate: ~ ~~ I~ (,F
ADA CoordinatorlDesignee                        Sign t re                                               ~




Page 1 of 1                                                                                              RAP Response - ;ev 10-27-15.docx
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Sta;e of California
                                                                                                    De aliment of Corrections and Rehabilitation
REASONABLE ACCOMMODATION                               INSTITUTION (staff use only):        ECG     LOG NUMBER (staff use only):
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                      ''TALK TO STAFF IF YOU HAVE AN EMERGENCY `                                    Date Received by Staff (staff use only):

    Do not use a CDCR 1824 to request health care or to appeal a health care decision. This            ,. ,,      _.
    may delay your access to health care. Instead, submit a CDCR 7362 or a CDCR 602-HC.                ~'~ ` ~~ ~ -~` -~     ~~'.i ~ ('„~ i J
I NMATE'S NAME (Print)                              CDCR NUMBER            SSIGNMENT                              HOUSING
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•     You may use this form if you have a physical or mental disability or if you believe you have a physical or mental
                                                                                                                          disability.
•     You may use this form to request a specific reasonable accommodation which, if approved, will enable
                                                                                                                       you to access and/or
      participate in a program, service, or activity. You may also use this form to submit an allegation of disability
                                                                                                                      -based discrimination.
•     Submit this form to the Custody Appeals Office.
•     The CDCR 1824 is a request process, not an appeal process. All CDCR 1824 requests will receive a
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      ;524 to request a response for a group of inmates. I. you have re~.~ivF~ an 'io~4 d~c~sion tha! you
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      appeal (CDCR 602, or 602-HC if disagreeing with a medical diagnosis/treatment decision).

WHAT CAN'T YOU DO /WHAT IS THE PROBLEM ~                             /Z      ~% I~~         (~JP        .11;~                           C_~~_/1/~,
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Which of the following best describes your disability that caused you to file~is request:
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❑ Difficulty walking or getting around    ~ Difficulty seeing ❑Difficulty hearing       ❑Difficulty talking    L~ Gn kidney dialysis
❑ Difficulty using arms/hands           ~ Difficulty learning ~ Difficulty thinking or understanding        ~ Mental impairment
~ Other Disability (brieFly describe)'. /~.~/`~~t,        ~~ ~ /L1 ~/~ ~ h`~J¢                         ~/T

 DO YOU HAVE ANY DOCU;~7ENTS THAT DESCRIBE YOUR DISABILITY?                        Yes ~                          No ❑         Not Sure D
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❑ IAP is not required as the CDCR 1824 contains
  no disability access or discrimination issues.                           Person making determination                         Title
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                                                                                                               RPE
                                                                            Central Subfield Cube Volume Cube Average
                                                                            Thickness(Nm)      (mm')     Thickness(Nm)
                                                            ILM - RPE              315




     Comments                                  Doctor's Signature
                                                                                                          SW Ver: 5.1.1.6
                                               CSP-lAC HC Records -Received                               Copyright 2010
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  Name:       BAKER,TIMOTHY                                         ~pO~S~c`ae~eSL                                           x
                                                                    g ~r ~4~
  ID:         CZM11752360722        Exam Date:       9/9/2015     S~a~~ ~,oSP         GOLDEN STATE EYE
  DOB:        12J28/1960            Exam Time:       8:00 AM        C,`'Q
  Gender:     Male                  Technician:      Operator, Cirrus
  Doctor:                           Signal Strength: 8/10

  High Definition Images: HD 5 Line Raster                                                      OD Q ~ OS

   Scan Angle: 0°              Spacing: 0.25 mm                 Length: 6 mm




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   Comments                                        Doctor's Signature
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    Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 121 of 126 Page ID
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        Name:      BAKER,TIMOTHY                                                 P
                                                                                 ly ~O~\~5~'~J                              M
        ID:        CZMI1752360722   Exam Date:         9/9!2015
                                                                     P•~~    osPc~GOLDEN STATE EYE
                                                                        a~EQr~
        DOB:       12/28/1960       Exam Time:         8:00 AM        5X40~'
        Gender.    Male             Technician:      Operator, Cirrus
        Doctor:                     Signal Strength: 9/10

        Macula Thickness :Macular Cube 512x128                                                     OD Q ~ OS




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                                                                                  Central Subfield Cube Volume Cube Average
                                                                                  Thickness(Nm)      (mm')     Thickness(Nm)
                                                                  ILM - RPE




        Comments                                  Doctors Signature
                                                                                 Received            ~ Ver: 5.1.1.6
                                                   ~Sp.IAC HC Records -                              Copyright 2070
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                                        #:1483

STATE OF CALIFORNIA
                                                                                      9.9~ l5                                                          a6~
                                                                                                                                            DEPARTMENT OF CORRECTIONS
                                                         HEALTH CARE SERVICES                                                                    ~~G~~
                                                    PHYSICIAN REQUEST FOR SERVICES                                                                                      /~
                                                                                                                                                                        ~r
                           (To be completed by requesting Physician and forwarded to Utilization Manaoeme~r ~ ~~~r~
PATIENT NAME                ~~ ~~~~                 ~;w~                         CDC NUMBER f~ / Z)~ ~                           INSTITUTION
                                                                                               f0

DATE OF BIRTH 1 L
                ' ~~~ ~ ~                                   EPRD DATE                                                GENDER          'M
                                                                                                                                         -1
PRINCIPLE DIAGNOSIS                                            ,             `    `       ICD - 9 CODE                             CPT CODES)
                                     c7 D            R~~ s ~,s.f
REQUESTED SERVICES)                               ~ U_             ~~ C                          ~~1~ ~                             ~F D      S RECOMMENDED
                                                    ~ '1

rreaseurctea~~rnarappry: U~agnost~c Procedure/ ' nsultation                                   utpatfent/Inpatient                          ial/Follow-up
Requested Treatment/Service is:                 EMERGENT                           ~~~                             ROUTINE
For the purpose ojretrospectiv review, if emergent or          urgent, please jllstify:
Proposed Provider:                   }''"`-~~          ~"~^'~                                          Anticipated Length of Stay:
Expected dispo~itior~ (i.e.: outpatient fol:cw-ap, ret~:: to i ~sti;a;ie:,:r2^sfer):
I~1ediCal Necessity (briefly describe (he clrnica!si(uafion~ the history oj~he illness, trealmenls used, per(irrenl lab and
                                                                                                                            imaging studies, or    questionsjor the

                                                                                          ~~,~...~                             ~~
                                                                                            A   ~)             1



Estimated time for service delivery, recovery, rehabilitation and follow-up:      ,~~,                ~                                 j w fe
Summary of preliminary or diagnostic work up, conservative treatment provided (if applicable, please provide TB code, CD4, viral load,
                                                                                                                                       albumin,
total protein and dates within ]ast 3 mo~~ths}:

Comments(diagrams, risk factors, prognosis, alternative management, etc.):

REQUESTING PHYSICIAN PRINTED SAME                  1. ~~ `         ~                 APPROVED / A          HORIZED /DENIED /DEFERRED BY D~
                                                   ~i~1
REQUESTING PHYSICIAN SIGNATURE
                                     -                      ~                       DA
                                                                                                C'' ~              Utili   ion managcmcnt trackin b:
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                                                                                                       ~               ~r9-c itll6 °~l ~ Z~~ ~
DATE OF CONSULTATION                                                                PRINTED NAME OF CONSULTAM




. ___.... ... .~......_...._...................... ....,c.,...,...,,


CONSULTANT SIGNATURE                                          DATE                              CDC NUMBER,NAME(LAST, FIRST, MI) AND DATE OF BIRTH

      RN

                                                                                                         ~~1~-2~Y~                     ~'~n'1C~

       Atta'cfrii~ogress Note page for additional information.
 THIS FORM MUST BE RETURNED WITH THE PATIENT!±!
                                                                                                                    k 6~z ~ ~-~`f
DISTRIBUTION:
ORIGINAL FILE IN UHR
GREEN    - TO UHR PENDING ORIGINAL
CANARY - CONSULTAM
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GOLD
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PHYSICIAN REQUEST FOR SERVICES(RFS)                                     CDC 7243(Rev.          ~voz~ SEP 10~20f51~n~;11 sSEP O 1~_Z0~5TI~:~1:~3~
             Case 2:18-cv-02301-PA-GJS Document 106 Filed 03/22/21 Page 123 of 126 Page ID
                                                #:1484
                                                                            Primary Care Provider Progress Note
       ^.           540ate & Tlme ,             _                    A¢e `..'            UHR Present          Current MedloUon Rev
                                                                                                                                 .leveed                ';Immunlxeldans.            _   HCM/PreventatNe_
         10/8/2015 10:29 AM                                                                 Yes                              YES                          Reviewed                       Reviewed
    Temp'•'         Putse                 BP                    RR       Wt(1bs) .          HTpn)             BMI '~         025at-         '''~PF         -; f., Aller`les ------          - .
97.1            70                      117/62         20               1891b            5'10"                         ~      100                            !, ~        Pcn
Reason for Visit:f/u visit/opthal appt             CHIEF COMPLAINT: H/0 Rt retinoschisis( h/o Trauma), HTN, DM,CAD/atypical chest pain, Gerd, allergic
rhinitis                                                                                                  ~                       ~
HrN: Chen pain? No          soar No       Diabetes: ~ of h oglycemic reactions since last visit?        Seizures:# of seizures since last visit?
Asthma: tf attacks since last visit? Asthma canisters in last month?            p TTA visits since last earl      # awakenin v)/asthma           p/week? ACA?:
 Pt refused to be seen,seen by retinal specialist Dr Tawansy, who rec 1 month follow up
H/o refusing labs will re-order labs.f/U in 60 days




PMH:PL reviewed Yes
ROS: see above

                                                                                            Selecting "WNL'documents that all exam elements listed in the PCP Clinical derision Support
OBJECTIVE:
                                                                                            dated June 11,2009 are "within normal Itmits"     ~ ~ j
General                ~ Resuased to be seen                                                MusculoskeleWl
HEENT, Neck                                                                                 Neurologic                                ~                       ~
Cardiac                                                                                     RecUl
Pulmonary                                                                                   Skin ~req far HIV)
Abdomen                                                                                     Eictremtty

Genital                                                                                     Foot f all dfabetlu)
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LAB/IMAGING STUDY RESULTS
Consults/Imaginings                                                                                                                                                 i~
                    ..:

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~                                               ~
    HCM/Preventative (R=refused)                    Tdap                 Pneumo'vax:              Influenza          Li id:           '.FORT                        i

EFFECTNE COMMUNICATION:                                                                                                Self-Mgt. GOaI(5);                Medication Reconciliated: Yes
                                                                                              3. Effecclve
       1.Disability                            a. Accommodations                                                           patient Education:
                                                                                            fammunication
7ABE Score:~ 5 4.Q                  ~ Extra Time            ❑ SLI(sign tang)             ~ Pt. asked questions                                                ~
                                                                                                                              Meds         Labs/study resuhs ~ Pt. verbalize understanding of A/P
❑ DPH ❑ DPV ❑ LU                    ❑Louder                 ~ Slower                     ~ Pt. summarized info
                                                                                                                                      t~                            ~
                                    ~ W7~en                                                 - -                        ~ Dfet/Exercise/Wt. mgt ❑ Smoking/ETOH ❑Other:
     DPS            DNH                                     ~ Other.                      EC Achieved: Y25
~           ~                       - Transcribed

❑ DNS ❑DPP ~NA                      ~ Ba
                                       s,~1e                ❑Equipment               'See Chrono/notes                     Adv. Directive NO                POLST~NO

•Patient agrees with Tx plan: Yes                                                                                                     CDCR q:            K62174 ~              TABE 0.0                `
F/U Visit                 60 days d ❑ 7-10 d ❑ 5-6wks~ 5-6m nths;                                                  Name (Last, First, MI):              Baker, timothy
             Printed: Name,Title                                                toe                                             Date of Birth:          12 28 60
Alphonso Swaby D.O                                                                                                                  Housin              D 5 121E




    STATE OF CALIFORNIA
    PRIMARY CARE PROVIDER PROGRESS NOTE,tDCR 7234M (04/30/12)                                                                                       Confidential Saved 2015-11-09T 14:2 L-k37_
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